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             ORAL ARGUMENT SCHEDULED FOR MARCH 20, 2023

                    United States Court of Appeals
                  for the District of Columbia Circuit

                                     No. 22-7063


  AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL FIRE
  PROTECTION ASSOCIATION, INC.; AMERICAN SOCIETY OF HEATING,
     REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.,
                                                      Plaintiffs-Appellants,
                                           v.
                           PUBLIC.RESOURCE.ORG, INC.,
                                                      Defendant-Appellee.
    On Appeal from the United States District Court for the District of Columbia
             in No. 1:13-cv-1215-TSC, Honorable Tanya S. Chutkan

           FINAL BRIEF FOR DEFENDANT-APPELLEE
                PUBLIC.RESOURCE.ORG, INC.

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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES
       Pursuant to D.C. Circuit Rule 28(a)(1), Appellee Public.Resource.Org, Inc.,

certifies as follows:

       A.    Parties and Amici

       Appellants, who were Plaintiffs and Counter-Defendants in the district court,

are:

             • American Society for Testing and Materials d/b/a/ ASTM

                 International (“ASTM”);

             • National Fire Protection Association, Inc. (“NFPA”); and

             • American Society of Heating, Refrigerating, and Air-Conditioning

                 Engineers, Inc. (“ASHRAE”)

       Appellee is Public.Resource.Org, Inc. (“Public Resource”), which was the

Defendant/Counterclaimant in the district court.

       The following individuals and entities submitted briefs to the district court as

amici curiae:

             • Ann Bartow

             • American Insurance Association

             • American Library Association

             • American National Standards Institute, Incorporated

             • American Property Casualty Insurance Association



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           • American Society of Safety Engineers

           • Brian L. Frye

           • David Ardia

           • Elizabeth Townsend Gard

           • Institute of Electrical and Electronics Engineers, Incorporated

           • International Association of Plumbing & Mechanical Officials

           • International Code Council, Inc.

           • James Gibson

           • Jessica Silbey

           • Jennifer Urban

           • Jonathan Zittrain

           • Knowledge Ecology International

           • National Electrical Manufacturers Association

           • North American Energy Standards Board

           • Pamela Samuelson

           • Public Knowledge

           • Rebecca Tushnet

           • Reporters Committee for Freedom of the Press

           • Sina Bahram

           • Stacey Dogan


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            • Stacey M. Lantagne

            • Underwriters Laboratories Inc.

      The following entities have appeared as amici curiae so far in this Court:

            • American Dental Association

            • American Hospital Association

            • American Medical Association

            • American National Standards Institute

            • American Society of Civil Engineers

            • The Copyright Alliance

            • International Code Council

            • The Institute of Electrical and Electronics Engineers, Incorporated

            • National Electrical Manufacturers Association

            • North American Energy Standards Board

            • ULSE Incorporated

      B.    Rulings Under Review

      The rulings under review are as follows:

            • Order, Dkt. 240 (Chutkan, J.), filed on March 31, 2022, by the U.S.

               District Court for the District of Columbia in No. 13- cv-1215, for

               which no reported citation exists; and




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             • Memorandum Opinion, Dkt. 239 (Chutkan, J.), and the Appendix

                thereto, Dkt. 239-1 (Chutkan, J.), filed on March 31, 2022, by the

                U.S. District Court for the District of Columbia in No. 13- cv-1215,

                available at 2022 WL 971735.

      C.     Related Cases

      This case was previously before this Court in No. 17-7035, American Society

for Testing, et al. v. Public.Resource.Org, Inc.

      Counsel are not aware of any other related cases before this Court.




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                 CORPORATE DISCLOSURE STATEMENT
      Pursuant to D.C. Circuit Rules 26.1 and 28(a)(1), Defendant–Appellee

Public.Resource.Org, Inc. submits the following:

      Public.Resource.Org, a California public benefit not-for-profit corporation,

certifies that it has no parent corporation and that no publicly held corporation owns

10 percent or more of its stock.




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                     GLOSSARY OF ABBREVIATIONS

  ASHRAE             American Society of Heating, Refrigerating and Air-
                     Conditioning Engineers (the acronym appears in the title of
                     the organization’s documents)
  ASTM               ASTM International is a trading name of Plaintiff American
                     Society for Testing and Materials (the acronym also appears
                     in the title of the organization’s documents)
  C.F.R.             Code of Federal Regulations
  EDGAR              Electronic Data Gathering and Retrieval (a database of the
                     Securities and Exchange Commission)
  EPA                Environmental Protection Agency
  HTML               Hypertext Markup Language
  IBR                Incorporation by reference
  MML                Mathematics Markup Language
  NESC               National Electrical Safety Code
  NFPA               National Fire Protection Association (the acronym appears
                     in the title of the organization’s documents)
  OCR                Optical character recognition
  OFR                Office of the Federal Register




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                             STATEMENT OF ISSUES
       1.     Whether the district court correctly held that Public Resource’s posting

 of the law does not infringe copyright.

       2.     Whether the district court correctly refused to permanently enjoin

 Public Resource from posting certain standards, after finding that Plaintiffs would

 not suffer irreparable harm and recognizing that those standards could become law

 through incorporation.

                            STATEMENT OF THE CASE

 I.    BACKGROUND
       A.     The Parties
              1.    Carl Malamud and Public Resource

       Carl Malamud, president and founder of Public.Resource.Org (“Public

 Resource”), has dedicated his career to making government and legal materials

 available online. In 1994 he used a National Science Foundation grant to purchase

 all electronic filings that corporations submitted to the Securities and Exchange

 Commission, and he made the Electronic Data Gathering and Retrieval (“EDGAR”)

 database freely available online. JA07201(Dkt-204-4 ¶7). In 1995, he lent computers

 and donated software to help the Commission take the service over. Id. He also

 purchased feeds of all U.S. patents and made them available for free online. He later

 convinced the U.S. Patent and Trademark Office to provide that service to the public.

 Id. ¶12.


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       In 2007, Mr. Malamud founded Public Resource, a charitable organization

 that provides online access to many kinds of government materials, from judicial

 opinions to video recordings of congressional hearings. JA07159(Dkt-203-2 ¶68).

       To aid its mission, Public Resource operates a website providing public access

 to the law, including public safety and other standards that federal and state

 governments have incorporated into law by reference or reprinting. Id. Public

 Resource relies on contributions and grants for its funding. Id. It does not limit, or

 charge for, that access. JA07160-7161(Dkt-203-2 ¶72). It does not display, or derive

 any revenue, from advertising. JA01018(Dkt-120-3 ¶7). Nor does it log or track

 visitors to its site. JA01266(Dkt-121-5 ¶24).

       Public Resource makes these materials not just available but more accessible.

 For example, by reformatting documents, Public Resource allows persons with

 visual disabilities to enlarge the text or use text-to-speech software to hear the text

 of a document. JA07160-7161(Dkt-203-2 ¶¶70, 73). Similarly, Public Resource

 translates images into scalable vector graphics for better visibility. Id. To make

 documents word-searchable, allowing researchers to analyze them efficiently, it uses

 optical character recognition, painstakingly retypes documents into Hypertext

 Markup Language (“HTML”), and converts formulas to Mathematics Markup

 Language (“MML”). Id.




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              2.    Plaintiffs and the Volunteers They Convene to Draft
                    Standards
       Plaintiffs are standards development organizations that convene volunteers to

 draft and update standards for various industries. The volunteers include government

 officials, industry representatives, academics, and other technical experts. JA07179-

 7180(Dkt-203-2 ¶¶184-187). Those volunteers and their employers contribute their

 time to proposing, evaluating, specifying, and approving codes and standards. They

 suggest and vote on language, weighing and implementing proposals from

 government employees, academics, and others. Id. They debate the scope, structure,

 and wording of standards, forming a consensus reflecting minimally acceptable or

 best practices using the most precise, scientific terms possible. JA07171(Dkt-203-2

 ¶¶126-127)

       Plaintiffs do not compensate the volunteers. JA07179-7183(Dkt-203-2 ¶¶184-

 93). Instead, the volunteers serve the public and their profession, and may gain

 professional recognition and have their participation paid for by their employers.

 JA07183(Dkt-203-2 ¶¶194-5).

       Plaintiffs help organize the drafting process, keep minutes of meetings, and

 furnish templates for volunteers to use in drafting the standards. Plaintiffs lobby to

 have some of those standards incorporated into law, and they sell copies of the

 standards as well as ancillary materials. JA07155-7158(Dkt-203-2 ¶¶49-64).

 JA07155-7156(Dkt-203-2 ¶¶50, 54). Plaintiffs benefit when their standards become


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 law. JA01083(Dkt-120-6 at 12); JA01551-1552(Dkt-122-1 at 281-82); JA02136-

 2151(Dkt-122-4 at 30-45) (ASHRAE referring to its “EPAct advantage”). For

 example, Plaintiff NFPA advertises its National Electrical Code handbook saying,

 “Be confident your work complies with California law.” JA02953-2954(Dkt-124-

 5). Plaintiff ASTM advertises that “[k]nowledge of ASTM standards is important

 for complying with U.S. regulations and procurement requirements.” JA01961(Dkt-

 122-3 at 24).

              3.    Plaintiffs’ Shifting Claims of Copyright Ownership

       Plaintiffs applied for copyright registrations of the standards at issue in this

 case as “works made for hire.” JA07183-7184(Dkt-203-2 ¶196). But that status

 applies to work of employees but does not apply to work of volunteers unless the

 volunteers executed valid work-made-for-hire agreements and the works are

 eligible. When pressed on that issue, Plaintiffs later claimed they owned the

 copyrights by assignments. JA07184(Dkt-203-2 ¶199). Facing defects in

 documentation, Plaintiffs then said that convening volunteers and shepherding the

 process made the Plaintiffs “joint authors” of the standards with standing to bring

 this lawsuit. Plaintiffs have never addressed the participation of federal government

 employees in authoring their standards. JA07184-7190(Dkt-203-2 ¶¶199-224). If

 standards are joint works with the United States Government, they have no copyright

 protection. See 17 U.S.C. § 105.



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       B.     Public Resource’s Archive and the Incorporation Process
              1.    The Process of Incorporation

       Incorporation by reference is an alternative to express inclusion of language

 into a government’s published laws or regulations. See 5 U.S.C. § 552(a)(1);

 1 C.F.R. §§ 51.1-51.11. The federal government began incorporating materials by

 reference, instead of reproducing them, to limit the bulk of the Code of Federal

 Regulations (C.F.R.). JA07145 (Dkt-203-2 ¶3). States and municipalities also turn

 standards into law through incorporation by reference as well as by reprinting entire

 standards in the texts of laws. See, e.g., Minn. Admin. Rule 4761.2460, Subp. 2(C);

 Cal. Code of Regs., Title 24, Part 3.

       Incorporation processes are careful and rigorous. Federally, an agency

 responsible for a regulation provides notice in the Federal Register and seeks

 comments concerning its intent to incorporate. JA07147-7148(Dkt-203-2 ¶¶10, 18).

 If the agency decides to incorporate and the Director of the Federal Register

 approves, the standard is incorporated and becomes federal law. 5 U.S.C. § 552(a).

       State adoptions, by reference or reprinting, are equally meticulous. For

 example, California follows a triennial cycle, with a 45-day public-comment period,

 a six-month publication requirement, and a three-month delay for implementation.

 The California Building Standards Law precisely defines this process. JA07147-

 7148(Dkt-203-2 ¶15). That incorporation process includes the National Electrical




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 Code, reprinted in the California Electrical Code. See Cal. Code of Regs., Title 24,

 Part 3. JA07193-7194(Dkt-203-2 ¶¶236-7).

              2.     Governments Define the Scope of Incorporation and
                     Typically Incorporate Entire Documents.
       The Incorporation by Reference Handbook of the Office of the Federal

 Register specifies that, if material is necessary to understand or comply with the

 regulation, the agency must incorporate the material by reference. JA09512(Dkt-

 204-64 p. 2 (citing 5 U.S.C. § 552(a))). To be eligible, the material must be published

 and “impossible or impractical” to print in the C.F.R. JA09516(id. at 6).

       According to the Director of Legal Affairs and Policy at the Office of the

 Federal Register, if an agency identifies a document in its incorporation language

 and does not specify a section of that document, incorporation extends to the entire

 document. JA07213(Dkt-204-4 ¶40), JA07226(Dkt-204-40). An agency explicitly

 specifies provisions for incorporation when it intends to incorporate only parts of a

 document. For example, 24 C.F.R. § 3280.4(aa)(4) (2019) states that only specific

 portions of the 2005 edition of the National Electrical Code, NFPA 70, are

 incorporated into that chapter of the regulations. In contrast, 49 C.F.R. § 192.7

 (2009) incorporated the full 2005 edition of the National Electrical Code, NFPA 70.

              3.     Agencies That Incorporate Standards by Reference Express
                     Those Standards as Government Policy with Governmental




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                    Authority, and Incorporated Documents Have the Force
                    and Effect of Law.
       Material incorporated by reference, “like any other properly issued rule, has

 the force and effect of law.” JA07145 (Dkt-203-2 ¶2); cf. United States v. Myers,

 553 F.3d 328, 331 (4th Cir. 2009). The same rule applies to material incorporated in

 state and municipal regulations. See Getty Petroleum Mktg. v. Capital Terminal Co.,

 291 F.3d 312, 327 (1st Cir. 2004) (Lipez, J., concurring).

       Accordingly, incorporated standards have the same effects as other laws and

 regulations, including civil and criminal penalties for violations. See Milice v.

 Consumer Product Safety Comm’n, 2 F.4th 994, 1000 (D.C. Cir. 2021).

              4.    Every Standard as to Which the District Court Found Fair
                    Use Has Been Incorporated by Reference into Law But Is
                    Otherwise Superseded.
       The federal government has incorporated into law every entire standard at

 issue as to which the district court found fair use. See JA07223-7224(Dkt-204-5

 ¶¶56-58), JA08534-8666(Dkts-204-95, -96, and -97)(tables listing all standards at

 issue with locations of incorporation). State governments also have incorporated

 many of the standards, by reference or reprinting. Id.; JA07193-7194(Dkt-203-2

 ¶¶236-7). When Plaintiffs sued, all but one of the standards at issue were outdated

 as standards—they had been superseded or withdrawn—but were still in force as

 law. Today, all are either superseded or withdrawn as standards. JA07223-

 7224(Dkt-204-5 ¶¶ 56-58), JA08534-8666(Dkts-204-95, -96, and -97).


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       C.     Standards Incorporated by Reference into Law Can Be Hard to
              Find or Use.
       Although standards that have become law implement government decisions,

 express government policies, and govern a wide range of activities, the public’s

 practical ability to read, analyze, and communicate them is sharply limited.

       Courts and litigants have been frustrated by the inability to access the laws

 that affect their cases. In 2017, for example, the Indiana Supreme Court was unable

 to obtain a safety code at the heart of a dispute before it because of publisher-

 imposed limitations on access to the code. The court ultimately found the standard

 on the Internet Archive—thanks to Public Resource. The court discussed at length

 the problem of public access to the law caused by restrictions on material

 incorporated by reference. See Bellwether Props., LLC, v. Duke Energy Indiana,

 Inc., 87 N.E.3d 462, 467-69 (Ind. 2017).

       A similar dilemma arose in a dispute that turned on application of the 1987

 edition of a standard (promulgated by Plaintiff NFPA) that had been incorporated

 into the Rhode Island Building Code. The complaining party asked the trial court to

 take judicial notice of the state building code. The court required the complaining

 party to introduce the standard into evidence, for use as the basis of a jury instruction,

 but counsel were unable to locate the correct edition of the standard (they could only

 find the 2000 edition). The trial court could not find it either. The court granted

 judgment as a matter of law against the complaining party for failure to prove the


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 content of the relevant regulation. The First Circuit affirmed, ruling the district court

 was not obliged to take judicial notice of a regulation it could not review. Getty

 Petroleum, 391 F.3d at 312.

       Even where incorporated standards can be found, they are often difficult to

 access and use. The National Archives offers appointments to read a paper version

 of a federally incorporated standard. See, e.g., 34 C.F.R. § 668.146. These versions

 are inaccessible to persons with visual disabilities, who wish to conduct computer-

 aided analysis, or who cannot travel to Washington, D.C. JA07152(Dkt-203-2 ¶31).

       Sometimes one can buy copies. But because relevant versions are often

 currently effective as law but superseded as standards, those older versions may not

 be available for purchase. Id.

       One can theoretically search libraries for standards, but their availability is

 unpredictable at best. See, e.g., Bellwether, 87 N.E.3d at 468; Getty Petroleum, 391

 F.3d at 321 (NFPA 30 not “readily available”); id. at 328 (Lipez, J., concurring).

       Finally, one can access some standards through Plaintiffs’ online “reading

 rooms” that, with one exception (NFPA’s), were established only after Public

 Resource highlighted the lack of public access. JA07152-7153(Dkt-203-2 ¶33).


-        created its                                 reading room in 2013 as an
                                                                                    -
                   JA07153-7154(Dkt-203-2 ¶39). To use ASTM or NFPA’s reading



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 rooms, one must first register by providing one’s name and email address, agree to

 terms of use that include unfavorable forum selection clauses, and consent to

 jurisdiction in a potentially distant court. ASTM also requires a residence address

 and phone number, and an agreement that that the organization owns copyright over

 the standards. JA07153-7154(Dkt-203-2 ¶¶37-40). Plaintiffs view their reading

 rooms as opportunities to sell additional products to visitors who come seeking to

 read the law. Id., Plaintiffs-Appellants’ Br. 43; JA00108-109(Dkt-117-2 ¶¶86-87).

       Plaintiff’s “reading room” format sharply limits reading and use. The visitor

 must view standards in a small screen box, sometimes with degraded text and a small

 font. Usually just a portion of each page is visible; with magnification a single line

 cannot be viewed without scrolling. Plaintiffs’ reading rooms inhibit search and

 computer-aided analysis of the standards; they do not include copy/paste, print, or

 save options. JA07154(Dkt-203-2 ¶44). Contrary to Plaintiffs’ assertions, some

 incorporated standards are not available in the reading rooms at all, and Plaintiffs

 can remove standards at will. Id. ¶43; cf. Plaintiffs-Appellants’ Br. 32.

       D.     Public Resource’s Archive Has Not Harmed Sales of Plaintiffs’
              Standards.

       Public Resource first posted NFPA standards in 2008; ASTM and ASHRAE

 standards followed soon afterwards. Plaintiffs have no concrete example of resulting

 harm, and their records show the opposite.




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         ASTM admitted


-           JA07172(Dkt-203-2 ¶137). ASTM has no evidence of lost sales. In fact,

 ASTM’s sales have increased despite (and perhaps because of) Public Resource’s

 activities. JA07174(Dkt-203-2 ¶153).

         ASHRAE stated it had not attempted to determine what, if any, losses were

 attributable to Public Resource’s activities, and it was unable to identify any

 evidence of harm in response to a recent interrogatory. JA07174(Dkt-203-2 ¶¶150,

 154).

         NFPA asserts that “revenue is somewhat cyclical with publications, but in

 recent years, NFPA’s revenue from the sale of standards has been declining [and]

 NFPA attributes this decline, at least in part, to PRO’s making copies of NFPA’s

 standards . . . .” JA07167(Dkt-203-2 ¶100). NFPA’s only support for this assertion

 is the statement of its chief executive officer. JA04995-4996(Dkt-198-50 ¶38).

 NFPA’s internal sales reports and analyses show

                                                                    JA07150 (Dkt-

 203-27. The “cyclical” nature of publication revenue reflects the fact that, once

 standards become outdated, revenue plummets, whether posted by Public Resource

 or not. JA07174(Dkt-203-2 ¶155).

         Plaintiffs’ purported expert, John Jarosz, asserted in 2015 that Public

 Resource’s activities “would” threaten the market for their products. Years later,



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 there is no evidence that speculation has become a reality. JA07165(Dkt-203-2 ¶91).

 There is no evidence that any person who might have viewed a standard via Public

 Resource would otherwise have purchased it.

 II.   PROCEDURAL HISTORY

       A.    The District Court’s First Summary Judgment Order
       Plaintiffs sued Public Resource for copyright and trademark infringement of

 hundreds of standards. The parties filed cross-motions for summary judgment;

 Plaintiffs sought summary judgment on nine standards. The district court granted

 summary judgment to Plaintiffs and enjoined Public Resource from unauthorized

 use of those standards and Plaintiffs’ trademarks. Am. Soc’y for Testing & Materials

 v. Public.Resource.Org, Inc., No. 13-cv-1215, 2017 WL 473822 (D.D.C. Feb. 2,

 2017). Public Resource appealed.

       B.    This Court Vacated the Injunction, Reserving the Question of
             Copyright Enforceability of Standards Incorporated into Law.

       This Court vacated the district court’s injunction and reversed the summary

 judgment order. Am. Soc’y for Testing & Materials v. Public.Resource.Org, Inc.,

 896 F.3d 437 (D.C. Cir. 2018) (“ASTM II”). The Court stated that Public Resource

 presented “a serious constitutional concern with permitting private ownership of

 standards essential to understanding legal obligations,” but focused solely on the

 question   of   fair   use   so   as   “to    avoid    ‘pass[ing]   on    questions   of

 constitutionality…unless such adjudication is unavoidable.’” Id. at 447 (quoting



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 Spector Motor Serv. v. McLaughlin, 323 U.S. 101, 105 (1944)) (alteration in

 original). This Court also opined that if Public Resource’s postings were not found

 to be fair use, such a result would “again rais[e] the question of whether the authors

 of such works can maintain their copyright at all.” ASTM II, 896 F.3d at 447.

       This Court ruled that the district court had misapplied the fair use standard and

 remanded the case for further proceedings and factual development, stating:

       though there is reason to believe “as a matter of law” that PRO’s
       reproduction of certain standards “qualif[ies] as a fair use of the
       copyrighted work,” id. (internal quotations and citations
       omitted), we ultimately think the better course is to remand the
       case for the district court to further develop the factual record and
       weigh the factors as applied to PRO’s use of each standard in the
       first instance.
 Id. at 448–49 (alterations in original). This Court directed the parties not to “treat[]

 the standards interchangeably” and offered additional guidance regarding fair-use

 factors and the possibility of grouping similar materials together. Id. at 449.

       Concurring, Judge Katsas was more explicit: “The Court’s fair-use analysis

 faithfully recites the governing four-factor balancing test, yet, in conducting the

 balancing, it puts a heavy thumb on the scale in favor of an unrestrained ability to

 say what the law is.” Id. at 459. He continued:

       [W]here a particular standard is incorporated as a binding legal
       obligation, and where the defendant has done nothing more than
       disseminate it, the Court leaves little doubt that the dissemination
       amounts to fair use.




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 Id. Judge Katsas joined the Court’s opinion, understanding that, “in the unlikely

 event that disseminating ‘the law’ might be held not to be fair use,” the Court would

 revisit the question of copyrightability. Id.

       C.     On Remand, the District Court Found Fair Use as to 185
              Standards and Declined to Enter a Permanent Injunction.

       On remand, the parties further developed the factual record and filed new

 cross-motions for summary judgment.1 They provided detailed information and

 materials for individualized fair-use analyses for each standard at issue, including

 copies of each standard, copies of Public Resource’s republished versions, and the

 text and location of the incorporating regulation. See JA09286-9287(Dkt-239 at 22–

 23). Public Resource’s briefing focused primarily on fair use but expressly reserved

 its prior arguments that Plaintiffs had not established ownership and that standards

 that have been incorporated into law are government edicts. (Dkt-202-2 at 19 n.6);

 JA07179-7190(Dkt-203-2 ¶¶184-224).

       As to 184 of the standards, and a portion of one other, the court found no

 copyright infringement on the basis of fair use. JA09300(Dkt-239 at 36). As to the

 remaining 32 standards, the district court found that the standards posted by Public



       1
         In the separate action that had been consolidated with this case in the first
 appeal, American Educational Research Association, Inc. et al. v.
 Public.Resource.Org, Inc., the plaintiffs dismissed their case with prejudice after
 briefing their second motion for summary judgment. No. 1:14-cv-00857-TSC, Dkt.
 149 (D.D.C. Oct. 14, 2020).


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 Resource differed from the versions incorporated into law and on that basis granted

 summary judgment to the Plaintiffs. Id. It declined to permanently enjoin Public

 Resource from posting those standards, however, given the “meager evidence of

 irreparable harm” and “the possibility that these standards will be incorporated into

 law at a later date.” JA09311(Dkt-239 at 47). 2

               INTRODUCTION AND SUMMARY OF ARGUMENT
       Public Resource has a simple, powerful mission: to make all government

 information easily and freely available online. Not long ago, that would have seemed

 impossible; today, it is not just possible but critically important to promoting the rule

 of law. Thanks in part to Public Resource’s work, the public can access judicial

 opinions, state and federal statutes, and the Federal Register, online, for free, without

 needing to waive any rights or surrender personal information, and with the full

 ability to study and share what they learn. The glaring exception, if Plaintiffs succeed

 here, would be a set of laws that in many cases most directly affects our everyday

 lives: the codes that ensure our homes, workplaces, devices, and many other

 products, are safe and fit for purpose.

       Access to these codes is not a theoretical problem—just ask the Indiana

 Supreme Court. In 2017, that court considered a statute of limitations question that

 turned upon Indiana’s incorporation by reference of the 2002 version of a standard.


       2
           The district court’s trademark ruling is not at issue in this appeal.


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 See Bellwether, 87 N.E.3d at 468–69. The parties had not submitted the incorporated

 standard, and the court needed to know what the law said. A court employee asked

 the relevant government agency for a copy and was told they had to make an

 appointment to inspect the document but could not borrow or print it because of

 purported copyright restrictions. Id. at 468. Indiana’s highest court, seeking to learn

 its own state’s law, was able to do so only because it found the document on the

 Internet Archive. Id. at 469. Who put it there? Public Resource. JA07163(Dkt-203-

 2 ¶80).

       A nation governed by the rule of law cannot tolerate private control of that

 law, no matter who initially drafts it. Copyright, while authorized by the

 Constitution, is still nothing more or less than a bundle of statutory incentives. It

 cannot trump fundamental constitutional rights. Silvers v. Sony Pictures Entm’t, Inc.,

 402 F.3d 881, 883–84 (9th Cir. 2005). The district court’s opinion respects that

 principle, in accord with centuries of precedent establishing that “no one can own

 the law” and “all should have free access to its contents.” Georgia v.

 Public.Resource.Org, 140 S.Ct. 1498, 1507 (2020).

       This Court should affirm the summary judgment on either of two separate

 grounds.

       First, the standards are government edicts free from copyright, following the

 Supreme Court’s guidance in Georgia, which treated all materials promulgated by



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 officials who are empowered to speak with the force of law as constructively

 authored by the people. Affirmance on this ground would also accord with decisions

 of other circuits regarding standards incorporated by reference, and it would protect

 First, Fifth, and Fourteenth Amendment rights of the people to read, communicate,

 and analyze the law.

       In the alternative, the Court should affirm that Public Resource’s posting of

 standards incorporated into law is a fair use. Its archive of incorporated standards is

 noncommercial, transformative, and highly factual; it reproduces no more than

 necessary to enable access to the complete set of documents that govern our conduct.

 Plaintiffs propose a crabbed approach that deprives laws of their context and nuance

 by isolating only portions of fully incorporated documents. This Court did not

 require that; nor does fair use. Public Resource’s efforts have not harmed the markets

 for any standards at issue and will not in the future.

       Finally, the Court should affirm the denial of a permanent injunction as to the

 32 standards that the district court determined not to be incorporated, as the district

 court’s sound exercise of judicial discretion in the absence of any irreparable harm.

 The denial supports the public interest by allowing Public Resource to add new

 versions of standards to its archive as incorporations continue.




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                                    ARGUMENT
 I.    THE GOVERNMENT EDICTS DOCTRINE FORBIDS COPYRIGHT
       RESTRICTIONS ON DOCUMENTS INCORPORATED BY
       REFERENCE INTO LAW

       Two separate legal canons protect Public Resource’s conduct here: the fair

 use doctrine and the government edicts doctrine. While the district court ruled on

 fair use, this Court may affirm on either basis because doing so would not require

 modification of the judgment, regardless of whether the district court reached, or

 even rejected, the alternative reasoning. Alexander v. Wash. Metro. Area Transit

 Auth., 826 F.3d 544, 550–51 (D.C. Cir. 2016); Crocker v. Piedmont Aviation, Inc.,

 49 F.3d 735, 741 (D.C. Cir. 1995).

       Here, affirmance based on the government edicts doctrine would lead to the

 same result as the district court’s order: summary judgment in Public Resource’s

 favor as to 185 standards expressly incorporated into law, and a denial of an

 injunction against posting the 32 standards that are not currently law. Where, as here,

 a judgment implicates the First Amendment, courts must “conduct an independent

 examination of the whole record to ensure that the judgment does not constitute a

 forbidden intrusion on First Amendment rights.” Liberty Lobby, Inc. v. Rees, 852

 F.2d 595, 598 (D.C. Cir. 1988) (quoting Bose Corp. v. Consumers Union of U.S.,

 Inc., 466 U.S. 485, 499 (1984)).




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         Affirmance on this basis would provide certainty for future users, rather than

 requiring them to “roll the dice with a potential fair use defense” that will cause the

 “less bold to think twice before using official legal works….” Georgia, 140 S.Ct. at

 1513.

         At a minimum, if this Court finds that Public Resource’s posting of any

 standard incorporated by reference is not a fair use, it should take the step it avoided

 in the first appeal and reach the issue of copyrightability as to that standard.

         A.    The Supreme Court’s Georgia Holding Naturally Extends to Laws
               Incorporated by Reference.

         After this Court’s first ruling in this case, the Supreme Court revisited the

 copyrightability of law in Georgia v. Public.Resource.Org. 140 S.Ct. at 1501.

 Holding that annotations to Georgia’s official statutory code, as government edicts,

 were free from copyright, the Court explained that officials who “speak with the

 force of law” cannot claim copyright in the works they create in the course of their

 official duties. Id. at 1503. 3 The central basis for this ruling was the principle that

 “no one can own the law” and that “all should have free access to its contents.” Id at

 1507.

         The same reasoning applies here. Regulatory agencies express government

 policy, speaking with the force of law, when they incorporate a standard by



        The parties provided supplemental briefing to the district court on this issue.
         3

 Dkts. 225-228.


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 reference. Incorporation of materials by reference has the same effect as though the

 government had pasted them word-for-word into a regulation. See JA02903(Dkt-

 122-9 at 86); Myers, 553 F.3d at 331.

       Moreover, regulators and Plaintiffs often work closely together in creating

 standards. Federal employees participate extensively in the standards drafting

 processes that Plaintiffs convene. JA01093(Dkt-120-9 at 2)(“Over 1,400 individuals

 from federal agencies [were] actively engaged in 90 percent of [ASTM] standards

 writing technical committees.”); JA01949(Dkt-122-3 at 12)(“1000 units of U.S.

 Government participation in ASTM”). Agency officials then select some of the

 output of those processes and declare it to be the law, just like a legislature enacting

 a bill written by a lobbyist. In both instances, the government edicts doctrine

 prevents the “instant and automatic” application of copyright to legal texts. That, in

 turn, saves the public from “hav[ing] to think twice before using official legal works

 that illuminate the law we are all presumed to know and understand.” Georgia, 140

 S.Ct. at 1512-13.

       It is common for edicts of government to originate with private parties. The

 words of our statutes and regulations are frequently composed by constituents,

 lobbyists, industry associations, law professors, other state and foreign officials,

 uniform law commissions, and groups like the American Legislative Exchange

 Council. See Victoria F. Nourse & Jane S. Schachter, The Politics of Legislative



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 Drafting: a Congressional Case Study, 77 N.Y.U. L. Rev. 575, 583 (2002);

 K. Kindy, In Trump era, lobbyists boldly take credit for writing a bill to protect their

 industry, Washington Post (July 31, 2017). 4

       When a legislature or a regulator adopts these words in its official capacity, in

 a process designed to give them the force of law, those works are government edicts

 and are not copyrightable. If copyright enforceability for standards incorporated into

 law were accepted, “there would be ‘no outer limit on claims of copyright

 prerogatives by nongovernmental persons who contribute to writing ‘the law’ such

 as lobbyists or law professors. An individual who drafted a statute or amendment

 later adopted by Congress could claim copyright in the text.’” Brief of the United

 States as Amicus Curiae on Petition for Certiorari at 15, S. Bldg. Code Cong. Int’l,

 Inc. v. Veeck (quoting Veeck, 293 F.3d 791, 799 (5th Cir. 2002)). 5

       In this respect, the district court erred. It reasoned that the government edicts

 doctrine only applies to text “independently created” by a rulemaking authority or

 its contractor. JA09284 (Dkt-239 at 20) (“ASTM III”). The Supreme Court’s

 observation that “works created by government officials (or private parties) who lack

 the authority to make or interpret the law” can be subject to copyright describes the


       4
          Available at https://www.washingtonpost.com/powerpost/in-trump-era-
 lobbyists-boldly-take-credit-for-writing-a-bill-to-protect-their-
 industry/2017/07/31/eb299a7c-5c34-11e7-9fc6-c7ef4bc58d13_story.html.
       5
         Available at https://www.justice.gov/sites/default/files/osg/briefs/2002/01/
 01/2002-0355.pet.ami.inv.pdf.


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 more general case of materials that are not adopted by a government authority as

 official pronouncements. Here, governments officially pronounce standards as

 binding government edicts. If the district court’s reasoning were correct, a lobbyist

 who drafts a proposed regulation that is later enacted by a legislature or agency could

 claim exclusive rights to the text of that regulation.

        This danger is not hypothetical: Plaintiff NFPA currently claims to hold

 copyright in the express text of Title 24, Part 3 of the California Code of Regulations,

 and has asked the state to restrict public access to it. JA07193-7196 (Dkt-203-2

 ¶¶236-242); Public.Resource.Org Inc. v. Cal. Office of Administrative Law, No. 24-

 2021-80003612, Judgment at 11 (Apr. 11, 2022).

        B.     Multiple Circuits Have Concluded that Standards Incorporated
               by Reference into Law Are Not Copyrightable.
        Extension of Georgia’s reasoning to the standards also brings this Court in

 line with its sister circuits.

        The Fifth Circuit addressed a virtually identical question in Veeck, 293 F.3d

 at 796. Peter Veeck posted online model building codes that two Texas towns had

 adopted by reference. Id. at 793. The organization that developed the codes sued for

 copyright infringement. Sitting en banc, the Fifth Circuit rejected the claim, using

 language that presaged the Supreme Court’s construction of authorship in Georgia:

        The very process of lawmaking demands and incorporates
        contributions by “the people,” in an infinite variety of individual
        and organizational capacities. Even when a governmental body


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       consciously decides to enact proposed model building codes, it
       does so based on various legislative considerations, the sum of
       which produce its version of “the law.” In performing their
       function, the lawmakers represent the public will, and the public
       are the final “authors” of the law.… .

 Id. at 799.

       The Fifth Circuit’s analysis echoed that of the First Circuit in Building

 Officials & Code Administration. v. Code Technologies, Inc., 628 F.2d 730, 734,

 736 (1st Cir. 1980). In that case, the First Circuit vacated a preliminary injunction

 for the creator of a model building code that Massachusetts had adopted. Id. at 731.

 The court remanded, explicitly recognizing the due process implications of allowing

 a single entity to control access to the law.

       [I]t is hard to see how the public’s essential due process right of
       free access to the law (including a necessary right freely to copy
       and circulate all or part of a given law for various purposes), can
       be reconciled with the exclusivity afforded a private copyright
       holder.…
 Id. at 734, 736.

       To be clear, “copyrighted works do not ‘become law’ merely because a statute

 refers to them.” See Veeck, 293 F.3d at 805 (citing 1 Goldstein on Copyright § 2.49

 n.45.2). But this case does not involve citations to reference works. It concerns

 documents that governments have expressly incorporated into law.

       Accordingly, applying the government edicts doctrine here accommodates the

 holdings of CCC Info. Servs., Inc. v. Maclean Hunter Mkt. Reports, Inc., 44 F.3d 61,




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 74 (2d Cir. 1994), and Practice Mgmt. Info. Corp. v. Am. Med. Ass’n, 121 F.3d 516

 (9th Cir. 1997), both of which involved “compilations of data that had received

 governmental approval, not content that had been enacted into positive law.” Veeck,

 293 F.3d at 805. CCC involved a book of automobile valuations that an insurance

 regulation “approved for use” but did not expressly incorporate. 44 F.3d at 74, citing

 N.J. Admin. Code § 11:3-10.4 (1988). Practice Management addressed a regulation

 that required Medicaid reimbursement applications to refer to privately authored

 medical codes but did not incorporate the codes into law. 121 F.3d at 518. Because

 the external works in those cases were referred to but not adopted as law, the

 government edicts doctrine did not apply.

       C.     The First, Fifth and Fourteenth Amendments Protect Public
              Resource’s Right to Provide the Public with Means to Access,
              Analyze, and Criticize the Law.

       Recognizing standards incorporated into law as government edicts also

 protects the public’s First Amendment rights to “discussion, debate, and the

 dissemination of information and ideas.” First Nat’l Bank of Boston v. Bellotti, 435

 U.S. 765, 781-83 (1978). As the Supreme Court has noted, “‘a major purpose of [the

 First] Amendment was to protect the free discussion of governmental affairs.’ [This]

 serves to ensure that the individual citizen can effectively participate in and

 contribute to our republican system of self-government.” Globe Newspaper Co. v.




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 Superior Court for Norfolk Cty., 457 U.S. 596, 604 (1982) (quoting Mills v.

 Alabama, 384 U.S. 214, 218 (1966)).

       The ability to communicate the law is particularly crucial when that law

 incorporates a standard by reference. The public cannot blindly rely on government

 agencies to ensure that incorporated standards serve the public interest rather than

 the private parties that influence them. The public has an acute need to access and

 share that law so it can hold regulators accountable for their decisions. See Jodi L.

 Short, The Political Turn in American Administrative Law: Power, Rationality, and

 Reasons, 61 Duke L.J. 1811, 1821 (2012).

       Moreover, due process under the Fifth and Fourteenth Amendments

 independently requires public access to law, including components that have been

 incorporated by reference. As Justice Scalia wrote, “[r]udimentary justice requires

 that those subject to the law must have the means of knowing what it prescribes.”

 The Rule of Law as a Law of Rules, 56 U. Chi. L. Rev. 1175, 1179 (1989). That

 “basic principle of due process” is designed to protect citizens’ autonomous choice

 “to steer between lawful and unlawful conduct.” Grayned v. City of Rockford, 408

 U.S. 104, 108–09 (1972). Not coincidentally, one of the events leading to the Federal

 Register Act (Pub. L. No. 74-220, ch. 417, 49 Stat. 500-503 (July 26, 1935)) was

 government enforcement of an administrative oil quota rule that, it turned out, did

 not exist. Oil Suit Dismissed in Supreme Court, N.Y. Times, Oct. 2, 1934, at 6; see



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 also Erwin N. Griswold, Governance in Ignorance of the Law—A Plea for Better

 Publication of Executive Legislation, 48 Harv. L. Rev. 198 (1934).

        D.     A Long History of Precedent Forbids Copyright Restrictions on
               Dissemination of the Law.
        The Supreme Court recognized that its holding in Georgia reflected an

 unbroken line of case law dating to the Court’s first copyright decision, Wheaton v.

 Peters, 33 U.S. (8 Pet.) 591 (1834). Georgia, 140 S.Ct. at 1506. In that case, one of

 the Court’s official reporters claimed copyright in his annotated collection of the

 Court’s opinions. The Court declared it was “unanimously of opinion that no

 reporter has or can have any copyright in the written opinions delivered by this

 Court.” Id. at 668.

        Fifty years later, in Banks v. Manchester, 128 U.S. 244 (1888), the Court

 rejected a similar copyright claim by a court reporter of the Ohio Supreme Court.

 “The whole work done by the judges constitutes the authentic exposition and

 interpretation of the law, which, binding every citizen, is free for publication to all,

 whether it is a declaration of unwritten law, or an interpretation of a constitution or

 a statute.” Id. at 253.

        In 1898, the Sixth Circuit observed that “any person desiring to publish the

 statutes of a state may use any copy of such statutes to be found in any printed book,

 whether such book be the property of the state or the property of an individual.”

 Howell v. Miller, 91 F. 129, 137 (6th Cir. 1898) (Harlan, J.).


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       As these decisions explain, exclusion of law from copyright does not depend

 on who requested or funded creation of the law. Instead, it depends on its true author.

 Or, as the First Circuit later put it, anticipating Georgia: “The citizens are the authors

 of the law, and therefore its owners, regardless of who actually drafts the provisions,

 because the law derives its authority from the consent of the public, expressed

 through the democratic process.” Bldg. Officials, 628 F.2d at 734.

       E.      The Plain Text of the Copyright Act Also Excludes Standards
               Incorporated into Law.
       The 1976 Copyright Act independently excludes standards incorporated into

 law. As the Supreme Court recognized in Eldred v. Ashcroft, 537 U.S. 186 (2003),

 the exclusion of ideas and facts from copyright protection is essential to balancing

 copyright and free speech protections. Id. at 219; see also Golan v. Holder, 565 U.S.

 302, 326-329 (2012). Copyright does not apply to “any idea, procedure, process,

 system, method of operation, concept, principle, or discovery, regardless of the form

 in which it is described, explained, illustrated, or embodied in such work.” 17 U.S.C.

 § 102(b).

       Law, including components incorporated by reference, falls easily within this

 category. It is a “system of rules that a particular country or community recognizes

 as regulating the actions of its members and may enforce by the imposition of

 penalties.”    See    “Law,”      Oxford      English     Dictionary,     available    at

 https://www.oxforddictionaries.com (emphasis added). It embodies a “principle”


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 i.e., “a comprehensive and fundamental law, doctrine, or assumption; 1b(1): a rule

 of code of conduct.…” Merriam Webster Ninth New Collegiate Dictionary (1989).

 See generally L. Ray Patterson & Craig Joyce, Monopolizing the Law: the Scope of

 Copyright Protection for Law Reports and Statutory Compilations, 36 UCLA L.

 Rev. 719, 777 (1999). 6

       Further, once adopted into law, “codes are ‘facts’ under copyright law. They

 are the unique, unalterable expression of the ‘idea’ that constitutes local law.” Veeck,

 293 F.3d at 801. In other words, by virtue of government action, the idea and its

 expression have merged. And “[w]hen there is essentially only one way to express

 an idea, the idea and its expression are inseparable, and copyright is no bar to

 copying that expression.” Concrete Mach. Co. v. Classic Lawn Ornaments, Inc., 843

 F.2d 600, 606 (1st Cir. 1988).

       F.     The “Takings” Argument of Amici Is a Red Herring
       Affirming the judgment on copyrightability grounds would not require the

 Court to address a purported “taking.” Contra Corrected Brief of American National

 Standards Institute and Six Standards Organizations as Amici Curiae Supporting




       6
         Section 105 of the Copyright Act, 17 U.S.C. § 105, denies copyright for any
 work of the U.S. Government and reflects a related principle. Section 105 applies to
 all U.S. Government documents beyond laws, such as NASA photographs or FTC
 consumer guides.


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 Appellants at 17.7 If a decision that standards incorporated into law are not

 copyrightable leads standards organizations to view such incorporations as improper

 takings, they may make a claim against the government. Of course, that would be as

 absurd as any other lobbyist’s suit that government adoption of a proposed

 legislative text “takes” the lobbyist’s copyright.

       In any event, in a takings lawsuit by Plaintiffs, another court could consider

 questions such as ownership; copyrightability of the standards as standards; whether

 copyrights constitute property for takings purposes, see Univ. of Houston Sys. v. Jim

 Olive Photography, 580 S.W.3d 360, 377 (Tex. App. 2019), aff’d, 624 S.W.3d 764

 (Tex. 2021); whether Plaintiffs voluntarily forfeited copyright by lobbying for

 incorporation, see JA07155-7158(Dkt-203-2 ¶¶49–64), see Valancourt Books, LLC

 v. Perlmutter, 554 F. Supp. 3d 26, 33–35 (D.D.C. 2021); whether due process

 occurred through regulatory or legislative proceedings; and whether the adoption

 itself constituted just compensation; see JA07155-7156(Dkt-203-2 ¶¶50, 54).

       This Court need not speculate on those answers in a hypothetical case, and

 they need not affect this case.




       7
         In any event, a fair use ruling respects the scope of copyright and takes
 nothing away from it: copyrights are “subject to” the limitation of fair use in section
 107, 17 U.S.C. § 106 (preamble), and a fair use is “not an infringement.” § 107
 (preamble).


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 II.   PUBLIC RESOURCE’S ARCHIVE OF LAWS BY
       INCORPORATION IS ALSO A LAWFUL FAIR USE.
       If incorporated standards are subject to copyright, providing an accessible

 public archive of those standards is nonetheless a lawful fair use, as the district court

 found. All four fair-use factors support Public Resource’s effort to bridge the divide

 the Supreme Court rejected in Georgia, between “economy class” readers who can

 view only what portions of law Plaintiffs choose to provide—at their discretion and

 with restrictions—and “first-class” readers who merit an all-access pass. Georgia,

 140 S.Ct. at 1512.

       A.     The District Court Correctly Held That the Purpose and
              Character of Public Resource’s Archive Favor Fair Use.
       The first fair-use factor is the purpose of the use, including whether it is

 noncommercial and transformative. Public Resource’s use is both.

              1.      Public Resource’s Noncommercial Purpose Favors Fair
                      Use.
       In its nonprofit mission, Public Resource buys standards and puts them online,

 for free, to facilitate public access to and understanding of the law. Plaintiffs do not

 dispute that this use is noncommercial. Plaintiffs-Appellants’ Brief at 19 n.5.

 “[T]there is no doubt that a finding that copying was not commercial in nature tips

 the scales in favor of fair use.” Google LLC v. Oracle Am., Inc., 141 S.Ct. 1183,

 1204 (2021).




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              2.    Public Resource’s Transformative Purpose—Creating and
                    Posting a Comprehensive Archive of Standards
                    Incorporated Into Law—Favors Fair Use.
       A transformative use “adds something new and important.” Google, 141 S.Ct.

 at 1203. Public Resource presents laws and regulations fully as a public archive for

 paradigmatic fair-use purposes as “criticism, comment, news reporting,

 teaching…scholarship, and research.” 17 U.S.C. § 107. The best way to teach the

 law is to provide the public with the law. Paraphrases, summaries, and descriptions

 cannot capture the precision necessary to understand legal obligations that

 governments impose and enforce. Public Resource’s archive is indispensable for

 those who cannot travel to a library, who are print-disabled, and those who wish to

 engage in computer-aided analysis.

       Public Resource’s goal is also distinct. Plaintiffs’ missions are to “advance

 the arts and sciences of heating, ventilation, air conditioning and refrigeration,”

 “eliminat[e] death, injury, property and economic loss due to fire, electrical and

 related hazards,” and “promote public health and safety, support the protection and

 sustainability of the environment, and the overall quality of life.” JA07168-

 7169(Dkt-203-2 ¶114-16).

       Public Resource’s mission is equally laudable but very different: to provide

 the public a free, comprehensive repository of the law, including the law that exists

 in private standards that are obscure to much of the public (and even to some courts)



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 and often superseded as industry standards. JA07212(Dkt-204-4 ¶38). Plaintiffs’

 message is: “these are current best practices for the design and operation of buildings

 and products.” Public Resource’s message is: “this is the law.” JA07210-7211(Dkt-

 204-4 ¶35). This new context reflects and reinforces a distinct purpose. See Swatch

 Group Management Services v. Bloomberg LP., 756 F.3d 73, 85 (2d. Cir. 2014)

 (“Bloomberg’s message—‘This is what they said’—is a very different message from

 Swatch Group’s—‘This is what you should believe.’”).

       Plaintiffs attempt to deflect the Court’s attention from these undisputed facts

 by insisting that (1) the district court should have conducted a sentence-by-sentence

 analysis to determine whether Public Resource posted more than strictly necessary

 to understand a specific legal duty, rather than relying on a regulator’s own

 determinations; and (2) Plaintiffs’ reading rooms are equivalent to Public Resource’s

 archive. Both claims are incorrect.

                     a.     The incorporation by reference process precisely
                            identifies what is and is not the law.

       Plaintiffs claim that an exhaustive analysis of standards and regulations is

 necessary to determine what portions of incorporated material are “essential to

 complying with the law.” Plaintiffs-Appellants’ Br. 19. That approach is neither

 required by this Court’s instructions nor workable as a practical matter. It also

 ignores clear guidance from the relevant federal government agencies and from the

 office that administers the incorporation-by-reference process.


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       The Federal Register’s Document Drafting Handbook is clear: what is

 expressly incorporated becomes law. If an agency regulation includes a “reference

 [that] is required to comply with the regulations, [the agency] must follow the

 incorporation by reference requirements in the IBR Handbook.” Office of the Federal

 Register, Document Drafting Handbook, Aug. 2018 ed. (Rev. 1.1, dated Aug. 9,

 2019), Chapter 1.5 (emphasis added) (JA09023(Dkt-215-4)). 8 Mere informational

 references, by contrast, need not meet that standard. Id. A regulator may cite an

 external document as being “approved for use” without making it part of the citing

 regulation. See, e.g., CCC Info. Servs., Inc. at 74.

       Further, “the language incorporating material by reference shall be as precise

 and complete as possible.” 1 C.F.R. § 51.6(a) (1973) (emphasis added); see also

 1 C.F.R. § 51.7(a) (1973) (“Each incorporation by reference shall include an

 identification and subject description of the matter incorporated, in terms as precise

 and useful as practicable within the limits of reasonable brevity.”) 1 C.F.R. § 51.9(a)-

 (b) (emphasis added) (“the language incorporating a publication by reference must

 be precise, complete, and clearly state that the incorporation by reference is




       8
         The OFR Director oversees the federal incorporation by reference process
 and must “interpret and apply” its language. 1 C.F.R. § 51.1, 5 U.S.C. 552(a).
 Accordingly, OFR’s interpretation deserves substantial deference. See Thomas
 Jefferson University v. Shalala, 512 U.S. 504, 512 (1994).


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 intended” and that agencies “inform[] the user that the incorporated publication is a

 requirement.”) (emphasis added).9

       When regulators mean to incorporate complete documents, they do so; when

 they mean to incorporate only specific sections, they know how to do that too. See,

 e.g., JA07150(Dkt-203-2 ¶27).

       If agencies fail to specify the scope of incorporation, their regulations can be

 held invalid. In Appalachian Power Co. v. Train, for example, the Fourth Circuit

 invalidated an Environmental Protection Agency regulation where the EPA failed to

 obtain the approval of the Director of the OFR and the regulations had failed to state

 precisely what was to be incorporated. 566 F.2d 451, 457 (4th Cir. 1977). The court

 concluded that “an incorporation by reference must give one affected enough

 knowledge so that he may easily and certainly ascertain the conditions by which he

 is to be bound.” Id. at 457. If, as Plaintiffs suggest, the regulations are so vague as to

 make sentence-by-sentence comparison necessary, that vagueness would render

 many of the regulations invalid. Presumably neither the Plaintiffs nor the agencies

 with which they work would desire that outcome. Moreover, agency and Federal

 Register officials have independently affirmed that “[o]nly the agency would know”

 precisely what it intended to incorporate by reference into law, and “it would be



       9
          See Incorporation by Reference, 37 Fed. Reg. 23602 (Nov. 4, 1972)
 (codified at 1 C.F.R. 51), JA09250(Dkt-215-5).


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 irresponsible” for others to make assumptions about that intent. JA07365-7368(Dkt-

 204-43 at 191:03-203:12); JA08325-8326(Dkt-204-66).

       Where an agency has followed the rigorous process of incorporating a

 document by reference into law, it has decided that the document is not a mere

 extrinsic reference. There is no need or benefit to second-guessing that regulatory

 choice. Given that incorporation by reference already requires multiple rulemaking

 entities to determine what is and is not the law, the correct question is whether Public

 Resource has accurately posted the result. The district court followed that sensible

 approach, as set forth in detail in its opinion and the appendix thereto. ASTM III,

 2022 WL 971735 at **23-24; JA09312-9498(Dkt-239-1).

       Moreover, regulatory beneficiaries of all sorts have a strong and direct interest

 in access to the content of regulatory standards—including incorporated-by-

 reference material—because it directly affects their interests and can potentially

 affect their conduct. See Nina A Mendelson, Private Control over Access to Public

 Law: The Perplexing Federal Regulatory Use of Private Standards, 112 Mich. L.

 Rev. 737, 771 (2014). Regulatory text that offers alternative means of complying

 with a rule, or that adds meaning to other rules, affects conduct without creating

 duties. A party might have a contractual right to hold its opponent responsible for

 complying with a law by incorporation, as in Getty Petroleum. A community might




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 want to know whether a refinery has been built in accordance with applicable safety

 standards, even “optional” ones.

       As the Supreme Court has noted, many industry standards become law

 through lobbying, and industry participants have motives to skew the standard-

 making to suit their commercial interests; it also observed that “[t]he dividing line

 between restraints resulting from governmental action and those resulting from

 private action may not always be obvious.” Allied Tube & Conduit Corp. v. Indian

 Head, Inc., 486 U.S. 492, 500-02 (1988)(ruling against Noerr-Pennington immunity

 for NFPA member). In this context, it is especially important that the public have

 free, unfettered access to the law that emanates from those processes to scrutinize

 them for improper influence. The limited notice-and-comment opportunity is

 insufficient without widespread access to the material. See Mendelson at 781-82.

       Likewise, so-called “extraneous” text can be crucial to understanding the law.

 Consider, for example, the legal debate over the meaning and effect of the preamble

 to the Second Amendment. This is one reason regulators incorporate entire

 documents—to ensure that the required procedures can be understood in context.

                    b.     Plaintiffs misread this Court’s opinion to narrowly
                           circumscribe transformativeness.

       Contrary to Plaintiffs’ implication, this Court did not hold that

 transformativeness here turns exclusively on a false dichotomy between

 incorporated documents (or portions of documents) that are “essential to complying


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 with any legal duty” and those that are not. ASTM II, 896 F.3d at 449–451. Instead, this

 Court suggested the documents occupy a “spectrum” that a court could consider in

 determining whether factor one favors fair use. Id. at 442-43 (“At one end of this

 spectrum lie incorporated standards that define one’s legal obligations just as much

 as, say, a local building code…. At the other end of the spectrum lie standards that

 serve as mere references but have no direct legal effect on any private party’s

 conduct.”).

       Thus, while the Court suggested that posting incorporated standards at the

 “reference” end of the spectrum may be less transformative, it did not find that such a

 use was not transformative, much less excluded from fair use. Id. at 450. Instead, it

 suggested that “[w]here an incorporated standard provides information essential to

 comprehending one’s legal duties, for example, [the first fair use] factor would weigh

 heavily in favor of permitting a nonprofit seeking to inform the public about the law

 to reproduce in full the relevant portions of that particular standard.” ASTM II, 896

 F.3d at 450 (emphasis added). And as explained above, Public Resource’s

 comprehensive archive has multiple transformative uses, including but not limited

 to facilitating broad access to, and research on, the many standards that have been

 incorporated into law. Supra Part II.A.2.a. For example, Public Resource’s archive

 makes it easier to compare rules and regulations across codes. For example, a search




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 for “fire exits” will unearth multiple references in different codes, making it easier

 to compare and understand how exits are regulated in different contexts.10

                      c.     Small discrepancies and updates do not change the
                             analysis of fair use.

        In their first motion for summary judgment, Dkt. 118-1 at 9, Plaintiffs

 acknowledged that “[e]ach standard at issue here has been incorporated by reference

 by at least one governmental entity.” In their second motion and on appeal, Plaintiffs

 try to avoid that admission by raising two technical complaints that are both untimely

 and unavailing.

        First, Plaintiffs complain that some of the incorporating regulations have been

 updated to refer to more recent editions of the standards, and current regulations no

 longer incorporate the older versions posted before this lawsuit. JA05069-5083

 (Dkt-199-2 at 8-22). This is correct, and it is the natural result of Plaintiffs’ efforts

 to persuade regulators to incorporate those newer editions. JA07155-7158 (Dkt-203-

 2 ¶¶49-64). But courts still must adjudicate cases applying the older regulations. See,

 e.g., Getty Petroleum, 391 F.3d at 316 n.5 (First Circuit panel was unable to find

 1987 edition of NFPA 30; noting that, even after repeal of the incorporating

 regulation, “to properly address [the legal question at issue] we refer to Rhode Island

 law as it existed at the time of [the dispute], that is, the provisions in effect in 2000”).



       https://archive.org/details/publicsafetycode?query=%22fire+exit%22&sin
        10

 =TXT&and%5B%5D=subject%3A%222022+California+Building+Codes%22


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 Earlier incorporated standards are also relevant for research into historical

 government actions and development of the law.

       Second, Plaintiffs state that, in some instances, Public Resource posted

 editions of ASTM standards that are not the precise editions incorporated into law.

 JA05069-5083 (Dkt-199-2 8-22)

       Given the nature of the documents, minor imprecision is inevitable, despite

 Public Resource’s best efforts. One of Plaintiffs’ representatives had difficulty

 identifying which edition of their own standards had been incorporated. JA07163

 (Dkt-203-2 ¶83). ASTM itself spent more than a page of its summary judgment filing

 explaining how to parse its citations. JA05069-5070 (Dkt-199-2 ¶¶33-35). But the

 overwhelming majority of Public Resource’s postings are correct—including many

 instances of which ASTM complains. JA07163 (Dkt-203-2 ¶82).

       As for the rest, the differences are largely immaterial. In a few instances, the

 edition that Public Resource posted is an identical reissue of the incorporated

 standard—the only difference between what was posted and the document cited in

 the C.F.R. is that the title adds a “reissue” date. JA07163-7164(Dkt-203-2 ¶84). In

 others, Public Resource posted an edition of the standard that had a different

 superscript epsilon designation (i.e. “e1”), meaning that there was a minor editorial

 distinction between the incorporated standard and the edition Public Resource

 posted.



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       Finally, in the rare circumstance that the edition posted was substantively

 different from the edition incorporated into law, the district court found that those

 postings were not fair uses, and Public Resource does not challenge that conclusion

 here. JA07163(Dkt-203-2 ¶82).

                     d.    Public Resource’s archive is very different from
                           Plaintiffs’ restrictive and burdensome “reading
                           rooms.”
       Plaintiffs’ reading rooms are a far cry from Public Resource’s comprehensive

 and accessible collection. Few persons use them (see JA05110-5114(Dkt-199-2

 ¶¶97-98), for at least one clear reason: Plaintiffs discourage it.

                                reading room in 2013 as an
                                                                      -      created its




 JA07153-7154(Dkt-203-2 ¶¶35-44); supra Part I.C.

       By contrast, part of Public Resource’s mission is to make the law more “user-

 friendly.” It does not limit, or charge for, access to its platform. JA01266(Dkt-121-

 5 ¶24). It does not display or derive any revenue from advertising. It does not collect

 its visitors’ private information. It simply seeks, as its name suggests, to provide a

 useful public resource.

       Public Resource also makes standards incorporated by reference genuinely

 accessible. For example, Public Resource’s reformatted versions allow people with

 visual disabilities to enlarge the text or use electronic text-to-speech readers.



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 JA02434-2446(Dkt-122-6 at 139-151). The drafters of the 1976 Copyright Act

 considered uses like this to be a favored purpose under the first fair use factor. H.R.

 Rep. No. 94–1476, at 73 (1976), 1976 U.S.C.C.A.N. 5659, 5686 (calling

 accessibility a “special instance illustrating the application of the fair use doctrine.”).

 The Supreme Court agrees. See Sony Corp. of Am. v. Universal City Studios, Inc.,

 464 U.S. 417, 455 n.40 (1984). The print-disabled community relies on fair use to

 permit important accessibility measures not explicitly covered by the more specific

 accessibility exception, 17 U.S.C. § 121.11

       Similarly, Public Resource often translates images into vector graphics for

 better enlargement. Id. It uses optical character recognition (“OCR”), and often

 painstakingly retypes documents into Hypertext Markup Language (“HTML”) and

 converts formulas to Mathematics Markup Language (“MML”). Id. This makes

 documents word-searchable and allows researchers to analyze them at large scale

 with techniques such as machine learning. JA01266-1268(Dkt-121-5 ¶¶25-28).

        Finally, not all of the incorporated standards are available on Plaintiffs’

 reading rooms. For example, ASHRAE still does not make its 1993 Handbook

 available. Indeed, Plaintiffs have a track record of exercising their claim to a

 copyright veto power arbitrarily, as when ASTM denied a graduate student’s request


       11
          See, e.g., Report of the Advisory Committee on Accessible Instructional
 materials in Postsecondary Education for Students with Disabilities 43-44 (Dec. 6,
 2011), http://www2.ed.gov/about/ bdscomm/list/aim/meeting/aim-report.pdf.


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 for permission to use excerpts from a standard in a research paper, while allowing

 others to excerpt standards at will. JA07167-7168(Dkt-203-2 ¶¶103-11). And NFPA

 continues to challenge California’s right to provide access the National Electrical

 Code, even though that code was reprinted into California regulations. See

 Public.Resource.Org Inc. v. Cal. Office of Administrative Law, No. 34-2021-

 80003612, Judgment at 11 (Cal. Sup. Ct., Apr. 11, 2022).

       Access to law should not be subject to any private party’s whims and

 complicated rules. Public Resource helps ensure that it is not.

       B.     The “Nature of the Copyrighted Works” Favors Fair Use
              Wherever Formal Incorporation Occurred.
       Factor Two of the fair use analysis examines the nature of the original work,

 particularly whether it is factual in nature.

              1.     Formal Incorporation of Standards and Their Adoption as
                     Law Controls the Second Fair-Use Factor.
       Both this Court and the district court rightly treated express incorporation as

 central to the second fair use factor analysis. ASTM II, 896 F.3d at 451; see ASTM

 III, 2022 WL 971735 at **13-14, JA09290-929 (Dkt-239 at 26).

       The second factor recognizes that “some works are closer to the core of

 copyright than others.” Google, 141 S.Ct. at 1202. If “no one can own the law,”

 Georgia, 140 S.Ct. at 1507 (collecting cases), then “the express text of the law falls

 plainly outside the realm of copyright protection.” ASTM II, 896 F.3d at 451. As




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 explained above, when federal or state government incorporate specifically

 identified documents or portions of documents, that text becomes the express text of

 the law. When that occurs, there is an “easy substitution” of documents incorporated

 by reference for express copying of text, ASTM II, 896 F.3d at 452, and the second

 factor weighs “heavily” in favor of fair use. Id.

       Following this approach, the district court found that 181 of the standards

 were formally incorporated in their entirety, “without limitation,” as if they were

 copied directly into regulations. JA09313-9398, 09399-9470(Order Appendix ¶¶2-

 104, 107-121, 123-185). The court correctly concluded that the second factor swung

 the result “heavily” towards fair use for each. Contrary to Plaintiffs’ claim, the

 “relevance” of these texts to the incorporating regulations is not the right criterion;

 by fully and explicitly incorporating them, an agency made them relevant. See Part

 II.A, supra; cf. Plaintiffs-Appellants’ Br. 35.

       When a regulation explicitly incorporates “the full texts of the referenced test

 procedures” without specifying the precise bounds of the incorporated texts, other

 parts of the document will likely aid in understanding and interpretation. For

 example, 40 C.F.R. § 136.3 (2014) incorporates ASTM D3371 (1995) as a required

 procedure for measuring the amount of acetonitrile (a pollutant) in water. See

 JA09398-9399(Order Appendix ¶105). Although ASTM D3371 includes

 instructions for measuring several other chemicals, all of the chemicals are measured



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 using the same chromatography test, in which each chemical appears as one peak on

 a common graph. The entire standard thus provides information about how to

 distinguish acetonitrile from other chemicals, and the document cannot be divided

 without excluding vital information.

       The district court found that four standards fell into this category, with fair

 use “harder to justify” but not precluded. JA09312-9313, 09398-9399, 09412(Order

 Appendix ¶¶1, 105, 106, 122). For these standards, the outcomes rightly varied.12

 The district court permitted Public Resource to use all or part of each of these

 standards, which is appropriate given that this Court’s “fair-use analysis…puts a

 heavy thumb on the scale in favor of an unrestrained ability to say what the law is.”

 ASTM II, 896 F.3d at 459 (Katsas, J., concurring).

              2.    The Standards Are Factual, Even Before They Became
                    Legal Facts.
       There is no dispute that the standards are long ago published. It is equally

 clear that they are highly factual. As this Court noted, “[a]ll of the works at issue

 here fall at the factual end of the fact-fiction spectrum.” Id. at 451. Moreover,




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           Plaintiffs misleadingly refer to these as “the four works where the district
 court held this factor did not favor fair use.” Plaintiffs-Appellants’ Br. 35. The
 district court found the second factor to be equivocal. For 32 standards Plaintiffs
 omit from their appendix, the court found that the second factor did not favor fair
 use because the version Public Resource posted was not clearly incorporated.
 JA09471-9498(Order Appendix ¶¶186-217).


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 incorporation by reference transforms all of the incorporated text into legal facts.

 After all,

        [i]t should be obvious that for copyright purposes, laws are
        ‘facts’: the U.S. Constitution is a fact; the Federal Tax Code and
        its regulations are facts; the Texas Uniform Commercial Code is
        a fact. Surely, in principle, the building codes of rural Texas
        hamlets are no less ‘facts’ than the products of more august
        legislative or regulatory bodies.

 Veeck, 293 F.3d at 801.

        Even for the small number of standards that were partially incorporated and

 not easily parsed, the text that Public Resource posted was “inherently bound

 together with uncopyrightable ideas”—the decisions of the agencies reflected in

 their incorporations. Google, 141 S.Ct. at 1202.

        Finally, the amount of sheer labor and financial resources Plaintiffs expend is

 irrelevant to the copyright analysis. Feist Publications, Inc. v. Rural Telephone

 Service Co., 499 U.S. 340, 357 (1991) (rejecting “sweat of the brow” theory of

 copyright). The actual creative work, if any, is performed by volunteers.

        C.    Public Resource Posted What Was Necessary to Achieve Its
              Transformative Purpose.

        The third statutory factor favors fair use where the amount used is “reasonable

 in relation to the purpose of the copying.” Authors Guild v. Google, Inc., 804 F.3d

 202, 221 (2d Cir. 2015). Reproduction of entire works is fair use when it reasonably

 fulfills the user’s purpose. See, e.g., Sony Corp. of Am., 464 U.S. at 449–50




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 (recording of entire television programs for time-shifting); Swatch, 756 F.3d at 90

 (reproduction and dissemination of entire press-conference recording).

       As Public Resource’s purpose is to create a thorough and accurate archive of

 law, it was both reasonable and necessary to post the entire incorporated law. Posting

 less would thwart Public Resource’s goal and could mislead users who expect

 complete regulations.

       This Court held that if Public Resource “limits its copying to only what is

 required to fairly describe the standard’s legal import, this factor would weigh

 strongly in favor of finding fair use.” ASTM II, 896 F.3d at 452. The district court

 correctly found that each of the 184 standards for which it granted Public Resource

 summary judgment has been completely incorporated into law. JA09293, 09312-

 9470 (Dkt-239 at 29; Dkt-239-1 at 1–159). Use of the entire standard was necessary

 to teach the law. For one standard, ASTM D2036, the court found that only two of

 the four constituent test methods were incorporated and tailored its judgment

 accordingly. JA09312-9313, 09500(Dkt-239-1 at 1–2; Dkt-240 at 2).

       Plaintiffs complain that Public Resource should instead select portions that

 might be most important to a given audience. But a government agency has

 incorporated the standards at issue fully. As discussed in Section II.A. above,

 Plaintiffs’ approach would force Public Resource to decide what portions the agency

 really meant when it chose to incorporate a complete document.



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       Plaintiffs’ criticisms of details of the district court’s third-factor analysis are

 also unfounded. First, they complain that the court failed to assess standards

 individually. Plaintiffs-Appellants’ Br. 36–37. But the district court’s appendix

 demonstrates a careful examination of each standard and the incorporating

 regulatory language. That the same analysis applies repetitively to the vast majority

 of the standards at issue simply reflects that all of these standards were fully

 incorporated into law.

       Similarly baseless is Plaintiffs’ complaint that the district court’s analyses of

 ASTM D2036, ASTM D1688, and ASTM D512 are inconsistent. Plaintiffs-

 Appellants’ Br. 37–38. Although the same regulatory provision incorporated all

 three standards into law, the district court’s appendix made clear why the court

 treated ASTM D2036 differently: it found that only two of the four testing methods

 described in that standard had been incorporated. JA09312-9313, 9382-9383,

 9412(Opinion Appendix ¶¶1, 85, 122).

       D.     The District Court Correctly Found That Plaintiffs Have Not
              Suffered Market Harm and Are Unlikely To Do So in the Future.
       Under factor four, Plaintiffs argue (1) they need not show any market harm;

 (2) conclusory assertions of their “expert” and their executives suffice; and (3)

 speculation about market effects is relevant (even though any effects should have

 surfaced by now). The district court correctly rejected all these, observing that




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        [o]ne can reasonably expect that if over the last four years market
        harm was occurring, or was likely to occur, Plaintiffs could
        provide economic data and analysis showing that to be the
        case…The fact that they do not provide any quantifiable
        evidence, and instead rely on conclusory assertions and
        speculation long after Defendant first began [posting
        incorporated standards], is telling.
 ASTM III, 2022 WL 971735 at **17, JA09298 (Dkt-239 at 34).

 Indeed. Plaintiffs have unrestricted access to their own market data. Burden

 notwithstanding, if they had any data they would have produced and highlighted it

 by now.

        Moreover, Plaintiffs’ theory of market harm sidesteps the Supreme Court’s

 guidance in Google, which held that the analysis must “take into account the public

 benefits the copying will likely produce…. Are they comparatively important, or

 unimportant, when compared with dollar amounts likely lost.” 141 S.Ct. at 1206.

 Here, those benefits are both obvious and important, particularly with no showing

 of lost sales.

                  1.   The District Court Correctly Required Plaintiffs to Show
                       Meaningful Likelihood of Harm.

        The district court followed Supreme Court guidance in requiring Plaintiffs to

 demonstrate “some meaningful likelihood of future harm” due to PRO’s

 noncommercial use. Sony Corp. of Am., 464 U.S. at 451 (italics in original). In Sony,

 the Court observed that a commercial use carried a rebuttable presumption of market

 harm. Where use was noncommercial, the Court said, plaintiffs should shoulder the


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 burden of showing a likelihood of harm. Id. Campbell v. Acuff-Rose Music did not

 hold otherwise; it left untouched the question of burden regarding noncommercial

 uses. 510 U.S. 569, 583-84 (1994).

       Since Campbell, many courts have applied Sony’s test. Accordingly “[t]he

 burden of proof as to market effect rests with the copyright holder if,” as here, “the

 challenged use is of a ‘noncommercial’ nature.” Princeton Univ. Press v. Mich. Doc.

 Servs., Inc., 99 F.3d 1381, 1385 (6th Cir. 1996); see also Higgins v. Detroit Educ.

 Television Found., 4 F. Supp. 2d 701, 709 & n.8 (E.D. Mich. 1998) (summary

 judgment for copyright defendant on fair use based on plaintiff’s failure to show

 harm, where use had non-profit, teaching purpose); Fox Broad. Co. v. Dish Network

 L.L.C., 747 F.3d 1060, 1069 (9th Cir. 2013) (given noncommercial purpose, the

 likelihood of future market harm must be demonstrated).

              2.    Plaintiffs Cannot Overcome Their Own Admissions by
                    Speculation.
       Public Resource showed a lack of harm. Plaintiffs’ sales numbers have

 generally risen, and their representatives conceded they had no knowledge of any

 harm. JA07171-7176(Dkt-203-2 ¶¶133-165). For example, ASTM’s President, Jim

 Thomas, conceded that

                                       JA07172(Dkt-203-2 ¶137). ASTM’s corporate

 representative, Jeffrey Grove, admitted he had no “direct knowledge” of any

 “measurable impact” on its finances from Public Resource. Id. ASTM had no


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 knowledge of lost sales, lost revenues, or reputational harm caused by Public

 Resource. JA07172(Dkt-203-2 ¶138). ASHRAE has not tracked any losses due to

 Public Resource’s posting of standards. JA07174(Dkt-203-2 ¶154).

       This absence of harm is not surprising. All the standards have been superseded

 as technical documents by later versions, even though they remain laws. JA02489-

 2523(Dkt-122-6 at 193-228); JA07172(Dkt-203-2 ¶135). Their commercial value is

 minimal.

       Lacking evidence, Plaintiffs offered speculation from a purported expert who

 based his analysis entirely on Plaintiffs’ self-serving opinions. JA07173(Dkt-203-2

 ¶144). That expert could not identify actual losses. JA07173-7174(Dkt-203-2 ¶¶142-

 9). He did not correlate Public Resource’s activities to any change in Plaintiffs’

 revenues. Id. He did not compare profitability of standards posted by Public

 Resource to that of Plaintiffs’ other standards. Id. The district court and this Court

 have nothing more than Plaintiffs’ conjecture, which does not impede summary

 judgment.13

               3.   Answers to This Court’s Questions Favor Fair Use.
       This Court asked the district court to consider whether (1) the existence of

 Plaintiffs’ reading rooms dispels a claim of market harm; (2) whether any such harm


       13
           Plaintiffs’ claim that a fair use ruling here would encourage others to post
 standards has no legitimate weight. Other courts can appraise other actors and their
 activities and contexts.


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 can exist if standards are only incorporated in part, and Public Resource reproduced

 only that part; and (3) whether Public Resource’s posting harms the market for

 updates.

        On issue (1), Plaintiffs’ reading rooms show that making outdated standards

 available does not destroy sales. Plaintiffs concede that reading rooms help them

 market other products. Plaintiffs may sell incorporated standards along with other

 standards and related documents. Publishers of public domain works that are freely

 available on the Internet, such as legal texts, Shakespeare’s works, and the Bible,

 still sell them for profit.

        On (2), as explained above, Public Resource seeks to post only what is

 incorporated into law.

        As for (3), there is no likely harm to the market for new standards. Plaintiffs

 speculate that because updates may be similar to earlier versions, the public might

 choose to rely on Public Resource’s obsolete versions. Plaintiffs-Appellants’ Br. 46.

 There is no evidence that this occurs.

               4.     Plaintiffs Do Not Need Copyright Incentives.

        “Copyright should not grant anyone more economic power than is necessary

 to achieve the incentive to create.” Google, 141 S.Ct. at 1198. Accordingly, courts

 must focus on market effects that would “frustrate the purposes of copyright by




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 materially impairing [rightsholders’] incentive to publish the work.” Cambridge

 Univ. Press v. Patton, 769 F.3d 1232, 1276 (11th Cir. 2014).

       Here, “it is difficult to imagine an area of creative endeavor in which the

 copyright incentive is needed less.” Veeck, 293 F.3d at 806.

       Plaintiffs benefit when their standards become law. JA01083(Dkt-120-6 at

 12); JA01551-1552(Dkt-122-1 at 281-82); JA02137-2151(Dkt-122-4 at 30-45)

 (ASHRAE referring to its “EPAct advantage”). Each of the SDOs sells

 supplementary material, and in some cases training programs, touting special insight

 into laws and regulations that the standards constitute. NFPA’s marketing for an

 ancillary handbook urges “Be confident your work complies with California law”

 JA02953-2954(Dkt-124-5). Similarly, ASTM, selling training material, states

 “[k]nowledge of ASTM standards is important for complying with U.S. regulations

 and procurement requirements.” JA01961(Dkt-122-3 at 24). Plaintiffs charge

 membership dues and conference fees, market training programs and proficiency

 testing, and obtain government research grants, all of which are current sources of

 income for Plaintiffs. JA01021(Dkt-120-3 ¶29). Plaintiffs’ prediction of the end of

 privately developed standards is as overstated now as it was decades ago in Veeck.

 Other standards organizations function effectively without enforcing copyright in

 standards incorporated into law. Id.




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       Moreover, Plaintiffs and the volunteers who draft standards presumably

 believe their standards are an important contribution, as do the industries to which

 they apply. Plaintiffs claim to promote public safety, energy efficiency and other

 public interests. Plaintiffs-Appellants’ Br. 5–8. The members who actually develop

 the standards have the same motives, and those who do the drafting get no royalties.

 In some cases, they may also be motivated by concern for their own business

 interests, professional interest in garnering recognition or experience, or their role as

 government officials and in service of the public interest. JA01021, JA01037-

 1038(Dkt-120-3 ¶¶28, 136).

       Given these incentives, the public policy favoring unrestricted access to the

 subset of standards incorporated by reference into law does not conflict with the

 public policy favoring the development of technical standards. Everyone has ample

 motivation to continue that work.

              5.     Public Resource’s Benefits Outweigh Any Harm.
       Public Resource simply helps the public—from judges to journalists to

 researchers and ordinary citizens—better access and share the rules that govern us

 and help keep us safe.

       This Court recognized that “reproducing the relevant text of a technical

 standard incorporated by reference for purposes of informing the public about the

 law obviously has great value.” ASTM II, 896 F.3d at 451. Were it not for Public



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 Resource, a California tenant seeking to understand whether her landlord is violating

 electricity regulations would have limited options: (1) pay $271 for a print copy of

 the California Electrical Code; (2) find a library with a copy, limiting her ability to

 highlight relevant sections or refer back to it later; or (3) create an NFPA user

 account and access it in an online reading room that will not allow her to search for,

 bookmark, or copy and paste relevant selections. As noted above, courts have

 experienced the value of Public Resource firsthand. Bellwether, 87 N.E.3d at 467-

 69 (Ind. 2017).

       Public Resource’s contributions go beyond making incorporated standards

 available; it also makes them more usable for researchers, journalists, and ordinary

 citizens, especially those who are print disabled. Supra Part II.A.2.d.

       The public benefits of Public Resource’s project are “comparatively

 important” when compared with the absence of meaningful market harm to

 Plaintiffs. Google, 141 S.Ct. at 1206. And Plaintiffs’ desire to suppress availability

 of laws by incorporation is not a traditional or reasonable market interest. As Former

 Archivist of the United States David Ferriero wrote, “Our Founding Fathers believed

 that an informed and involved citizenry was key to our democracy and Public

 Resource helps us make[] this true.” JA07206(Dkt-204-4 ¶22).

       All four factors favor fair use.




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 III.   THE DISTRICT COURT CORRECTLY DECLINED TO ENJOIN
        POSTING OF THE REMANING STANDARDS.
        The district court’s denial of injunctive relief is reviewed for abuse of

 discretion. Guedes v. Bureau of Alcohol, Tobacco, Firearms and Explosives, 920

 F.3d 1, 10 (D.C. Cir. 2019). Factual findings underlying the denial are reviewed for

 clear error. Id.; Nichia Corp. v. Everlight Ams., Inc., 855 F.3d 1328, 1344 (Fed. Cir.

 2017).

        The district court correctly denied a permanent injunction as to the 32

 standards that the district court found not clearly incorporated.14

        In exercising its discretion, a court must apply “traditional equitable

 considerations,” and may not presume “that an injunction automatically follows” a

 finding of infringement. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 392–93

 (2006). Moreover, it must “pay particular regard for the public consequences in

 employing the extraordinary remedy of injunction.” Winter v. Nat. Res. Def.

 Council, Inc., 555 U.S. 7, 24, (2008) (citation omitted). A plaintiff’s failure to satisfy

 any of the four injunction factors is grounds for denial. Morgan Drexen Inc. v.

 CFPB, 785 F.3d 684, 694 (D.C. Cir. 2015). Plaintiffs did not meet this test.




         See Plaintiffs-Appellants’ Br. 1 (second issue on appeal relates to 32 of the
        14

 works at issue).


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       A.     Plaintiffs Have Not Proved Ownership.
       It is Plaintiffs’ burden to prove copyright ownership. Plaintiffs ever-evolving

 theory on this point—asserting “work made for hire” authorship, then ownership by

 assignments, then finally joint authorship with thousands of volunteers (including

 federal employees) is difficult to credit. Plaintiffs’ migrating justifications and

 federal government involvement calls their ownership claim into question and

 weighs against an injunction.

       B.     Irreparable Injury Will Not Occur.

       Plaintiffs have not suffered any meaningful injury, let alone an irreparable

 one. eBay, 547 U.S. at 391.

       First, the record over years of litigation demonstrates that Public Resource’s

 activities have not caused any measurable economic harm. JA07171-7176(Dkt-203-

 2 ¶¶133-165). Plaintiffs continue to sell copies of the 32 standards at issue, as well

 as hundreds of non-incorporated standards and ancillary products and services.

 JA07165, JA07183 (Dkt-203-2 ¶¶94, 195). The district court acted within its

 discretion to discount Plaintiffs’ speculation that the lack of an injunction could force

 them to change their business model. Plaintiffs-Appellants’ Br. 49-50; see Apple,

 Inc. v. Samsung Elecs. Co., 678 F.3d 1314, 1324-25 (Fed. Cir. 2012).

       Second, Plaintiffs have not shown they face any meaningful risk of future

 economic harm relating to the 32 standards. Plaintiffs repeatedly condition their




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 argument for future harm on Public Resource’s “conduct go[ing] unchecked.”

 Plaintiffs-Appellants’ Br. 50, 51. But, as the district court found, “the updated record

 reflects [Public Resource’s] intention to only post documents that have been

 incorporated into law.” Mem. Op. at 45. That is why Public Resource voluntarily

 took down the 32 standards.15 Where a plaintiff “failed to show any threat of

 continuing violations,” there is no irreparable harm. Berry v. Dillon, 291 F. App’x

 792, 795 (9th Cir. 2008); Antioch Co. v. Scrapbook Borders, Inc., 291 F. Supp. 2d

 980, 997–98 (D. Minn. 2003) (collecting cases). Voluntary compliance with the

 court’s decision also weighs against an injunction, as the district court found. See

 Boisson v. Banian Ltd., 280 F. Supp. 2d 10, 19 (E.D.N.Y. 2003).

       Third, Plaintiffs’ claim of “harm to the exclusivity of their rights” is irrelevant

 under eBay, which reversed a holding that the “statutory right to exclude alone

 justifies [a] general rule in favor of permanent injunctive relief.” 547 U.S. at 392;

 see also TD Bank N.A. v. Hill, 928 F.3d 259, 280 (3d Cir. 2019) (“[T]he right to not

 use the copyright” does not justify a presumption of irreparable harm.).




       15
          Plaintiffs’ assertion that Public Resource “has indicated that it has no
 intention of stopping its conduct absent intervention from a court” is misleading,
 because their citations to the record refer only to Public Resource’s posting of
 standards incorporated by reference. See JA05117(Dkt-199-2 ¶110)(referencing
 Public Resource’s posting of the 2017 National Electrical Code after it was
 incorporated). It is undisputed that Public Resource has no intention of posting
 standards that are not incorporated by reference.


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           Finally, “reputational injury” is not a copyright interest. See Garcia v. Google,

 Inc., 786 F.3d 733, 744 (9th Cir. 2015) (en banc). The single case Plaintiffs cite on

 this, Groupe SEB USA, Inc. v. Euro-Pro Operating LLC, 774 F.3d 192, 198 (3d Cir.

 2014), was a trademark case. Any trademark injury was addressed by the district

 court’s ruling on Plaintiffs’ trademark claims. The district court found, as this Court

 did, that the disclaimers Public Resource included on the cover of every standard

 “adequately eliminate the possibility a consumer would assume sponsorship or

 endorsement by ASTM.” ASTM III, 2022 WL 971735, at **21, JA09307 (Dkt-239

 at 43).

           C.    The Balance of Hardships and the Public Interest Weigh Against
                 an Injunction.
           The district court’s decision serves the public interest. Government agencies

 regularly incorporate newer versions of standards into their regulations. See, e.g.,

 JA07240(Dkt-204-42, at 13) (describing process for updating California Electrical

 Code). If Public Resource were permanently enjoined from posting the 32 standards,

 later incorporation would force Public Resource to seek a modification of the

 injunction or leave a gap in its archive of legal materials. The district court’s order

 allows Public Resource to continue updating its archive as the agencies do their

 work.

           At the same time, affirming the district court’s denial of an injunction

 regarding the 32 standards will not harm Plaintiffs’ ability to promote additional


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 standards, as described above. The district court’s fair use analysis takes into account

 the public’s interest in maintaining the copyright incentive and Plaintiffs’

 partnerships with government.

                                    CONCLUSION

       For the foregoing reasons, the Court should affirm the district court’s

 judgment.

  Dated:       February 3, 2023          Respectfully submitted,
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                          CERTIFICATE OF SERVICE

       I certify that on February 3, 2023, I electronically filed the foregoing FINAL

 BRIEF OF APPELLEE PUBLIC.RESOURCE.ORG, INC. with the United States

 Court of Appeals for the District of Columbia Circuit through the Court’s CM/ECF

 system, which will serve all counsel who are registered CM/ECF users. I certify that

 all counsel in this case are registered CM/ECF users.

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                                       Attorneys for Appellee
                                       Public.Resource.Org, Inc.




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§ 51.1 Policy., 1 C.F.R. § 51.1




   KeyCite citing references available

  Code of Federal Regulations
    Title 1. General Provisions
      Chapter II. Office of the Federal Register
         Part 51. Incorporation by Reference. (Refs & Annos)
                                                  1 C.F.R. § 51.1

                                                       § 51.1 Policy.

                                                             Currentness




(a) Section 552(a) of title 5, United States Code, provides, in part, that “matter reasonably available to the class of persons
affected thereby is deemed published in the Federal Register when incorporated by reference therein with the approval of the
Director of the Federal Register.”



(b) The Director will interpret and apply the language of section 552(a) together with other requirements which govern
publication in the Federal Register and the Code of Federal Regulations. Those requirements which govern publication
include—



     (1) The Federal Register Act (44 U.S.C. 1501 et seq.)



     (2) The Administrative Procedure Act (5 U.S.C. 551 et seq.);



     (3) The regulations of the Administrative Committee of the Federal Register under the Federal Register Act (1 CFR Ch.
     I); and



     (4) The acts which require publication in the Federal Register (See CFR volume entitled “CFR Index and Finding
     Aids.”)



(c) The Director will assume in carrying out the responsibilities for incorporation by reference that incorporation by
reference—



     (1) Is intended to benefit both the Federal Government and the members of the class affected; and

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§ 51.1 Policy., 1 C.F.R. § 51.1




     (2) Is not intended to detract from the legal or practical attributes of the system established by the Federal Register Act,
     the Administrative Procedure Act, the regulations of the Administrative Committee of the Federal Register, and the acts
     which require publication in the Federal Register.



(d) The Director will carry out the responsibilities by applying the standards of part 51 fairly and uniformly.



(e) Publication in the Federal Register of a document containing an incorporation by reference does not of itself constitute an
approval of the incorporation by reference by the Director.



(f) Incorporation by reference of a publication is limited to the edition of the publication that is approved. Future amendments
or revisions of the publication are not included.



SOURCE: 47 FR 34108, Aug. 6, 1982, unless otherwise noted.



AUTHORITY: 5 U.S.C. 552(a).


Notes of Decisions (2)



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                                                         1 C.F.R. § 51.3

                                     § 51.3 When will the Director approve a publication?

                                                   Effective: January 6, 2015
                                                          Currentness


(a)(1) The Director will informally approve the proposed incorporation by reference of a publication when the preamble of a
proposed rule meets the requirements of this part (See § 51.5(a)).


     (2) If the preamble of a proposed rule does not meet the requirements of this part, the Director will return the document
     to the agency (See 1 CFR 2.4).


(b) The Director will formally approve the incorporation by reference of a publication in a final rule when the following
requirements are met:


     (1) The publication is eligible for incorporation by reference (See § 51.7).


     (2) The preamble meets the requirements of this part (See § 51.5(b)(2)).


     (3) The language of incorporation meets the requirements of this part (See § 51.9).


     (4) The publication is on file with the Office of the Federal Register.


     (5) The Director has received a written request from the agency to approve the incorporation by reference of the publication.


(c) The Director will notify the agency of the approval or disapproval of an incorporation by reference in a final rule within 20
working days after the agency has met all the requirements for requesting approvals (See § 51.5).


Credits
[79 FR 66278, Nov. 7, 2014]


SOURCE: 47 FR 34108, Aug. 6, 1982, unless otherwise noted.




                                                ADD-003
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AUTHORITY: 5 U.S.C. 552(a).


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  Code of Federal Regulations
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                                                          1 C.F.R. § 51.5

                                          § 51.5 How does an agency request approval?

                                                    Effective: January 6, 2015
                                                           Currentness


(a) For a proposed rule, the agency does not request formal approval but must:


     (1) Discuss, in the preamble of the proposed rule, the ways that the materials it proposes to incorporate by reference are
     reasonably available to interested parties or how it worked to make those materials reasonably available to interested
     parties; and


     (2) Summarize, in the preamble of the proposed rule, the material it proposes to incorporate by reference.


(b) For a final rule, the agency must request formal approval. The formal request package must:


     (1) Send a letter that contains a written request for approval at least 20 working days before the agency intends to submit
     the final rule document for publication;


     (2) Discuss, in the preamble of the final rule, the ways that the materials it incorporates by reference are reasonably available
     to interested parties and how interested parties can obtain the materials;


     (3) Summarize, in the preamble of the final rule, the material it incorporates by reference;


     (4) Send a copy of the final rule document that uses the proper language of incorporation with the written request (See
     § 51.9); and


     (5) Ensure that a copy of the incorporated material is on file at the Office of the Federal Register.


(c) Agencies may consult with the Office of the Federal Register at any time with respect to the requirements of this part.


Credits
[79 FR 66278, Nov. 7, 2014]




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AUTHORITY: 5 U.S.C. 552(a).


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  USCA Case #22-7063                     Document #1984604                     Filed: 02/03/2023              Page 92 of 174

§ 51.7 What publications are eligible?, 1 C.F.R. § 51.7




   KeyCite citing references available

  Code of Federal Regulations
    Title 1. General Provisions
      Chapter II. Office of the Federal Register
         Part 51. Incorporation by Reference. (Refs & Annos)
                                                  1 C.F.R. § 51.7

                                         § 51.7 What publications are eligible?
                                                    Effective: January 6, 2015
                                                              Currentness




(a) A publication is eligible for incorporation by reference under 5 U.S.C. 552(a) if it—



     (1) Conforms to the policy stated in § 51.1;




     (2)(i) Is published data, criteria, standards, specifications, techniques, illustrations, or similar material; and



     (ii) Does not detract from the usefulness of the Federal Register publication system; and



     (3) Is reasonably available to and usable by the class of persons affected. In determining whether a publication is usable,
     the Director will consider—



     (i) The completeness and ease of handling of the publication; and



     (ii) Whether it is bound, numbered, and organized, as applicable.



(b) The Director will assume that a publication produced by the same agency that is seeking its approval is inappropriate for
incorporation by reference. A publication produced by the agency may be approved, if, in the judgment of the Director, it
meets the requirements of paragraph (a) and possesses other unique or highly unusual qualities. A publication may be
approved if it cannot be printed using the Federal Register/Code of Federal Regulations printing system.


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§ 51.7 What publications are eligible?, 1 C.F.R. § 51.7




(c) The following materials are not appropriate for incorporation by reference:



     (1) Material published previously in the Federal Register.



     (2) Material published in the United States Code.



Credits

[79 FR 66278, Nov. 7, 2014]



SOURCE: 47 FR 34108, Aug. 6, 1982, unless otherwise noted.



AUTHORITY: 5 U.S.C. 552(a).


Notes of Decisions (4)



Current through Nov. 10, 2022, 87 FR 67833. Some sections may be more current. See credits for details.
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                                                         ADD-012
  USCA Case #22-7063                     Document #1984604                     Filed: 02/03/2023             Page 94 of 174

§ 51.9 What is the proper language of incorporation?, 1 C.F.R. § 51.9




   KeyCite citing references available

  Code of Federal Regulations
    Title 1. General Provisions
      Chapter II. Office of the Federal Register
         Part 51. Incorporation by Reference. (Refs & Annos)
                                                  1 C.F.R. § 51.9

                                  § 51.9 What is the proper language of incorporation?
                                                   Effective: January 6, 2015
                                                             Currentness




(a) The language incorporating a publication by reference must be precise, complete, and clearly state that the incorporation
by reference is intended and completed by the final rule document in which it appears.



(b) The language incorporating a publication by reference is precise and complete if it—



     (1) Uses the words “incorporated by reference;”



     (2) States the title, date, edition, author, publisher, and identification number of the publication;



     (3) Informs the user that the incorporated publication is a requirement;



     (4) Makes an official showing that the publication is in fact available by stating where and how copies may be examined
     and readily obtained with maximum convenience to the user; and



     (5) Refers to 5 U.S.C. 552(a).



(c) If the Director approves a publication for incorporation by reference in a final rule, the agency must include—



     (1) The following language under the DATES caption of the preamble to the final rule document (See 1 CFR 18.12

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                                                          ADD-013
  USCA Case #22-7063                Document #1984604                      Filed: 02/03/2023               Page 95 of 174

§ 51.9 What is the proper language of incorporation?, 1 C.F.R. § 51.9



    Preamble requirements):


    The incorporation by reference of certain publications listed in the regulations is approved by the Director of the Federal
    Register as of ____.



    (2) The preamble requirements set out in 51.5(b).



    (3) The term “incorporation by reference” in the list of index terms (See 1 CFR 18.20 Identification of subjects in
    agency regulations).



Credits

[79 FR 66278, Nov. 7, 2014]



SOURCE: 47 FR 34108, Aug. 6, 1982, unless otherwise noted.



AUTHORITY: 5 U.S.C. 552(a).


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                                                        ADD-014
§ 51.11 How does an agency change or remove an approved..., 1 C.F.R. § 51.11
  USCA Case #22-7063                Document #1984604                      Filed: 02/03/2023               Page 96 of 174



  Code of Federal Regulations
    Title 1. General Provisions
      Chapter II. Office of the Federal Register
         Part 51. Incorporation by Reference. (Refs & Annos)

                                                      1 C.F.R. § 51.11

                         § 51.11 How does an agency change or remove an approved incorporation?

                                                         Currentness


(a) An agency that seeks approval for a change to a publication that is approved for incorporation by reference must—


    (1) Publish notice of the change in the Federal Register and amend the Code of Federal Regulations;


    (2) Ensure that a copy of the amendment or revision is on file at the Office of the Federal Register; and


    (3) Notify the Director of the Federal Register in writing that the change is being made.


(b) If a regulation containing an incorporation by reference fails to become effective or is removed from the Code of Federal
Regulations, the agency must notify the Director of the Federal Register in writing of that fact within 5 working days of the
occurrence.


SOURCE: 47 FR 34108, Aug. 6, 1982, unless otherwise noted.


AUTHORITY: 5 U.S.C. 552(a).


Current through Nov. 10, 2022, 87 FR 67833. Some sections may be more current. See credits for details.

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                                                ADD-015
               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                                 1
§ 102. Subject matter of copyright: In general, 17 USCA § 102
  USCA Case #22-7063                  Document #1984604                      Filed: 02/03/2023            Page 97 of 174



  United States Code Annotated
    Title 17. Copyrights (Refs & Annos)
       Chapter 1. Subject Matter and Scope of Copyright (Refs & Annos)

                                                       17 U.S.C.A. § 102

                                         § 102. Subject matter of copyright: In general

                                                          Currentness


(a) Copyright protection subsists, in accordance with this title, in original works of authorship fixed in any tangible medium of
expression, now known or later developed, from which they can be perceived, reproduced, or otherwise communicated, either
directly or with the aid of a machine or device. Works of authorship include the following categories:


  (1) literary works;


  (2) musical works, including any accompanying words;


  (3) dramatic works, including any accompanying music;


  (4) pantomimes and choreographic works;


  (5) pictorial, graphic, and sculptural works;


  (6) motion pictures and other audiovisual works;


  (7) sound recordings; and


  (8) architectural works.


(b) In no case does copyright protection for an original work of authorship extend to any idea, procedure, process, system,
method of operation, concept, principle, or discovery, regardless of the form in which it is described, explained, illustrated, or
embodied in such work.


                                                           CREDIT(S)

  (Pub.L. 94-553, Title I, § 101, Oct. 19, 1976, 90 Stat. 2544; Pub.L. 101-650, Title VII, § 703, Dec. 1, 1990, 104 Stat. 5133.)


17 U.S.C.A. § 102, 17 USCA § 102
Current through P.L. 117-214. Some statute sections may be more current, see credits for details.


                                                ADD-016
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§ 102. Subject matter of copyright: In general, 17 USCA § 102
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                                          ADD-017
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§ 105. Subject matter of copyright: United States Government works, 17 USCA § 105




   KeyCite Yellow Flag - Negative Treatment
Proposed Legislation

  United States Code Annotated
   Title 17. Copyrights (Refs & Annos)
      Chapter 1. Subject Matter and Scope of Copyright (Refs & Annos)
                                               17 U.S.C.A. § 105

                    § 105. Subject matter of copyright: United States Government works
                                               Effective: December 20, 2019
                                                            Currentness




(a) In general.--Copyright protection under this title is not available for any work of the United States Government, but the
United States Government is not precluded from receiving and holding copyrights transferred to it by assignment, bequest, or
otherwise.



(b) Copyright protection of certain of1 works.--Subject to subsection (c),2 the covered author of a covered work owns the
copyright to that covered work.



(c)2 Use by Federal Government.--The Secretary of Defense may direct the covered author of a covered work to provide the
Federal Government with an irrevocable, royalty-free, world-wide, nonexclusive license to reproduce, distribute, perform, or
display such covered work for purposes of the United States Government.



(c)2 Definitions.--In this section:



  (1) The term “covered author” means a civilian member of the faculty of a covered institution.



  (2) The term “covered institution” means the following:



     (A) National Defense University.



     (B) United States Military Academy.


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§ 105. Subject matter of copyright: United States Government works, 17 USCA § 105




    (C) Army War College.



    (D) United States Army Command and General Staff College.



    (E) United States Naval Academy.



    (F) Naval War College.



    (G) Naval Post Graduate School.



    (H) Marine Corps University.



    (I) United States Air Force Academy.



    (J) Air University.



    (K) Defense Language Institute.



    (L) United States Coast Guard Academy.



  (3) The term “covered work” means a literary work produced by a covered author in the course of employment at a
  covered institution for publication by a scholarly press or journal.



                                                        CREDIT(S)


(Pub.L. 94-553, Title I, § 101, Oct. 19, 1976, 90 Stat. 2546; Pub.L. 116-92, Div. A, Title V, § 544, Dec. 20, 2019, 133 Stat.
1376.)


Notes of Decisions (11)


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                                                       ADD-019
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§ 105. Subject matter of copyright: United States Government works, 17 USCA § 105




Footnotes
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17 U.S.C.A. § 105, 17 USCA § 105
Current through P.L. 117-214. Some statute sections may be more current, see credits for details.
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                                                        ADD-020
§ 106. Exclusive rights in copyrighted works, 17 USCA § 106
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     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation



  United States Code Annotated
    Title 17. Copyrights (Refs & Annos)
       Chapter 1. Subject Matter and Scope of Copyright (Refs & Annos)

                                                            17 U.S.C.A. § 106

                                                § 106. Exclusive rights in copyrighted works

                                                       Effective: November 2, 2002
                                                                Currentness


Subject to sections 107 through 122, the owner of copyright under this title has the exclusive rights to do and to authorize any
of the following:


  (1) to reproduce the copyrighted work in copies or phonorecords;


  (2) to prepare derivative works based upon the copyrighted work;


  (3) to distribute copies or phonorecords of the copyrighted work to the public by sale or other transfer of ownership, or by
  rental, lease, or lending;


  (4) in the case of literary, musical, dramatic, and choreographic works, pantomimes, and motion pictures and other audiovisual
  works, to perform the copyrighted work publicly;


  (5) in the case of literary, musical, dramatic, and choreographic works, pantomimes, and pictorial, graphic, or sculptural
  works, including the individual images of a motion picture or other audiovisual work, to display the copyrighted work
  publicly; and


  (6) in the case of sound recordings, to perform the copyrighted work publicly by means of a digital audio transmission.


                                                                CREDIT(S)

   (Pub.L. 94-553, Title I, § 101, Oct. 19, 1976, 90 Stat. 2546; Pub.L. 101-318, § 3(d), July 3, 1990, 104 Stat. 288; Pub.L.
101-650, Title VII, § 704(b)(2), Dec. 1, 1990, 104 Stat. 5134; Pub.L. 104-39, § 2, Nov. 1, 1995, 109 Stat. 336; Pub.L. 106-44,
§ 1(g)(2), Aug. 5, 1999, 113 Stat. 222; Pub.L. 107-273, Div. C, Title III, § 13210(4)(A), Nov. 2, 2002, 116 Stat. 1909.)


17 U.S.C.A. § 106, 17 USCA § 106
Current through P.L. 117-214. Some statute sections may be more current, see credits for details.



                                                  ADD-021
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§ 106. Exclusive rights in copyrighted works, 17 USCA § 106
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                                          ADD-022
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§ 107. Limitations on exclusive rights: Fair use, 17 USCA § 107




   KeyCite citing references available

  United States Code Annotated
   Title 17. Copyrights (Refs & Annos)
      Chapter 1. Subject Matter and Scope of Copyright (Refs & Annos)
                                               17 U.S.C.A. § 107

                                         § 107. Limitations on exclusive rights: Fair use

                                                             Currentness




Notwithstanding the provisions of sections 106 and 106A, the fair use of a copyrighted work, including such use by
reproduction in copies or phonorecords or by any other means specified by that section, for purposes such as criticism,
comment, news reporting, teaching (including multiple copies for classroom use), scholarship, or research, is not an
infringement of copyright. In determining whether the use made of a work in any particular case is a fair use the factors to be
considered shall include--



  (1) the purpose and character of the use, including whether such use is of a commercial nature or is for nonprofit
  educational purposes;



  (2) the nature of the copyrighted work;



  (3) the amount and substantiality of the portion used in relation to the copyrighted work as a whole; and



  (4) the effect of the use upon the potential market for or value of the copyrighted work.


The fact that a work is unpublished shall not itself bar a finding of fair use if such finding is made upon consideration of all
the above factors.



                                                           CREDIT(S)


(Pub.L. 94-553, Title I, § 101, Oct. 19, 1976, 90 Stat. 2546; Pub.L. 101-650, Title VI, § 607, Dec. 1, 1990, 104 Stat. 5132;
Pub.L. 102-492, Oct. 24, 1992, 106 Stat. 3145.)


Notes of Decisions (926)


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 USCA Case #22-7063                 Document #1984604                     Filed: 02/03/2023               Page 105 of 174

§ 107. Limitations on exclusive rights: Fair use, 17 USCA § 107



17 U.S.C.A. § 107, 17 USCA § 107
Current through P.L. 117-214. Some statute sections may be more current, see credits for details.
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                                                        ADD-024
 USCA Case #22-7063                      Document #1984604                 Filed: 02/03/2023           Page 106 of 174

§ 121. Limitations on exclusive rights: Reproduction for blind or..., 17 USCA § 121




   KeyCite citing references available

  United States Code Annotated
   Title 17. Copyrights (Refs & Annos)
      Chapter 1. Subject Matter and Scope of Copyright (Refs & Annos)
                                               17 U.S.C.A. § 121

          § 121. Limitations on exclusive rights: Reproduction for blind or other people with
                                               disabilities
                                                 Effective: October 9, 2018
                                                           Currentness




(a) Notwithstanding the provisions of section 106, it is not an infringement of copyright for an authorized entity to reproduce
or to distribute in the United States copies or phonorecords of a previously published literary work or of a previously
published musical work that has been fixed in the form of text or notation if such copies or phonorecords are reproduced or
distributed in accessible formats exclusively for use by eligible persons.




(b)(1) Copies or phonorecords to which this section applies shall--



  (A) not be reproduced or distributed in the United States in a format other than an accessible format exclusively for use by
  eligible persons;



  (B) bear a notice that any further reproduction or distribution in a format other than an accessible format is an
  infringement; and



  (C) include a copyright notice identifying the copyright owner and the date of the original publication.



(2) The provisions of this subsection shall not apply to standardized, secure, or norm-referenced tests and related testing
material, or to computer programs, except the portions thereof that are in conventional human language (including
descriptions of pictorial works) and displayed to users in the ordinary course of using the computer programs.



(c) Notwithstanding the provisions of section 106, it is not an infringement of copyright for a publisher of print instructional
materials for use in elementary or secondary schools to create and distribute to the National Instructional Materials Access
Center copies of the electronic files described in sections 612(a)(23)(C), 613(a)(6), and section 674(e) of the Individuals with

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§ 121. Limitations on exclusive rights: Reproduction for blind or..., 17 USCA § 121



Disabilities Education Act that contain the contents of print instructional materials using the National Instructional Material
Accessibility Standard (as defined in section 674(e)(3) of that Act), if--



  (1) the inclusion of the contents of such print instructional materials is required by any State educational agency or local
  educational agency;



  (2) the publisher had the right to publish such print instructional materials in print formats; and



  (3) such copies are used solely for reproduction or distribution of the contents of such print instructional materials in
  accessible formats.



(d) For purposes of this section, the term--



  (1) “accessible format” means an alternative manner or form that gives an eligible person access to the work when the
  copy or phonorecord in the accessible format is used exclusively by the eligible person to permit him or her to have access
  as feasibly and comfortably as a person without such disability as described in paragraph (3);



  (2) “authorized entity” means a nonprofit organization or a governmental agency that has a primary mission to provide
  specialized services relating to training, education, or adaptive reading or information access needs of blind or other
  persons with disabilities;



  (3) “eligible person” means an individual who, regardless of any other disability--



     (A) is blind;



     (B) has a visual impairment or perceptual or reading disability that cannot be improved to give visual function
     substantially equivalent to that of a person who has no such impairment or disability and so is unable to read printed
     works to substantially the same degree as a person without an impairment or disability; or



     (C) is otherwise unable, through physical disability, to hold or manipulate a book or to focus or move the eyes to the
     extent that would be normally acceptable for reading; and



  (4) “print instructional materials” has the meaning given under section 674(e)(3)(C) of the Individuals with Disabilities
  Education Act.

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§ 121. Limitations on exclusive rights: Reproduction for blind or..., 17 USCA § 121




                                                        CREDIT(S)


(Added Pub.L. 104-197, Title III, § 316(a), Sept. 16, 1996, 110 Stat. 2416; amended Pub.L. 106-379, § 3(b), Oct. 27, 2000,
114 Stat. 1445; Pub.L. 107-273, Div. C, Title III, § 13210(3)(A), Nov. 2, 2002, 116 Stat. 1909; Pub.L. 108-446, Title III, §
306, Dec. 3, 2004, 118 Stat. 2807; Pub.L. 115-261, § 2(a)(1), Oct. 9, 2018, 132 Stat. 3667.)


Notes of Decisions (1)




17 U.S.C.A. § 121, 17 USCA § 121
Current through P.L. 117-214. Some statute sections may be more current, see credits for details.
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§ 3280.4 Incorporation by reference., 24 C.F.R. § 3280.4




   KeyCite Yellow Flag - Negative Treatment
Proposed Regulation

  Code of Federal Regulations
    Title 24. Housing and Urban Development
      Subtitle B. Regulations Relating to Housing and Urban Development
         Chapter XX. Office of Assistant Secretary for Housing—Federal Housing Commissioner, Department of
         Housing and Urban Development
           Part 3280. Manufactured Home Construction and Safety Standards (Refs & Annos)
              Subpart A. General

                                                        24 C.F.R. § 3280.4

                                              § 3280.4 Incorporation by reference.
                                                      Effective: July 12, 2021
                                                             Currentness




(a) The specifications, standards, and codes of the following organizations are incorporated by reference in 24 CFR part 3280
(this Standard) pursuant to 5 U.S.C. 552(a) and 1 CFR part 51 as though set forth in full. The incorporation by reference of
these standards has been approved by the Director of the Federal Register. If a later edition is to be enforced, the Department
will publish a notification of change in the Federal Register. These incorporated standards are available for purchase from the
organization that developed the standard at the corresponding addresses noted below. Incorporated standards are available for
inspection at the Office of Manufactured Housing Program, Manufactured Housing and Construction Standards Division,
U.S. Department of Housing and Urban Development, 451 Seventh Street SW, Room B–133, Washington, DC 20410, email
mhs@hud.gov. Copies of incorporated standards that are not available from their producer organizations may be obtained
from the Office of Manufactured Housing Programs. These standards are also available for inspection at the National
Archives and Records Administration (NARA). For information on the availability of this material at NARA, email
fedreg.legal@nara.gov or go to www.archives.gov/federal-register/cfr/ibr-locations.html.



(b) Air Conditioning & Refrigeration Institute (ARI), 4100 North Fairfax Drive, Suite 200, Arlington, VA 22203, telephone
number 703–524–8800, fax number 703–528–3816, Web site: http://www.lightindustries.com/ARI/.



     (1) ANSI/ARI Standard 210/240–89, Unitary Air–Conditioning and Air–Source Heat Pump Equipment, IBR approved
     for §§ 3280.511(b), 3280.703, and 3280.714(a),



     (2) [Reserved]



(c) Aluminum Association (AA), 1525 Wilson Blvd., Suite 600, Arlington, VA 22209; telephone number 703–358–2960, fax
number 703–358–3921; Web site: http://www.aluminum.org.
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§ 3280.4 Incorporation by reference., 24 C.F.R. § 3280.4




    (1) Aluminum Design Manual, Specifications and Guidelines for Aluminum Structures, Part 1–A, Sixth Edition,
    October 1994, IBR approved for § 3280.304(b).



    (2) Aluminum Design Manual, Specifications and Guidelines for Aluminum Structures, Part 1–B, First Edition, October
    1994, IBR approved for § 3280.304(b).



(d) American Architectural Manufacturers Association (AAMA), 1827 Walden Office Square, Suite 550, Schaumburg, IL
60173, telephone number 847–303–5664, fax number 847–303–5774, Web site: http://www.aamanet.org.



    (1) AAMA 1503.1–88, Voluntary Test Method for Thermal Transmittance and Condensation Resistance of Windows,
    Doors, and Glazed Wall Sections, IBR approved for § 3280.508(e).



    (2) AAMA 1600/I.S.7–00, Voluntary Specification for Skylights, 2003 IBR approved for § 3280.305(c).



    (3) AAMA 1701.2–95, Voluntary Standard Primary Window and Sliding Glass Door for Utilization in Manufactured
    Housing, IBR approved for §§ 3280.403(e) and 3280.404(b).



    (4) AAMA 1702.2–95, Voluntary Standard Swinging Exterior Passage Door for Utilization in Manufactured Housing,
    IBR approved for § 3280.405(b) and (e).



    (5) AAMA Standard 1704–1985, Voluntary Standard Egress Window Systems for Utilization in Manufactured Housing,
    IBR approved for § 3280.404(b).



    (6) AAMA/WDMA/CSA/101/I.S.2/A440–08 North American Fenestration Standard/Specification for Windows, Doors
    and Skylights, January 2008, IBR approved for § 3280.403(b) and (e).



    (7) ANSI/AAMA/NWWDA 101/I.S.2–97,Voluntary Specifications for Aluminum, Vinyl (PVC) and Wood Windows
    and Glass Doors, IBR approved for § 3280.304(b).



(e) American Forest and Paper Association (AFPA), 1111 Nineteenth Street, Suite 800, Washington, DC 20036 (previously
named National Forest Products Association (NFPA), telephone number 1–800–878–8878, Web site:
http://www.afandpa.org.


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§ 3280.4 Incorporation by reference., 24 C.F.R. § 3280.4




    (1) AFPA, Design Values for Joists and Rafters 1992, IBR approved for § 3280.304(b).



    (2) AFPA PS–20–70, Span Tables for Joists and Rafters, 1993, IBR approved for § 3280.304(b).



    (3) ANSI/AFPA NDS–2001, National Design Specifications for Wood Construction, 2001 Edition, with Supplement,
    Design Values for Wood Construction, November 30, 2001, IBR approved for § 3280.304(b).



    (4) AFPA, Wood Structural Design Data, 1986 Edition with 1992 Revisions, IBR approved for § 3280.304(b).



(f) American Gas Association (AGA), 400 North Capitol Street NW., Washington, DC 20001, telephone number
202–824–7000, Web site: http://www.aga.org/Pages/default.aspx.



    (1) AGA No. 3–87, Requirements for Gas Connectors for Connection of Fixed Appliances for Outdoor Installation, Park
    Trailers, and Manufactured (Mobile) Homes to the Gas Supply, IBR approved for § 3280.703.



    (2) [Reserved]



(g) American Hardboard Association (AHA), 1210 West NW Highway, Palatine, IL 60067, Web site: http://hardboard.org.



    (1) ANSI/AHA A135.4–1995, Basic Hardboard, IBR approved for § 3280.304(b).



    (2) ANSI/AHA A135.5–1995, Prefinished Hardboard Paneling, IBR approved for § 3280.304(b).



    (3) ANSI/AHA A135.6–1998, Hardboard Siding, IBR approved for § 3280.304(b).



(h) American Institute of Steel Construction (AISC), One East Wacker Drive, Chicago, IL 60601, telephone number
312–670–2400, fax number 312–670–5403, Web site: http://www.aisc.org/.



    (1) AISC–S335, 1989. Specification for Structural Steel Buildings—Allowable Stress Design and Plastic Design (except
    for the following parts of this standard which are not incorporated by reference: 1.3.3, 1.3.4, 1.3.5, 1.3.6, 1.4.6, 1.5.1.5,

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    1.5.5, 1.6, 1.7, 1.8, 1.9, 1.10.4 through 1.10.7, 1.10.9, 1.11, 1.13, 1.14.5, 1.17.7 through 1.17.9, 1.19.1, 1.19.3, 1.20,
    1.21, 1.23.7, 1.24, 1.25.1 through 1.25.5, 1.26.4, 2.3, 2.4, 2.8 through 2.10), June 1, 1989, IBR approved for §§
    3280.304(b) and 3280.305(j).



    (2) [Reserved]



(i) American Iron and Steel Institute (AISI), 25 Massachusetts Ave., NW., Suite 800, Washington, DC 20001, telephone
number 202–452–7100, Web site: http://www.steel.org.



    (1) AISI, Specification for the Design of Cold–Formed Steel Structural Members, 1996, IBR approved for §§
    3280.304(b) and 3280.305(j).



    (2) [Reserved]



(j) American National Standards Institute (ANSI), 25 West 43rd Street, 4th floor, New York, NY 10018, telephone number
212–642–4900, fax number 212–398–0023, Web site: http://www.ansi.org.



    (1) ANSI A112.14.1–1975, Backflow Valves, IBR approved for § 3280.604(b).



    (2) ANSI A112.19.5–1979, Trim for Water Closet, Bowls, Tanks, and Urinals, IBR approved for § 3280.604(b).



    (3) ANSI/AITC A190.1–1992, For wood products—Structural Glued Laminated Timber, IBR approved for §
    3280.304(b).



    (4) ANSI A208.1–1999, Particleboard, IBR approved for § 3280.304(b).



    (5) ANSI A208.2–2002, Medium Density Fiberboard (MDF) For Interior Applications, approved May 13, 2002, IBR
    approved for § 3280.304(b).



    (6) ANSI B16.18–1984, Cast Copper Alloy Solder–Joint Pressure Fittings, IBR approved for § 3280.604(b).



    (7) ANSI C72.1–1972, section 4.3.1, Household Automatic Electric Storage Type Water Heaters, IBR approved for §

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    3280.707(d).



    (8) ANSI/IAS LC 1–1997, Fuel Gas Piping Systems Using Corrugated Stainless Steel Tubing (CSST), approved
    October 28, 1996, IBR approved for § 3280.705(b).



    (9) ANSI Z21.1–2000, Household Cooking Gas Appliances, IBR approved for § 3280.703.



    (10) ANSI Z21.5.1–1999, Gas Clothes Dryers Volume 1, Type 1 Clothes Dryers, with Addendum Z21.5.1a–1999, IBR
    approved for § 3280.703.



    (11) ANSI Z21.10.1–1998, Gas Water Heaters—Volume 1, Storage Water Heaters with Input Ratings of 75,000 BTU
    per hour or Less, with Addendum Z21.10.1a–2000, IBR approved for §§ 3280.703 and 3280.707(d).



    (12) ANSI Z21.15–1997, Manually Operated Gas Valves for Appliances, Appliance Connector Valves and Hose End
    Valves, IBR approved for §§ 3280.703 and 3280.705(c).



    (13) ANSI Z21.19–1990, with Addendum ANSI Z21.19a–1992 and Z21.19b–1995, Refrigerators Using Gas Fuel, IBR
    approved for § 3280.703.



    (14) ANSI Z21.20 with Addendum Z21.20a–2000, Automatic Gas Ignition Systems and Components, IBR approved for
    § 3280.703.



    (15) ANSI Z21.21–2000, Automatic Valves for Gas Appliances, IBR approved for § 3280.703.



    (16) ANSI Z21.22–1999, Relief Valves for Hot Water Supply Systems, IBR approved for §§ 3280.604(b) and 3280.703.



    (17) ANSI Z21.23–1993, Gas Appliance Thermostats, approved August 10, 1993, IBR approved for § 3280.703.



    (18) ANSI Z21.24–1997/CGA 6.10–M97, Connectors for Gas Appliances, IBR approved for § 3280.703.



    (19) ANSI Z21.40.1–1996/CGA 2.91–M96, Gas–Fired, Heat Activated Air Conditioning and Heat Pump Appliances,
    IBR approved for §§ 3280.703 and 3280.714(a).

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    (20) ANSI Z21.47–1990 with Addendum Z21.47a–1990 and Z21.47b–1992, Gas–Fired Central Furnaces (Except Direct
    Vent System Central Furnaces), IBR approved for § 3280.703.



    (21) ANSI Z34.1–1993, Third–Party Certification Programs for Products, Processes, and Services, IBR approved for §§
    3280.403(e) and 3280.405(e).



    (22) ANSI Z97.1–2004, Standard for Safety Glazing Materials used in Buildings—Safety Performance Specifications
    and Methods of Test, copyright 2004, IBR approved for §§ 3280.113(c), 3280.304(b), 3280.403(d)(1), 3280.604(b), and
    3280.607(b).



    (23) ANSI Z124.1–1987, Plastic Bathtub Units with Addendum Z124.1a–1990 and Z124.1b–1991, IBR approved for §
    3280.604(b).



    (24) ANSI Z124.2–1987, Plastic Shower Receptors and Shower Stalls with Addendum Z124.2a–1990, IBR approved for
    § 3280.604(b).



    (25) ANSI Z124.3–1986, Plastic Lavatories with Addendum Z124.3a–1990, IBR approved for § 3280.604(b).



    (26) ANSI Z124.4–1986, Plastic Water Closets, Bowls, and Tanks with Addenda Z124.4a–1990, IBR approved for §
    3280.604(b).



    (27) ANSI Z124.5–1997, Plastic Toilet (Water Closets) Seats, IBR approved for § 3280.604(b).



    (28) ANSI Z124.7–1997, Prefabricated Plastic Spa Shells, IBR approved for § 3280.604(b).



    (29) ANSI Z–124.9–1994, Plastic Urinal Fixtures, IBR approved for § 3280.604(b).



(k) The Engineered Wood Association (APA) (formerly the American Plywood Association), 7011 South 19th Street,
Tacoma, WA 98411, telephone number 253–565–6600, fax number 253–565–7265, Web site: http://www.apawood.org.



    (1) APA D410A–2004, Panel Design Specification, IBR approved for § 3280.304(b).

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    (2) APA E30P–1996, APA Design/Construction Guide, Residential and Commercial Structures, IBR approved for §
    3280.304(b).



    (3) APA E30R, Engineered Wood Construction Guide, revised January 2001, IBR approved for § 3280.304(b).



    (4) APA H815E–1995 (PDS Supplement #5), Design and Fabrication of All–Plywood Beams, IBR approved for §
    3280.304(b).



    (5) APA S 811M–1990 (PDS Supplement 1), Design and Fabrication of Plywood Curved Panels, IBR approved for §
    3280.304(b).



    (6) APA S 812R, Design and Fabrication of Glued Plywood–Lumber Beams, revised November 1998, Supplement #2,
    July 1992 IBR approved for § 3280.304.



    (7) APA U 813L, Design and Fabrication of Plywood Stressed–Skin Panels, revised April 1996, Supplement # 3,
    August 1992, IBR approved for § 3280.304(b).



    (8) APA U 814H, Design and Fabrication of Plywood, Sandwiched Panels, revised September 1993, Supplement #4,
    March 1990, IBR approved for § 3280.304(b).



(l) American Society of Civil Engineers (ASCE), 1801 Alexander Bell Drive, Reston, VA 20191, telephone number
800–548–2723, Web site: http://www.asce.org.



    (1) ANSI/ASCE 7–88, Minimum Design Loads for Buildings and Other Structures, IBR approved for §§ 3280.5(f),
    3280.304(b), and 3280.305(c).



    (2) SEI/ASCE 8–02, Specification for the Design of Cold–Formed Stainless Steel Structural Members, 2002, IBR
    approved for §§ 3280.304(b) and 3280.305(j).



    (3) ASCE 19–96, Structural Applications of Steel Cables for Buildings, IBR approved for § 3280.304(b).




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(m) American Society of Heating, Refrigeration and Air Conditioning Engineers (ASHRAE), 1791 Tullie Circle NE.,
Atlanta, GA 30329, telephone number 404–636–8400, fax number 404–321–5478, Web site: https://www.ashrae.org/home/.



    (1) 1997 ASHRAE Handbook of Fundamentals, Inch–Pound Edition (1997), chapters 22 through 27, (except for the
    following parts of this standard that are not incorporated by reference: 23.1 Steel Frame Construction; 23.2 Masonry
    Construction; 23.3 Foundations and Floor Systems; 23.15 Pipes; 23.17 Tanks, Vessels, and Equipment; 23.18
    Refrigerated Rooms and Buildings; 24.18 Mechanical and Industrial Systems; 25.19 Commercial Building Envelope
    Leakage; 27.9 Calculation of Heat Loss from Crawl Spaces). IBR approved for §§ 3280.508(a), 3280.508(e), and
    3280.511(a).



    (2) ANSI/ASHRAE 62.2–2010, Ventilation and Acceptable Indoor Air Quality in Low–Rise Residential Buildings,
    copyright 2010 IBR approved for § 3280.103(d).



(n) ASME (formally the American Society of Mechanical Engineers), Two Park Avenue, New York, NY 10016–5990,
telephone number 800–843–2763, Web site: http://www.asme.org/.



    (1) ASME A112.1.2–1991, Air Gaps in Plumbing Systems, IBR approved for § 3280.604(b).



    (2) ANSI/ASME A112.4.1–1993, Water Heater Relief Valve Drain Tubes, IBR approved for § 3280.604(b).



    (3) ANSI/ASME A112.4.3–1999, Plastic Fittings for Connecting Water Closets to the Sanitary Drainage System, IBR
    approved for § 3280.604(b).



    (4) ASME/ANSI A112.18.1M–1989, Plumbing Fixture Fittings, IBR approved for § 3280.604(b).



    (5) ASME A112.18.3M–1996, Performance Requirements for Backflow Protection Devices and Systems in Plumbing
    Fixture Fittings, IBR approved for § 3280.604(b).



    (6) ASME A112.18.6–1999, Flexible Water Connectors, IBR approved for § 3280.604(b).



    (7) ASME A112.18.7–1999, Deck Mounted Bath/Shower Transfer Valves with Integral Backflow Protection, IBR
    approved for § 3280.604(b).



    (8) ANSI/ASME A112.19.1M–1987, Enameled Cast Iron Plumbing Fixtures, IBR approved for § 3280.604(b).

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    (9) ANSI/ASME A112.19.2(M)–1990, Vitreous China Plumbing Fixtures, IBR approved for § 3280.604(b).



    (10) ANSI/ASME A112.19.3M–1987, Stainless Steel Plumbing Fixtures (Designed for Residential Use), IBR approved
    for § 3280.604(b).



    (11) ANSI/ASME A112.19.4(M)–1984, Porcelain Enameled Formed Steel Plumbing Fixtures, IBR approved for §
    3280.604(b).



    (12) ASME A112.19.6–1995, Hydraulic Performance Requirements for Water Closets and Urinals, IBR approved for §
    3280.604(b).



    (13) ASME/ANSI A112.19.7M–1987, Whirlpool Bathtub Appliances, IBR approved for § 3280.604(b).



    (14) ASME/ANSI A112.19.8M–1989, Suction Fittings for Use in Swimming Pools, Wading Pools, Spas, Hot Tubs, and
    Whirlpool Bathtub Appliances, IBR approved for § 3280.604(b).



    (15) ASME A112.19.9M–1991, Non–Vitreous Ceramic Plumbing Fixtures, IBR approved for § 3280.604(b).



    (16) ASME A112.19.10–1994, Dual Flush Devices for Water Closets, IBR approved for § 3280.604(b).



    (17) ANSI/ASME A112.21.3M–1985, Hydrants for Utility and Maintenance Use, IBR approved for § 3280.604(b).



    (18) ANSI/ASME B1.20.1–1983, Pipe Threads, General Purpose (Inch), IBR approved for §§ 3280.604(b), 3280.703,
    3280.705(e), and 3280.706(d).



    (19) ANSI/ASME B16.3–1992, Malleable Iron Threaded Fittings, IBR approved for § 3280.604(b).



    (20) ANSI/ASME B16.4–1992, Gray Iron Threaded Fittings, IBR approved for § 3280.604(b).




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    (21) ANSI/ASME B16.15–1985, Cast Bronze Threaded Fittings, Classes 125 and 250, IBR approved for § 3280.604(b).



    (22) ASME/ANSI B16.22–1989, Wrought–Copper and Copper Alloy Solder–Joint Pressure Fitting, IBR approved for §
    3280.604(b).



    (23) ASME B16.23–1992, Cast Copper Alloy Solder–Joint Drainage Fittings–DWV, IBR approved for § 3280.604(b).



    (24) ASME/ANSI B16.26–1988, Cast Copper Alloy Fittings for Flared Copper Tubes, IBR approved for § 3280.604(b).



    (25) ASME/ANSI B16.29–1986, Wrought Copper and Wrought Copper Alloy Solder–Joint Drainage Fittings–DWV,
    IBR approved for § 3280.604(b).



    (26) ANSI/ASME B36.10–1979, Welding and Seamless Wrought Steel Pipe, IBR approved for §§ 3280.604(b),
    3280.703, 3280.705(b), and 3280.706(b).



(o) American Society of Sanitary Engineering (ASSE), 901 Canterbury, Suite A, Westlake, OH 44145, phone number
440–835–3040, fax number 440–835–3488, Web site: http://www.asse-plumbing.org.



    (1) ASSE 1001 (ANSI Approved 1990), Performance Requirements for Pipe Applied Atmospheric Type Vacuum
    Breakers, IBR approved for § 3280.604(b).



    (2) ASSE 1002 Revision 5–1986 (ANSI/ASSE–1979), Performance Requirements for Water Closet Flush Tank Fill
    Valves (Ballcocks), IBR approved for § 3280.604(b).



    (3) ASSE 1006 (ASSE/ANSI–1986), Plumbing Requirements for Residential Use (Household) Dishwashers, IBR
    approved for § 3280.604(b).



    (4) ASSE 1007–1986, Performance Requirements for Home Laundry Equipment, IBR approved for § 3280.604(b).



    (5) ASSE 1008–1986, Performance Requirements for Household Food Waste Disposer Units, IBR approved for §
    3280.604(b).




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    (6) ASSE 1011–1981 (ANSI–1982), Performance Requirements for Hose Connection Vacuum Breakers, IBR approved
    for § 3280.604(b).



    (7) ASSE 1014–1989 (ANSI–1990), Performance Requirements for Hand-held Showers, IBR approved for §
    3280.604(b).



    (8) ASSE 1016–2005, Performance Requirements for Automatic Compensating Values for Individual Shower and
    Tub/Shower Combinations, approved January 2005, IBR approved for §§ 3280.604(b) and 3280.607(b).



    (9) ASSE 1017–1986, Performance Requirements for Temperature Activated Mixing Valves for Primary Domestic Use,
    IBR approved for § 3280.604(b).



    (10) ANSI/ASSE 1019–1978, Performance Requirements for Wall Hydrants, Frost Proof Automatic Draining,
    Anti–Backflow Types, IBR approved for § 3280.604(b).



    (11) ASSE 1023 (ANSI/ASSE–1979), Performance Requirements for Hot Water Dispensers, Household Storage Type
    Electrical, IBR approved for § 3280.604(b).



    (12) ASSE 1025 (ANSI/ASSE–1978), Performance Requirements for Diverters for Plumbing Faucets with Hose Spray,
    Anti–Siphon Type, Residential Applications, IBR approved for § 3280.604(b).



    (13) ASSE 1037–1990 (ANSI–1990), Performance Requirements for Pressurized Flushing Devices (Flushometers) for
    Plumbing Fixtures, IBR approved for § 3280.604(b).



    (14) ASSE 1051 Revised 1996 (ANSI 1998), Performance Requirements for Air Admittance Valves for Plumbing
    Drainage Systems—Fixture and Branch Devices, IBR approved for § 3280.604(b).



    (15) ASSE 1070–2004, Performance Requirements for Water Temperature Limiting Devices, IBR approved for §§
    3280.604(b) and 3280.607(b).



(p) ASTM, International, 100 Barr Harbor Drive, West Conshohocken, PA 19428, (610) 832–9500, fax number
610–832–9555, Web site: http://www.astm.org.



    (1) ASTM A53–93. Standard Specification for Pipe, Steel, Black and Hot–Dipped, Zinc–Coated, Welded and Seamless,

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    IBR approved for §§ 3280.604(b) and 3280.703.



    (2) ASTM A74–92, Standard Specification for Cast Iron Soil Pipe and Fittings, IBR approved for § 3280.604(b).



    (3) ASTM A539–99, Standard Specification for Electric–Resistance–Welded Coiled Steel Tubing for Gas and Fuel Oil
    Lines, IBR approved for §§ 3280.703, 3280.705(b), and § 3280.706(b).



    (4) ASTM B42–93, Standard Specification for Seamless Copper Pipe, Standard Sizes, IBR approved for §§ 3280.604
    and 3280.703.



    (5) ASTM B43–91, Standard Specification for Seamless Red Brass Pipe, Standard Sizes, IBR approved for §§
    3280.604(b) and 3280.705(b).



    (6) ASTM B88–93, Standard Specification for Seamless Copper Water Tube, IBR approved for §§ 3280.604, 3280.703,
    3280.705(b), and 3280.706(b).



    (7) ASTM B251–93, Standard Specification for General Requirements for Wrought Seamless Copper and Copper–Alloy
    Tube, IBR approved for §§ 3280.604 and 3280.703.



    (8) ASTM B280–95a, Standard Specification for Seamless Copper Tube for Air Conditioning and Refrigeration Field
    Service, IBR approved for §§ 3280.703, 3280.705(b), and 3280.706(b).



    (9) ASTM B306–92, Standard Specification for Copper Drainage Tube (DWV), IBR approved for § 3280.604(b).



    (10) ASTM C 36/C 36M–99, Standard Specification for Gypsum Wallboard, 1999, IBR approved for § 3280.304.



    (11) ASTM C564–97, Standard Specification for Rubber Gaskets for Case Iron Soil Pipe and Fittings, approved
    December 10, 1997, IBR approved for §§ 3280.604(b) and 3280.611(d).



    (12) ASTM C920–02, Standard Specification for Elastomeric Joint Sealants, approved January 10, 2002, IBR approved
    for § 3280.611(d).




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    (13) ASTM D781–68 (Reapproved 1973), Standard Test Methods for Puncture and Stiffness of Paperboard, and
    Corrugated and Solid Fiberboard, IBR approved for §§ 3280.304(b), and 3280.305(g).



    (14) ASTM D2235–88, Standard Specification for Solvent Cement for Acrylonitrile–Butadiene–Styrene (ABS) Plastic
    Pipe and Fittings, IBR approved for § 3280.604(b).



    (15) ASTM D2564–91a, Standard Specification for Solvent Cements for Poly (Vinyl Chloride) (PVC) Plastic Piping
    Systems, IBR approved for § 3280.604(b).



    (16) ASTM D2661–91, Standard Specification for Acrylonitrile–Butadiene–Styrene (ABS) Schedule 40 Plastic Drain,
    Waste, and Vent Pipe and Fittings, IBR approved for § 3280.604(b).



    (17) ASTM D2665–91b, Standard Specification for Poly (Vinyl Chloride) (PVC) Plastic Drain, Waste, and Vent Pipe
    and Fittings, IBR approved for § 3280.604(b).



    (18) ASTM D2846–92, Standard Specification for Chlorinated Poly (Vinyl Chloride) (CPVC) Plastic Hot- and
    Cold–Water Distribution Systems, IBR approved for § 3280.604(b).



    (19) ASTM D3309–92a, Standard Specification for Polybutylene (PB) Plastic Hot- and Cold–Water Distribution
    Systems, IBR approved for § 3280.604(b).



    (20) ASTM D3311–92, Standard Specification for Drain, Waste, and Vent (DWV) Plastic Fittings Patterns, IBR
    approved for § 3280.604(b).



    (21) ASTM D3953–97, Standard Specification for Strapping, Flat Steel, and Seals, approved April 10, 1997, IBR
    approved for §§ 3280.306(b) and 3280.306(g).



    (22) ASTM D4442–92 (Reapproved 1997), Standard Test Methods for Direct Moisture Content Measurement of Wood
    and Wood–Base Materials, IBR approved for § 3280.304(b).



    (23) ASTM D4444–92, Standard Test Methods for Use and Calibration of Hand–Held Moisture Meters, IBR approved
    for § 3280.304(b).



    (24) ASTM D4635–01, Standard Specification for Polyethylene Films Made from Low–Density Polyethylene for

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    General Use and Packaging Applications, approved June 10, 2001, IBR approved for § 3280.611(d).



    (25) ASTM D6007–14, Standard Test Method for Determining Formaldehyde Concentrations in Air from Wood
    Products Using a Small Air Chamber, approved October 1, 2014; IBR approved for § 3280.406(b).



    (26) ASTM E84–01, Standard Test Method for Surface Burning Characteristics of Building Materials, 2001, IBR
    approved for § 3280.203(a).



    (27) ASTM E 119–05, Standard Test Methods for Fire Tests of Building Construction and Materials, approved
    September 15, 2005, IBR approved for § 3280.1003(a).



    (28) ASTM E 96–95 Standard Test Methods for Water Vapor Transmission of Materials, IBR approved for §
    3280.504(a).



    (29) ASTM E 162–94, Standard Test Method for Surface Flammability of Materials Using a Radiant Heat Energy
    Source, IBR approved for § 3280.203(a).



    (30) ASTM E 773–97, Standard Test Methods for Accelerated Weathering of Sealed Insulating Glass Units, IBR
    approved for § 3280.403(d).



    (31) ASTM E 774–97, Standard Specification for the Classification of the Durability of Sealed Insulating Glass Units,
    IBR approved for § 3280.403(d).



    (32) ASTM E1333–14, Standard Test Method for Determining Formaldehyde Concentrations in Air and Emission Rates
    from Wood Products Using a Large Air Chamber, approved October 1, 2014; IBR approved for § 3280.406(b).



    (33) ASTM F628–91, Standard Specification for Acrylonitrile–Butadiene–Styrene (ABS) Schedule 40, Plastic Drain,
    Waste, and Vent Pipe with a Cellular Core, IBR approved for § 3280.604(b).



    (34) ASTM F876–10, Standard Specification for Crosslinked Polyethylene (PEX) Tubing, approved February 10, 2010,
    IBR approved for § 3280.604(b).



    (35) ASTM F877–07, Standard Specification for Crosslinked Polyethylene (PEX) Plastic Hot- and Cold–Water
    Distribution Systems, approved February 1, 2007, IBR approved for § 3280.604(b).

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(q) Cast Iron Soil Pipe Institute (CISPI), 1064 Delaware Avenue SE, Atlanta, GA 30316, telephone number 404–622–0073,
fax number 404–973–2845, Web site: http://www.cispi.org/.



    (1) CISPI–301–90, Standard Specification for Hubless Cast Iron Soil Pipe and Fittings for Sanitary and Storm Drain,
    Waste, and Vent Piping Applications, IBR approved for § 3280.604(b).



    (2) CISPI–HSN–85, Specification for Neoprene Rubber Gaskets for HUB and Spigot Cast Iron Soil Pipe and Fittings,
    IBR approved for §§ 3280.604, 3280.611(d).



(r) FS—Federal Specifications, General Services Administration, Specifications Branch, Room 6039, GSA Building, 7th and
D Streets, SW., Washington, DC 20407.



    (1) FS WW–P–541E/GEN–1980, Plumbing Fixtures (General Specifications), IBR approved for § 3280.604(b).



    (2) FS ZZ–R–765B–1970, Silicone Rubber, (with 1971 Amendment), IBR approved for § 3280.611(d).



(s) HPVA (previously HPMA)—Hardwood Plywood and Veneer Association (HPVA) (previously named Hardwood
Plywood Manufacturers Association (HPMA), 1825 Michael Faraday Drive, Reston, VA 22090, telephone number
703–435–2900, fax number 703–435–2537, Web site: http://www.hpva.org/.



    (1) ANSI/HPVA HP–1–1994 (Approved 1995), American National Standard for Hardwood and Decorative Plywood,
    IBR approved for § 3280.304(b).



    (2) HP–SG–96, Structural Design Guide for Hardwood Plywood Wall Panels, revised 1996, IBR approved for §
    3280.304(b).



(t) HUD User, 11491 Sunset Hills Road, Reston, VA 20190–5254.



    (1) HUD User No. 0005945, Overall U–values and Heating/Cooling Loads—Manufactured Homes, February 1992. IBR
    approved for § 3280.508(b).




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    (2) [Reserved]



(u) IIT Research Institute (IITRI), 10 West 35th Street, Chicago, IL 60616, telephone number 312–567–4000, Web site:
http://www.iitri.org/.



    (1) IITRI Fire and Safety Research Project J–6461 “Development of Mobile Home Fire Test Methods to Judge the
    Fire–Safe Performance of Foam Plastic Sheathing and Cavity Insulation”, 1979, IBR approved for § 3280.207(a).



    (2) [Reserved]



(v) International Association of Plumbing and Mechanical Officials (IAPMO), 4755 East Philadelphia Street, Ontario, CA
91716, telephone number 909–472–4100, fax number 909–472–4150, Web site: http://www.iapmo.org.



    (1) IAPMO PS 2–89, Material and Property Standard for Cast Brass and Tubing P–Traps, IBR approved for §
    3280.604(b).



    (2) IAPMO PS 4–90, Material and Property Standard for Drains for Prefabricated and Precast Showers, IBR approved
    for § 3280.604(b).



    (3) IAPMO PS 5–84, Material and Property Standard for Special Cast Iron Fittings, IBR approved for § 3280.604(b).



    (4) IAPMO PS 9–84, Material and Property Standard for Diversion Tees and Twin Waste Elbow, IBR approved for §
    3280.604(b).



    (5) IAPMO PS 14–89, Material and Property Standard for Flexible Metallic Water Connectors, IBR approved for §
    3280.604(b).



    (6) IAPMO PS 23–89, Material and Property Standard for Dishwasher Drain Airgaps, IBR approved for § 3280.604(b).



    (7) IAPMO PS 31–91, Material and Property Standards for Backflow Prevention Assemblies, IBR approved for §
    3280.604(b).




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    (8) IAPMO TSC 9–97, Standard for Gas Supply Connectors for Manufactured Homes, IBR approved for § 3280.703.



    (9) IAPMO TSC 22–85, Standard for Porcelain Enameled Formed Steel Plumbing Fixtures, IBR approved for §
    3280.604(b).



(w) Military Specifications and Standards, Naval Publications and Forms Center (MIL), 5801 Tabor Avenue, Philadelphia,
PA 19120.



    (1) MIL–L–10547E–1975, Liners, Case, and Sheet, Overwrap; Water–Vapor Proof or Waterproof, Flexible, IBR
    approved for § 3280.611(d).



    (2) [Reserved]



(x) National Electrical Manufacturers Association (NEMA), 1300 North 17th Street, Suite 1752, Arlington, VA 22209,
telephone number 703–841–3200, fax number 703–841–5900, Web site: http://www.nema.org/Pages/default.aspx.



    (1) ANSI/NEMA WD–6–1997 Wiring Devices–Dimensional Specifications, IBR approved for § 3280.803(f).



    (2) [Reserved]



(y) International Code Council Evaluation Service (NER), (previously known as National Evaluation Service), 5360
Workman Mill Road, Whittier, CA 90601–0543, telephone number 1–800–423–6587, ext. 66546, fax number
562–695–4694, Web site: http://www.icc-es.org.



    (1) NER–272, National Evaluation Report, Power Driven Staples, Nails, and Allied Fasteners for Use in All Types of
    Building Construction, Reissued September 1, 1997, IBR approved for § 3280.304(b).



    (2) [Reserved]



(z) National Fenestration Rating Council (NFRC), 6305 Ivy Lane, Suite 140, Greenbelt, MD 20770, telephone number
301–589–1776, fax number 301–589–3884, Web site: http://www.nfrc.org.




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    (1) NFRC 100, Procedure for Determining Fenestration Product U–factors, 1997 Edition, IBR approved for §
    3280.508(e).



    (2) [Reserved]



(aa) National Fire Protection Association (NFPA), 1 Batterymarch Park, Quincy, MA 02269, phone number 617–770–3000,
fax number 617–770–0700, Web site: http://www.nfpa.org.



    (1) NFPA 31, Standard for the Installation of Oil Burning Equipment, 2001, IBR approved for §§ 3280.703 and
    3280.707(f).



    (2) NFPA 54–2002, National Fuel Gas Code, IBR approved for § 3280.703.



    (3) NFPA 58, Liquefied Petroleum Gas Code, 2001 Edition, IBR approved for §§ 3280.703 and 3280.704(b).



    (4) NFPA No. 70–2005, National Electrical Code, IBR approved as follows:



    (i) Article 110.22, IBR approved for §§ 3280.803(k) and 3280.804(k).



    (ii) Article 210.12(A) and (B), IBR approved for § 3280.801(b).



    (iii) Article 220.61, IBR approved for § 3280.811(b).



    (iv) Article 230, IBR approved for §§ 3280.803(k) and 3280.804(k).



    (v) Article 250.24, IBR approved for §§ 3280.803(k) and 3280.804(k).



    (vi) Article 250.26, IBR approved for §§ 3280.803(k) and 3280.804(k).



    (vii) Article 250.28, IBR approved for §§ 3280.803(k) and 3280.804(k).

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    (viii) Article 312.2(A), IBR approved for §§ 3280.803(k) and 3280.804(k).


    (x)1 Table 314.16(A), IBR approved for §§ 3280.808(m) and 3280.808(q).


    (ix)1 Article 314.23(B), IBR approved for §§ 3280.808(m) and 3280.808(q).



    (xi) Article 406.3, IBR approved for § 3280.807(d).



    (xii) Article 410.4(D), IBR approved for § 3280.805(a).



    (xiii) Article 440, IBR approved for § 3280.805(a).



    (xiv) Article 440.65, IBR approved for § 3280.801(b).



    (xv) Part II of Article 550, IBR approved for §§ 3280.801(a) and 3280.801(b).



    (xvi) Article 550.17, IBR approved for § 3280.810(b).



    (xvii) Article 550.25(a), IBR approved for § 3280.801(b).



    (xviii) Article 680.70, IBR approved for §§ 3280.607(c) and 3280.801(a).



    (xix) Article 680.71, IBR approved for §§ 3280.607(c) and 3280.801(a).



    (xx) Articles 680.72, IBR approved for §§ 3280.607(c) and 3280.801(a).



    (5) NFPA 90B, Warm Air Heating and Air Conditioning Systems, 1996 Edition, IBR approved for § 3280.703.



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    (6) NFPA 220, Standard on Types of Building Construction, Chapter 2: definitions of “limited combustible” and
    “noncombustible material”, 1995 Edition, IBR approved for § 3280.202.



    (7) NFPA 253, Standard Method of Test for Critical Radiant Flux of Floor Covering Systems Using a Radiant Heat
    Energy Source, 2000, IBR approved for § 3280.207(c).



    (8) NFPA 255, Standard Method of Test of Surface Burning Characteristics of Building Materials, 1996, IBR approved
    for §§ 3280.203(a) and 3280.207(a).



    (9) NFPA 720, Standard for Installation of Carbon Monoxide (CO) Detection and Warning Equipment, 2015 Edition,
    Copyright 2014, IBR approved for § 3280.211(b).



(bb) U.S. Department of Commerce, National Institute of Standards and Technology (NIST), Office of Engineering
Standards, Room A–166, Technical Building, Washington, DC 20234 and Voluntary Product Division, 100 Bureau Drive,
Stop 2100, Gaithersburg, MD 20899–2100, telephone number 301- 975–4000, fax number 301–975–4715, Web site:
http://www.nist.gov.



    (1) PS 1–95, Construction and Industrial Plywood (With Typical APA Trademarks), IBR approved for § 3280.304(b).



    (2) Voluntary Product Standard PS 2–04, Performance Standard for Wood–Based Structural–Use Panels, December
    2004, IBR approval for § 3280.304(b).



(cc) National Sanitation Foundation (NSF), 789 North Dixboro Road, Ann Arbor, MI 48105, telephone number
734–769–8010, fax number 734–769–0109, Web site: http://www.nsf.org.



    (1) ANSI/NSF 14–1990, Plastic Piping Components and Related Materials, IBR approved for § 3280.604(b).



    (2) ANSI/NSF 24–1988, Plumbing System Components for Manufactured Homes and Recreational Vehicles, IBR
    approved for § 3280.604(b).



    (3) ANSI/NSF 61–2001, Drinking Water System Components–Health Effects, IBR approved for § 3280.604(b).



(dd) Resources, Applications, Designs, & Controls (RADCO), 3220 East 59th Street, Long Beach, CA 90805, telephone
number 562–272–7231, fax number 562–529–7513, Web site: http://www.radcoinc.com.

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    (1) RADCO DS–010–91, Decorative Gas Appliances for Installation in Solid Fuel Burning Fireplaces, May 1991, IBR
    approved for § 3280.703.



    (2) [Reserved]



(ee) Society of Automotive Engineers (SAE), 400 Commonwealth Drive, Warrendale, PA 15096, telephone number
724–776–0790, Web site: http://www.sae.org/.



    (1) SAE–J533b–1992, Flares for Tubing, IBR approved for §§ 3280.703 and 3280.705(f).



    (2) [Reserved]



(ff) Steel Joist Institute (SJI), 234 West Cheves Street, Florence, SC 29501, telephone number 843–407–4091, Web site:
http://steeljoist.org.



    (1) Standard Specifications Load Tables and Weight Tables for Steel Joists and Joist Girders, SJI 1994, Fortieth Edition,
    IBR approved for § 3280.304(b).



    (2) [Reserved]



(gg) Truss Plate Institute (TPI), 218 North Lee Street, Suite 312, Alexandria, VA 22314, telephone number 703–683–1010,
fax number 866–501–4012, Web site: http://www.tpinst.org/index.html.



    (1) TPI–85, Design Specifications for Metal Plate and Wood Connected Trusses, IBR approved for § 3280.304(b).



    (2) [Reserved]



(hh) Underwriters’ Laboratories, Inc. (UL), 333 Pfingsten Road, Northbrook, IL 60062, telephone number 847–272–8800,
fax number 847–509–6257, Web site: http://www.ul.com.



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    (1) UL 94–1996, with 2001 revisions, Test for Flammability of Plastic Materials for Parts in Devices and Appliances,
    Fifth Edition, IBR approved for § 3280.715(e).



    (2) UL 103–1995, with 1999 revisions, Factory–Built Chimneys for Residential Type and Building Heating Appliances,
    Ninth Edition, IBR approved for § 3280.703.



    (3) UL 109–1997, with 2001 revisions, Tube Fittings for Flammable and Combustible Fluids, Refrigeration Service, and
    Marine Use, Sixth Edition, IBR approved for § 3280.703.



    (4) UL 127–1996, with 1999 revisions, Factory–Built Fireplaces, Seventh Edition, IBR approved for § 3280.703.



    (5) UL 174–1996, with 1997 revisions, Household Electric Storage Tank Water Heaters, Tenth Edition, IBR approved
    for § 3280.703.



    (6) UL 181 Factory–Made Air Ducts and Air Connectors, Ninth Edition, April 4, 1996, with revisions through May 15,
    2003, IBR approved for §§ 3280.702, 3280.703 and 3280.715(a).



    (7) UL 181A, 1994, with 1998 revisions, Standard for Safety Closure Systems for use with Rigid Air Ducts and Air
    Connectors, Second Edition, IBR approved for §§ 3280.703 and 3280.715(c).



    (8) UL 181B, 1995, with 1998 revisions, Standard for Safety Closure Systems for use with Flexible Air Ducts and Air
    Connectors, First Edition, IBR approved for §§ 3280.703 and 3280.715(c).



    (9) UL 217, Single and Multiple Station Smoke Alarms, Fifth Edition, dated January 4, 1999, IBR approved for §§
    3280.208(a) and 3280.211(a).



    (10) UL 268, Smoke Detectors for Fire Protective Signaling Systems, Fourth Edition, dated January 4, 1999, IBR
    approved for § 3280.208(a).



    (11) UL 307A–1995, Liquid Fuel–Burning Heating Appliances for Manufactured Homes and Recreational Vehicles,
    Seventh Edition, with 1997 revisions, IBR approved for §§ 3280.703 and 3280.707(f).



    (12) UL 307B–1995, Gas Burning Heating Appliances for Manufactured Homes and Recreational Vehicles, Fourth
    Edition, with 1998 revisions, IBR approved for § 3280.703.

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    (13) UL 311, 1994, with 1998 revisions, Roof Jacks for Manufactured Homes and Recreational Vehicles, Eighth
    Edition, IBR approved for § 3280.703.



    (14) UL 441, 1996 with 1999 revisions, Gas Vents, Ninth Edition, IBR approved for § 3280.703.



    (15) UL 569, 1995 with 2001 revisions, Pigtails and Flexible Hose Connectors for LP–Gas, Seventh Edition, IBR
    approved for §§ 3280.703 and 3280.705(k).



    (16) UL 737, 1996, Fireplace Stoves, Eight Edition, with 2000 revisions, IBR approved for § 3280.703.



    (17) UL 923 Microwave Cooking Appliances, Fifth Edition, May 23, 2002, IBR approved for § 3280.204(c).



    (18) UL 1042–1994, Electric Baseboard Heating Equipment, Fourth Edition, with 1998 revisions, IBR approved for §
    3280.703.



    (19) UL 1096, 1986, Electric Central Air Heating Equipment, Fourth Edition with revisions July 16, 1986, and January
    30, 1988, IBR approved for § 3280.703.



    (20) UL 1482, 1996, with 2000 revisions, Solid–Fuel Type Room Heaters, Fifth Edition, IBR approved for § 3280.703.



    (21) UL 1995, 1995, Heating and Cooling Equipment, Second Edition, with 1999 revisions, IBR approved for §
    3280.703.



    (22) UL 2021–1997. Fixed and Location–Dedicated Electric Room Heaters, Second Edition, with 1998 revisions, IBR
    approved for § 3280.703.



    (23) ANSI/UL 2034–2016, Standard for Single and Multiple Station Carbon Monoxide Alarms, Third Edition, dated
    February 28, 2008 (including revisions through May 11, 2016), IBR approved for § 3280.211(a).



(ii) Underwriters’ Laboratories of Canada (ULC), 7 Underwriters Road, Toronto, Ontario, Canada M1 R 3A9, telephone
number 866–937–3852, fax number 416–757–8727, Web site: http://www.ul.com/canada/eng/pages/.

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§ 3280.4 Incorporation by reference., 24 C.F.R. § 3280.4




      (1) CAN/ULC S102.2–M88, Standard Method of Test for Surface Burning Characteristics of Floor Coverings and
      Miscellaneous Materials and Assemblies, Fourth Edition, April 1988, IBR approved for § 3280.207(b).



      (2) [Reserved]



(jj) Window and Door Manufacturers Association (WDMA) (Previously known as the National Wood Window and Door
Association, (NWWDA)), 2025 M Street, NW., Suite 800, Washington, DC 20036–3309, telephone number 202–367–1157,
Web site: https://www.wdma.com.



      (1) NWWDA I.S.4–81, Water Repellent Preservative Non–Pressure Treatment for Millwork, IBR approved for §
      3280.405(b).



      (2) [Reserved]



Credits

[40 FR 58752, Dec. 18, 1975, as amended at 42 FR 960, Jan. 4, 1977; 47 FR 28092, June 29, 1982; 47 FR 49385, Nov. 1,
1982; 52 FR 4580, Feb. 12, 1987; 52 FR 47553, Dec. 15, 1987; 53 FR 6601, March 2, 1988; 58 FR 55002, Oct. 25, 1993; 59
FR 2469, Jan. 14, 1994; 59 FR 15113, March 31, 1994; 70 FR 72042, Nov. 30, 2005; 78 FR 73976, Dec. 9, 2013; 79 FR
31863, June 3, 2014; 85 FR 5566, Jan. 31, 2020; 86 FR 2516, Jan. 12, 2021; 86 FR 13645, March 10, 2021]



SOURCE: 40 FR 58752, Dec. 18, 1975, unless otherwise noted. Redesignated at 44 FR 20679, Apr. 6, 1979; 58 FR 55002,
Oct. 25, 1993; 59 FR 2469, Jan. 14, 1994; 59 FR 15113, March 31, 1994; 61 FR 5216, Feb. 9, 1996; 85 FR 5565, Jan. 31,
2020, unless otherwise noted.



AUTHORITY: 15 U.S.C. 2697, 42 U.S.C. 3535(d), 5403, and 5424.


Current through Nov. 10, 2022, 87 FR 67833. Some sections may be more current. See credits for details.

Footnotes
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§ 668.146 Criteria for approving tests., 34 C.F.R. § 668.146




   KeyCite citing references available

  Code of Federal Regulations
    Title 34. Education
      Subtitle B. Regulations of the Offices of the Department of Education
         Chapter VI. Office of Postsecondary Education, Department of Education
           Part 668. Student Assistance General Provisions (Refs & Annos)
              Subpart J. Approval of Independently Administered Tests; Specification of Passing Score;
              Approval of State Process (Refs & Annos)
                                                 34 C.F.R. § 668.146

                                         § 668.146 Criteria for approving tests.
                                                      Effective: July 1, 2011
                                                              Currentness




(a) Except as provided in § 668.148, the Secretary approves a test under this subpart if—



     (1) The test meets the criteria set forth in paragraph (b) of this section;



     (2) The test publisher or the State satisfies the requirements set forth in paragraph (c) of this section; and



     (3) The Secretary makes a determination that the information the test publisher or State submitted in accordance with §
     668.144(c)(17) or (d)(8), as applicable, provides adequate assurance that the test publisher or State will conduct rigorous
     test anomaly analyses and take appropriate action if test administrators do not comply with testing procedures.



(b) To be approved under this subpart, a test must—



     (1) Assess secondary school level basic verbal and quantitative skills and general learned abilities;



     (2) Sample the major content domains of secondary school level verbal and quantitative skills with sufficient numbers of
     questions to—



     (i) Adequately represent each domain; and
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     (ii) Permit meaningful analyses of item-level performance by students who are representative of the contemporary
     population beyond the age of compulsory school attendance and have earned a high school diploma;



     (3) Require appropriate test-taking time to permit adequate sampling of the major content domains described in
     paragraph (b)(2) of this section;



     (4) Have all forms (including short forms) comparable in reliability;



     (5) Have, in the case of a test that is revised, new scales, scale values, and scores that are demonstrably comparable to
     the old scales, scale values, and scores;



     (6) Meet all standards for test construction provided in the 1999 edition of the Standards for Educational and
     Psychological Testing, prepared by a joint committee of the American Educational Research Association, the American
     Psychological Association, and the National Council on Measurement in Education incorporated by reference in this
     section. Incorporation by reference of this document has been approved by the Director of the Office of the Federal
     Register pursuant to the Director’s authority under 5 U.S.C. 552(a) and 1 CFR part 51. The incorporated document is on
     file at the Department of Education, Federal Student Aid, room 113E2, 830 First Street, NE., Washington, DC 20002,
     phone (202) 377–4026, and at the National Archives and Records Administration (NARA). For information on the
     availability     of      this     material      at      NARA,        call    1–866–272–6272,         or     go      to:
     http://www.archives.gov/federal_register/code_of_federal_regulations/ ibr_locations.html. The document also may be
     obtained from the American Educational Research Association at: http://www.aera.net; and



     (7) Have the test publisher’s or the State’s guidelines for retesting, including time between test-taking, be based on
     empirical analyses that are part of the studies of test reliability.



(c) In order for a test to be approved under this subpart, a test publisher or a State must—



     (1) Include in the test booklet or package—



     (i) Clear, specific, and complete instructions for test administration, including information for test takers on the purpose,
     timing, and scoring of the test; and



     (ii) Sample questions representative of the content and average difficulty of the test;



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    (2) Have two or more secure, equated, alternate forms of the test;



    (3) Except as provided in §§ 668.148 and 668.149, provide tables of distributions of test scores which clearly indicate
    the mean score and standard deviation for high school graduates who have taken the test within three years prior to the
    date that the test is submitted to the Secretary for approval under § 668.144;



    (4) Norm the test with—



    (i) Groups that are of sufficient size to produce defensible standard errors of the mean and are not disproportionately
    composed of any race or gender; and



    (ii) A contemporary sample that is representative of the population of persons who have earned a high school diploma in
    the United States; and



    (5) If test batteries include sub-tests assessing different verbal and/or quantitative skills, a distribution of test scores as
    described in paragraph (c)(3) of this section that allows the Secretary to prescribe either—



    (i) A passing score for each sub-test; or



    (ii) One composite passing score for verbal skills and one composite passing score for quantitative skills.



(Approved by the Office of Management and Budget under control number 1845–0049)



(Authority: 20 U.S.C. 1091(d))



SOURCE: 45 FR 86855, Dec. 31, 1980; 50 FR 26953, June 28, 1985; 51 FR 8948, March 14, 1986; 51 FR 29398, Aug. 15,
1986; 56 FR 61337, Dec. 2, 1991; 59 FR 21866, April 26, 1994; 59 FR 22318, 22418, April 29, 1994; 60 FR 61433, Nov. 29,
1995; 64 FR 57358, Oct. 22, 1999; 64 FR 58617, Oct. 29, 1999; 64 FR 59037, 59066, Nov. 1, 1999; 65 FR 38729, June 22,
2000; 65 FR 65637, 65674, Nov. 1, 2000; 68 FR 66615, Nov. 26, 2003; 73 FR 35492, June 23, 2008; 75 FR 66960, Oct. 29,
2010; 78 FR 48050, Aug. 7, 2013; 80 FR 67193, Oct. 30, 2015; 81 FR 76070, Nov. 1, 2016; 82 FR 31913, July 11, 2017; 84
FR 49909, Sept. 23, 2019; 87 FR 65490, Oct. 28, 2022; 87 FR 66039, Nov. 1, 2022, unless otherwise noted.



AUTHORITY: 20 U.S.C. 1001–1003, 1070g, 1085, 1088, 1091, 1092, 1094, 1099c, 1099c–1, and 1231a, unless otherwise
noted.; Section 668.14 also issued under 20 U.S.C. 1085, 1088, 1091, 1092, 1094, 1099a–3, 1099c, and 1141.; Section

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668.41 also issued under 20 U.S.C. 1092, 1094, 1099c.; Section 668.91 also issued under 20 U.S.C. 1082, 1094.; Section
668.171 also issued under 20 U.S.C. 1094 and 1099c and section 4 of Pub.L. 94–452, 92 Stat. 1101–1109.; Section 668.172
also issued under 20 U.S.C. 1094 and 1099c and section 4 of Pub.L. 94–452, 92 Stat. 1101–1109.; Section 668.175 also
issued under 20 U.S.C. 1094 and 1099c.


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§ 136.3, Intro Identification of test procedures., 40 C.F.R. § 136.3




   KeyCite citing references available

  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter D. Water Programs
           Part 136. Guidelines Establishing Test Procedures for the Analysis of Pollutants (Refs & Annos)
                                                40 C.F.R. § 136.3

                                         § 136.3, Intro Identification of test procedures.
                                                       Effective: June 18, 2012
                                                              Currentness




<This section is displayed as separate documents.>


<See 136.3, (a) to Table IA, Part 1>


<See 136.3, Table IB, Part 2.>


<See 136.3, Table IC, Part 3.>


<See 136.3, Table ID, Part 4.>


<See 136.3, Table IE, Part 5.>


<See 136.3, Table IF, Part 6.>


<See 136.3, Table IG, Part 7.>


<See 136.3, Table IH, Part 8.>


<See 136.3, (b) to end, Part 9.>



Credits

[38 FR 28758, Oct. 16, 1973, as amended at 41 FR 52781, Dec. 1, 1976, 42 FR 3306, Jan. 18, 1977; 42 FR 37205, July 20,

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§ 136.3, Intro Identification of test procedures., 40 C.F.R. § 136.3



1977; 49 FR 43251, 43258, 43259, Oct. 26, 1984; 50 FR 691, 692, 695, Jan. 4, 1985; 51 FR 23693, June 30, 1986; 52 FR
33543, Sept. 3, 1987; 55 FR 24534, June 15, 1990; 55 FR 33439, 33440, Aug. 15, 1990; 56 FR 43702, Sept. 4, 1991; 56 FR
50759, Oct. 8, 1991; 57 FR 41833, Sept. 11, 1992; 59 FR 4505, Jan. 31, 1994; 60 FR 17160, April 4, 1995; 60 FR 39588,
39590, Aug. 2, 1995; 60 FR 44672, Aug. 28, 1995; 60 FR 53542, Oct. 16, 1995; 62 FR 13833, March 24, 1997; 62 FR
48403, 48404, Sept. 15, 1997; 63 FR 44146, Aug. 18, 1998; 63 FR 50423, Sept. 21, 1998; 64 FR 4978, Feb. 2, 1999; 64 FR
26326, May 14, 1999; 64 FR 30433, 30434, June 8, 1999; 64 FR 73423, Dec. 30, 1999; 66 FR 3474, Jan. 16, 2001; 66 FR
26795, May 15, 2001; 66 FR 32776, June 18, 2001; 67 FR 65226, Oct. 23, 2002; 67 FR 65886, Oct. 29, 2002; 67 FR 69971,
Nov. 19, 2002; 68 FR 43278, July 21, 2003; 68 FR 54934, Sept. 19, 2003; 72 FR 11212, March 12, 2007; 72 FR 14224,
March 26, 2007; 82 FR 40846, Aug. 28, 2017; 86 FR 27237, May 19, 2021]



AUTHORITY: Secs. 301, 304(h), 307 and 501(a), Pub.L. 95–217, 91 Stat. 1566, et seq. (33 U.S.C. 1251, et seq.) (the
Federal Water Pollution Control Act Amendments of 1972 as amended by the Clean Water Act of 1977).


Current through Nov. 10, 2022, 87 FR 67833. Some sections may be more current. See credits for details.
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   KeyCite Yellow Flag - Negative Treatment
Proposed Regulation

  Code of Federal Regulations
    Title 49. Transportation
      Subtitle B. Other Regulations Relating to Transportation
         Chapter I. Pipeline and Hazardous Materials Safety Administration, Department of Transportation
         (Refs & Annos)
           Subchapter D. Pipeline Safety
              Part 192. Transportation of Natural and Other Gas by Pipeline: Minimum Federal Safety
              Standards (Refs & Annos)
                Subpart A. General

                                                          49 C.F.R. § 192.7

        § 192.7 What documents are incorporated by reference partly or wholly in this part?
                                              Effective: March 21, 2021 to May 23, 2023
                                                              Currentness




<Text of section effective until May 24, 2023.>



(a) Certain material is incorporated by reference into this part with the approval of the Director of the Federal Register under
5 U.S.C. 552(a) and 1 CFR part 51. The materials listed in this section have the full force of law. All approved material is
available for inspection at Office of Pipeline Safety, Pipeline and Hazardous Materials Safety Administration, 1200 New
Jersey Avenue SE, Washington, DC 20590, 202–366–4046 https://www.phmsa.dot.gov/pipeline/regs, and is available from
the sources listed in the remaining paragraphs of this section. It is also available for inspection at the National Archives and
Records Administration (NARA). For information on the availability of this material at NARA, email fedreg.legal@nara.gov
or go to www.archives.gov/federal-register/cfr/ibr-locations.html.



(b) American Petroleum Institute (API), 200 Massachusetts Ave. NW, Suite 1100, Washington, DC 20001, and phone:
202–682–8000, website: https://www.api.org/.



     (1) API Recommended Practice 5L1, “Recommended Practice for Railroad Transportation of Line Pipe,” 7th edition,
     September 2009, (API RP 5L1), IBR approved for § 192.65(a).



     (2) API Recommended Practice 5LT, “Recommended Practice for Truck Transportation of Line Pipe,” First edition,
     March 2012, (API RP 5LT), IBR approved for § 192.65(c).



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§ 192.7 What documents are incorporated by reference partly or..., 49 C.F.R. § 192.7



    (3) API Recommended Practice 5LW, “Recommended Practice for Transportation of Line Pipe on Barges and Marine
    Vessels,” 3rd edition, September 2009, (API RP 5LW), IBR approved for § 192.65(b).



    (4) API Recommended Practice 80, “Guidelines for the Definition of Onshore Gas Gathering Lines,” 1st edition, April
    2000, (API RP 80), IBR approved for § 192.8(a).



    (5) API Recommended Practice 1162, “Public Awareness Programs for Pipeline Operators,” 1st edition, December
    2003, (API RP 1162), IBR approved for § 192.616(a), (b), and (c).



    (6) API Recommended Practice 1165, “Recommended Practice for Pipeline SCADA Displays,” First edition, January
    2007, (API RP 1165), IBR approved for § 192.631(c).



    (7) API Specification 5L, “Specification for Line Pipe,” 45th edition, effective July 1, 2013, (API Spec 5L), IBR
    approved for §§ 192.55(e); 192.112(a), (b), (d), (e); 192.113; and Item I, Appendix B to Part 192.



    (8) ANSI/API Specification 6D, “Specification for Pipeline Valves,”23rd edition, effective October 1, 2008, including
    Errata 1 (June 2008), Errata2 (/November 2008), Errata 3 (February 2009), Errata 4 (April 2010), Errata 5 (November
    2010), Errata 6 (August 2011) Addendum 1 (October 2009), Addendum 2 (August 2011), and Addendum 3 (October
    2012), (ANSI/API Spec 6D), IBR approved for § 192.145(a).



    (9) API Standard 1104, “Welding of Pipelines and Related Facilities,” 20th edition, October 2005, including
    errata/addendum (July 2007) and errata 2 (2008), (API Std 1104), IBR approved for §§ 192.225(a); 192.227(a);
    192.229(b) and (c); 192.241(c); and Item II, Appendix B.



    (10) API Recommended Practice 1170, “Design and Operation of Solution-mined Salt Caverns Used for Natural Gas
    Storage,” First edition, July 2015 (API RP 1170), IBR approved for § 192.12.



    (11) API Recommended Practice 1171, “Functional Integrity of Natural Gas Storage in Depleted Hydrocarbon
    Reservoirs and Aquifer Reservoirs,” First edition, September 2015, (API RP 1171), IBR approved for § 192.12.



    (12) API STANDARD 1163, “In–Line Inspection Systems Qualification,” Second edition, April 2013, Reaffirmed
    August 2018, (API STD 1163), IBR approved for § 192.493.



(c) ASME International (ASME), Three Park Avenue, New York, NY 10016, 800–843–2763 (U.S./Canada),
http://www.asme.org/.


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§ 192.7 What documents are incorporated by reference partly or..., 49 C.F.R. § 192.7




    (1) ASME/ANSI B16.1–2005, “Gray Iron Pipe Flanges and Flanged Fittings: (Classes 25, 125, and 250),” August 31,
    2006, (ASME/ANSI B16.1), IBR approved for § 192.147(c).



    (2) ASME/ANSI B16.5–2003, “Pipe Flanges and Flanged Fittings,” October 2004, (ASME/ANSI B16.5), IBR approved
    for §§ 192.147(a), 192.279, and 192.607(f).



    (3) ASME B16.40–2008, “Manually Operated Thermoplastic Gas Shutoffs and Valves in Gas Distribution Systems,”
    March 18, 2008, approved by ANSI, (ASME B16.40–2008), IBR approved for Item I, Appendix B to Part 192.



    (4) ASME/ANSI B31G–1991 (Reaffirmed 2004), “Manual for Determining the Remaining Strength of Corroded
    Pipelines,” 2004, (ASME/ANSI B31G), IBR approved for §§ 192.485(c), 192.632(a), 192.712(b), and 192.933(a).



    (5) ASME/ANSI B31.8–2007, “Gas Transmission and Distribution Piping Systems,” November 30, 2007,
    (ASME/ANSI B31.8), IBR approved for §§ 192.112(b) and 192.619(a).



    (6) ASME/ANSI B31.8S–2004, “Supplement to B31.8 on Managing System Integrity of Gas Pipelines,” 2004,
    (ASME/ANSI B31.8S–2004), IBR approved for §§ 192.903 note to Potential impact radius; 192.907 introductory text,
    (b); 192.911 introductory text, (i), (k), (l), (m); 192.913(a), (b), (c); 192.917 (a), (b), (c), (d), (e); 192.921(a); 192.923(b);
    192.925(b); 192.927(b), (c); 192.929(b); 192.933(c), (d); 192.935 (a), (b); 192.937(c); 192.939(a); and 192.945(a).



    (7) [Reserved by 86 FR 2237; 86 FR 12834]



    (8) ASME Boiler & Pressure Vessel Code, Section VIII, Division 1 “Rules for Construction of Pressure Vessels,” 2007
    edition, July 1, 2007, (ASME BPVC, Section VIII, Division 1), IBR approved for §§ 192.153(a), (b), (d); and
    192.165(b).



    (9) ASME Boiler & Pressure Vessel Code, Section VIII, Division 2 “Alternate Rules, Rules for Construction of Pressure
    Vessels,” 2007 edition, July 1, 2007, (ASME BPVC, Section VIII, Division 2), IBR approved for §§ 192.153(b), (d);
    and 192.165(b).



    (10) ASME Boiler & Pressure Vessel Code, Section IX: “Qualification Standard for Welding and Brazing Procedures,
    Welders, Brazers, and Welding and Brazing Operators,” 2007 edition, July 1, 2007, ASME BPVC, Section IX, IBR
    approved for §§ 192.225(a); 192.227(a); and Item II, Appendix B to Part 192.




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(d) American Society for Nondestructive Testing (ASNT), P.O. Box 28518, 1711 Arlingate Lane, Columbus, OH 43228,
phone: 800–222–2768, website: https://www.asnt.org/.



    (1) ANSI/ASNT ILI–PQ–2005(2010), “In-line Inspection Personnel Qualification and Certification,” Reapproved
    October 11, 2010, (ANSI/ASNT ILI–PQ), IBR approved for § 192.493.



    (2) [Reserved]



(e) ASTM International (formerly American Society for Testing and Materials), 100 Barr Harbor Drive, PO Box C700, West
Conshohocken, PA 19428, phone: (610) 832–9585, website: http://astm.org.



    (1) ASTM A53/A53M–10, “Standard Specification for Pipe, Steel, Black and Hot–Dipped, Zinc–Coated, Welded and
    Seamless,” approved October 1, 2010, (ASTM A53/A53M), IBR approved for § 192.113; and Item II, Appendix B to
    Part 192.



    (2) ASTM A106/A106M–10, “Standard Specification for Seamless Carbon Steel Pipe for High–Temperature Service,”
    approved October 1, 2010, (ASTM A106/A106M), IBR approved for § 192.113; and Item I, Appendix B to Part 192.



    (3) ASTM A333/A333M–11, “Standard Specification for Seamless and Welded Steel Pipe for Low–Temperature
    Service,” approved April 1, 2011, (ASTM A333/A333M), IBR approved for § 192.113; and Item I, Appendix B to Part
    192.



    (4) ASTM A372/A372M–10, “Standard Specification for Carbon and Alloy Steel Forgings for Thin–Walled Pressure
    Vessels,” approved October 1, 2010, (ASTM A372/A372M), IBR approved for § 192.177(b).



    (5) ASTM A381–96 (reapproved 2005), “Standard Specification for Metal–Arc Welded Steel Pipe for Use with
    High–Pressure Transmission Systems,” approved October 1, 2005, (ASTM A381), IBR approved for § 192.113; and
    Item I, Appendix B to Part 192.



    (6) ASTM A578/A578M–96 (reapproved 2001), “Standard Specification for Straight–Beam Ultrasonic Examination of
    Plain and Clad Steel Plates for Special Applications,” (ASTM A578/A578M), IBR approved for § 192.112(c).



    (7) ASTM A671/A671M–10, “Standard Specification for Electric–Fusion–Welded Steel Pipe for Atmospheric and
    Lower Temperatures,” approved April 1, 2010, (ASTM A671/A671M), IBR approved for § 192.113; and Item I,
    Appendix B to Part 192.


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    (8) ASTM A672/A672M–09, “Standard Specification for Electric–Fusion–Welded Steel Pipe for High–Pressure Service
    at Moderate Temperatures,” approved October 1, 2009, (ASTM A672/672M), IBR approved for § 192.113 and Item I,
    Appendix B to Part 192.



    (9) ASTM A691/A691M–09, “Standard Specification for Carbon and Alloy Steel Pipe, Electric–Fusion–Welded for
    High–Pressure Service at High Temperatures,” approved October 1, 2009, (ASTM A691/A691M), IBR approved for §
    192.113 and Item I, Appendix B to Part 192.



    (10) ASTM D638–03, “Standard Test Method for Tensile Properties of Plastics,” 2003, (ASTM D638), IBR approved
    for § 192.283(a) and (b).



    (11) ASTM D2513–18a, “Standard Specification for Polyethylene (PE) Gas Pressure Pipe, Tubing, and Fittings,”
    approved August 1, 2018, (ASTM D2513), IBR approved for Item I, Appendix B to Part 192.



    (12) ASTM D2517–00, “Standard Specification for Reinforced Epoxy Resin Gas Pressure Pipe and Fittings,” (ASTM D
    2517), IBR approved for §§ 192.191(a); 192.281(d); 192.283(a); and Item I, Appendix B to Part 192.



    (13) ASTM D2564–12, “Standard Specification for Solvent Cements for Poly (Vinyl Chloride) (PVC) Plastic Piping
    Systems,” Aug. 1, 2012, (ASTM D2564–12), IBR approved for § 192.281(b)(2).



    (14) ASTM F1055–98 (Reapproved 2006), “Standard Specification for Electrofusion Type Polyethylene Fittings for
    Outside Diameter Controlled Polyethylene Pipe and Tubing,” March 1, 2006, (ASTM F1055–98 (2006)), IBR approved
    for § 192.283(a), Item I, Appendix B to Part 192.



    (15) ASTM F1924–12, “Standard Specification for Plastic Mechanical Fittings for Use on Outside Diameter Controlled
    Polyethylene Gas Distribution Pipe and Tubing,” April 1, 2012, (ASTM F1924–12), IBR approved for Item I, Appendix
    B to Part 192.



    (16) ASTM F1948–12, “Standard Specification for Metallic Mechanical Fittings for Use on Outside Diameter
    Controlled Thermoplastic Gas Distribution Pipe and Tubing,” April 1, 2012, (ASTM F1948–12), IBR approved for Item
    I, Appendix B to Part 192.



    (17) ASTM F1973–13, “Standard Specification for Factory Assembled Anodeless Risers and Transition Fittings in
    Polyethylene (PE) and Polyamide 11 (PA11) and Polyamide 12 (PA12) Fuel Gas Distribution Systems,” May 1, 2013,
    (ASTM F1973–13), IBR approved for § 192.204(b); and Item I, Appendix B to Part 192.


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                                                    ADD-063
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§ 192.7 What documents are incorporated by reference partly or..., 49 C.F.R. § 192.7




    (18) ASTM F2145–13, “Standard Specification for Polyamide 11 (PA 11) and Polyamide 12 (PA12) Mechanical
    Fittings for Use on Outside Diameter Controlled Polyamide 11 and Polyamide 12 Pipe and Tubing,” May 1, 2013,
    (ASTM F2145–13), IBR approved for Item I, Appendix B to Part 192.



    (19) ASTM F 2600–09, “Standard Specification for Electrofusion Type Polyamide–11 Fittings for Outside Diameter
    Controlled Polyamide–11 Pipe and Tubing,” April 1, 2009, (ASTM F 2600–09), IBR approved for Item I, Appendix B
    to Part 192.



    (20) ASTM F2620–19, “Standard Practice for Heat Fusion Joining of Polyethylene Pipe and Fittings,” approved
    February 1, 2019, (ASTM F2620), IBR approved for §§ 192.281(c) and 192.285(b).



    (21) ASTM F2767–12, “Specification for Electrofusion Type Polyamide–12 Fittings for Outside Diameter Controlled
    Polyamide–12 Pipe and Tubing for Gas Distribution,” Oct. 15, 2012, (ASTM F2767–12), IBR approved for Item I,
    Appendix B to Part 192.



    (22) ASTM F2785–12, “Standard Specification for Polyamide 12 Gas Pressure Pipe, Tubing, and Fittings,” Aug. 1,
    2012, (ASTM F2785–12), IBR approved for Item I, Appendix B to Part 192.



    (23) ASTM F2817–10, “Standard Specification for Poly (Vinyl Chloride) (PVC) Gas Pressure Pipe and Fittings for
    Maintenance or Repair,” Feb. 1, 2010, (ASTM F2817–10), IBR approved for Item I, Appendix B to Part 192.



    (24) ASTM F2945–12a “Standard Specification for Polyamide 11 Gas Pressure Pipe, Tubing, and Fittings,” Nov. 27,
    2012, (ASTM F2945–12a), IBR approved for Item I, Appendix B to Part 192.



(f) Gas Technology Institute (GTI), formerly the Gas Research Institute (GRI)), 1700 S. Mount Prospect Road, Des Plaines,
IL 60018, phone: 847–768–0500, Web site: www.gastechnology.org.



    (1) GRI 02/0057 (2002) “Internal Corrosion Direct Assessment of Gas Transmission Pipelines Methodology,” (GRI
    02/0057), IBR approved for § 192.927(c).



    (2) [Reserved]



(g) Manufacturers Standardization Society of the Valve and Fittings Industry, Inc. (MSS), 127 Park St. NE., Vienna, VA
22180, phone: 703–281–6613, Web site: http://www.mss-hq. org/.

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§ 192.7 What documents are incorporated by reference partly or..., 49 C.F.R. § 192.7




    (1) MSS SP–44–2010, Standard Practice, “Steel Pipeline Flanges,” 2010 edition, (including Errata (May 20, 2011)),
    (MSS SP–44), IBR approved for § 192.147(a).



    (2) [Reserved]



(h) NACE International (NACE), 1440 South Creek Drive, Houston, TX 77084: phone: 281–228–6223 or 800–797–6223,
Web site: http://www.nace.org/Publications/.



    (1) ANSI/NACE SP0502–2010, Standard Practice, “Pipeline External Corrosion Direct Assessment Methodology,”
    revised June 24, 2010, (NACE SP0502), IBR approved for §§ 192.923(b); 192.925(b); 192.931(d); 192.935(b) and
    192.939(a).



    (2) NACE Standard Practice 0102–2010, “In–Line Inspection of Pipelines,” Revised 2010–03–13, (NACE SP0102),
    IBR approved for §§ 192.150(a) and 192.493.



(i) National Fire Protection Association (NFPA), 1 Batterymarch Park, Quincy, Massachusetts 02169, phone: 1 617
984–7275, Web site: http://www.nfpa.org/.



    (1) NFPA–30 (2012), “Flammable and Combustible Liquids Code,” 2012 edition, June 20, 2011, including Errata
    30–12–1 (September 27, 2011) and Errata 30–12–2 (November 14, 2011), (NFPA–30), IBR approved for § 192.735(b).



    (2) NFPA–58 (2004), “Liquefied Petroleum Gas Code (LP–Gas Code),” (NFPA–58), IBR approved for § 192.11(a), (b),
    and (c).



    (3) NFPA–59 (2004), “Utility LP–Gas Plant Code,” (NFPA–59), IBR approved for § 192.11(a), (b); and (c).



    (4) NFPA–70 (2011), “National Electrical Code,” 2011 edition, issued August 5, 2010, (NFPA–70), IBR approved for
    §§ 192.163(e); and 192.189(c).



(j) Pipeline Research Council International, Inc. (PRCI), c/o Technical Toolboxes, 3801 Kirby Drive, Suite 520, P.O. Box
980550, Houston, TX 77098, phone: 713–630–0505, toll free: 866–866–6766, Web site: http://www.ttoolboxes.com/.
(Contract number PR–3–805.)


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                                                     ADD-065
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§ 192.7 What documents are incorporated by reference partly or..., 49 C.F.R. § 192.7




    (1) AGA, Pipeline Research Committee Project, PR–3–805, “A Modified Criterion for Evaluating the Remaining
    Strength of Corroded Pipe,” (December 22, 1989), (PRCI PR–3–805 (R–STRENG)), IBR approved for §§ 192.485(c);
    192.632(a); 192.712(b); 192.933(a) and (d).



    (2) [Reserved]



(k) Plastics Pipe Institute, Inc. (PPI), 105 Decker Court, Suite 825 Irving TX 75062, phone: 469–499–1044,
http://www.plasticpipe.org/.



    (1) PPI TR–3/2012, HDB/HDS/PDB/SDB/MRS/CRS, Policies, “Policies and Procedures for Developing Hydrostatic
    Design Basis (HDB), Hydrostatic Design Stresses (HDS), Pressure Design Basis (PDB), Strength Design Basis (SDB),
    Minimum Required Strength (MRS) Ratings, and Categorized Required Strength (CRS) for Thermoplastic Piping
    Materials or Pipe,” updated November 2012, (PPI TR–3/2012), IBR approved for § 192.121.



    (2) PPI TR–4, HDB/HDS/SDB/MRS, Listed Materials, “PPI Listing of Hydrostatic Design Basis (HDB), Hydrostatic
    Design Stress (HDS), Strength Design Basis (SDB), Pressure Design Basis (PDB) and Minimum Required Strength
    (MRS) Rating For Thermoplastic Piping Materials or Pipe,” updated March, 2011, (PPI TR–4/2012), IBR approved for
    § 192.121.



Credits

[35 FR 13257, Aug. 19, 1970, as amended by Amdt. 192–37, 46 FR 10159, Feb. 2, 1981; 50 FR 45732, Nov. 1, 1985; 51 FR
15334, April 23, 1986; 58 FR 14521, March 18, 1993; Amdt. 192–78, 61 FR 28783, June 6, 1996; 61 FR 30824, June 18,
1996; Amdt. 192–94, 69 FR 32892, June 14, 2004; 69 FR 54592, Sept. 9, 2004; 70 FR 11139, March 8, 2005; Amdt.
192–100, 70 FR 28842, May 19, 2005; Amdt. 192–102, 71 FR 13301, March 15, 2006; Amdt. 192–103, 71 FR 33406, June
9, 2006; Amdt. 192–103, 72 FR 4656, Feb. 1, 2007; 73 FR 16570, March 28, 2008; 73 FR 62174, Oct. 17, 2008; 74 FR 2894,
Jan. 16, 2009; 74 FR 17101, April 14, 2009; 74 FR 30476, June 26, 2009; Amdt. 192–112, 74 FR 63327, Dec. 3, 2009;
Amdt. 192–114, 75 FR 48601, Aug. 11, 2010; Amdt. 192–119, 80 FR 178, Jan. 5, 2015; Amdt. 192–122, 81 FR 91872, Dec.
19, 2016; Amdt. 192–124, 83 FR 58715, Nov. 20, 2018; Amdt. 192–125, 84 FR 52243, Oct. 1, 2019; Amdt. 192–126, 85 FR
8126, Feb. 12, 2020; Amdt. 192–128, 86 FR 2237, Jan. 11, 2021; 86 FR 12834, March 5, 2021]



SOURCE: 35 FR 13257, Aug. 19, 1970; 52 FR 32800, Aug. 31, 1987; 53 FR 1635, Jan. 21, 1988; Amdt. 192–73, 60 FR
14650, March 20, 1995; Amdt. 192–3, 60 FR 41828, Aug. 14, 1995; Amdt. 192–75, 61 FR 18516, April 26, 1996; 61 FR
38403, July 24, 1996; 70 FR 8302, Feb. 18, 2005; Amdt. 192–111, 74 FR 62505, Nov. 30, 2009; Amdt. 192–112, 74 FR
63326, Dec. 3, 2009,; Amdt. 192–120, 80 FR 12777, March 11, 2015; Amdt. 192–119, 80 FR 46847, Aug. 6, 2015; Amdt.
192–122, 81 FR 91872, Dec. 19, 2016; Amdt. 192–123, 82 FR 7997, Jan. 23, 2017; Amdt. 192–124, 83 FR 58715, Nov. 20,
2018; Amdt. 192–125, 84 FR 52243, Oct. 1, 2019, unless otherwise noted.



AUTHORITY: 30 U.S.C. 185(w)(3), 49 U.S.C. 5103, 60101 et. seq., and 49 CFR 1.97.

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Current through Nov. 10, 2022, 87 FR 67833. Some sections may be more current. See credits for details.
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§ 552. Public information; agency rules, opinions, orders, records,..., 5 USCA § 552




   KeyCite Yellow Flag - Negative Treatment
Proposed Legislation

  United States Code Annotated
   Title 5. Government Organization and Employees (Refs & Annos)
      Part I. The Agencies Generally
        Chapter 5. Administrative Procedure (Refs & Annos)
           Subchapter II. Administrative Procedure (Refs & Annos)
                                               5 U.S.C.A. § 552

         § 552. Public information; agency rules, opinions, orders, records, and proceedings
                        [Statutory Text & Notes of Decisions subdivisions I, II]
                                                  Effective: June 30, 2016
                                                           Currentness




     <Notes of Decisions for 5 USCA § 552 are displayed in multiple documents.>



(a) Each agency shall make available to the public information as follows:



  (1) Each agency shall separately state and currently publish in the Federal Register for the guidance of the public--



     (A) descriptions of its central and field organization and the established places at which, the employees (and in the case
     of a uniformed service, the members) from whom, and the methods whereby, the public may obtain information, make
     submittals or requests, or obtain decisions;



     (B) statements of the general course and method by which its functions are channeled and determined, including the
     nature and requirements of all formal and informal procedures available;



     (C) rules of procedure, descriptions of forms available or the places at which forms may be obtained, and instructions as
     to the scope and contents of all papers, reports, or examinations;



     (D) substantive rules of general applicability adopted as authorized by law, and statements of general policy or
     interpretations of general applicability formulated and adopted by the agency; and




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§ 552. Public information; agency rules, opinions, orders, records,..., 5 USCA § 552



     (E) each amendment, revision, or repeal of the foregoing.


Except to the extent that a person has actual and timely notice of the terms thereof, a person may not in any manner be
required to resort to, or be adversely affected by, a matter required to be published in the Federal Register and not so
published. For the purpose of this paragraph, matter reasonably available to the class of persons affected thereby is deemed
published in the Federal Register when incorporated by reference therein with the approval of the Director of the Federal
Register.



  (2) Each agency, in accordance with published rules, shall make available for public inspection in an electronic format--



     (A) final opinions, including concurring and dissenting opinions, as well as orders, made in the adjudication of cases;



     (B) those statements of policy and interpretations which have been adopted by the agency and are not published in the
     Federal Register;



     (C) administrative staff manuals and instructions to staff that affect a member of the public;



     (D) copies of all records, regardless of form or format--



       (i) that have been released to any person under paragraph (3); and




       (ii)(I) that because of the nature of their subject matter, the agency determines have become or are likely to become
       the subject of subsequent requests for substantially the same records; or



       (II) that have been requested 3 or more times; and



     (E) a general index of the records referred to under subparagraph (D);


unless the materials are promptly published and copies offered for sale. For records created on or after November 1, 1996,
within one year after such date, each agency shall make such records available, including by computer telecommunications
or, if computer telecommunications means have not been established by the agency, by other electronic means. To the extent
required to prevent a clearly unwarranted invasion of personal privacy, an agency may delete identifying details when it
makes available or publishes an opinion, statement of policy, interpretation, staff manual, instruction, or copies of records
referred to in subparagraph (D). However, in each case the justification for the deletion shall be explained fully in writing,
and the extent of such deletion shall be indicated on the portion of the record which is made available or published, unless
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                                                         ADD-069
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H.R. REP. 94-1476, H.R. REP. 94-1476 (1976)




  H.R. REP. 94-1476, H.R. Rep. No. 1476, 94TH Cong., 2ND Sess. 1976, 1976 U.S.C.C.A.N. 5659, 1976 WL 14045
                                                   (Leg.Hist.)
                                    **5659 P.L. 94-553, COPYRIGHTS ACT
                                Senate Report (Judiciary Committee) No. 94-473,
                                      Nov. 20, 1975 (To accompany S. 22)
                                House Report (Judiciary Committee) No. 94-1476,
                                       Sept. 3, 1976 (To accompany S. 22)
                                     House Conference Report No. 94-1733,
                                      Sept. 29, 1976 (To accompany S. 22)
                                          Cong. Record Vol. 122 (1976)
                                DATES OF CONSIDERATION AND PASSAGE
                                     Senate February 19, September 30, 1976
                                          House September 22, 30, 1976
                          The House Report and the House Conference Report are set out.

 (CONSULT NOTE FOLLOWING TEXT FOR INFORMATION ABOUT OMITTED MATERIAL. EACH COMMITTEE REPORT IS A SEPARATE
                                         DOCUMENT ON WESTLAW.)



                                          HOUSE REPORT NO. 94-1476
                                                       Sept. 3, 1976
*1 The Committee on the Judiciary, to whom was referred the bill (S. 22) for the general revision of the copyright law, title
17 of the United States Code, and for other purposes, having considered the **5660 same, report favorably thereon with an
amendment in the nature of a substitute and recommend that the bill as amended do pass.


                                                            ****


                                                       *47 PURPOSE

The purpose of the proposed legislation, as amended, is to provide for a general revision of the United States Copyright Law,
title 17 of the United States Code.


                                                        STATEMENT

The first copyright law of the United States was enacted by the First Congress in 1790, in exercise of the constitutional power
‘To promote the Progress of Science and useful Arts, by securing the limited Times to Authors and Inventors the exclusive
Right to their respective Writings and Discoveries ‘ (U.S. Constitution, Art. I, sec. 8. Comprehensive revisions were enacted,
at intervals of about 40 years, in 1831, 1870, and 1909. The present copyright law, title 17 of the United States Code, is
basically the same as the act of 1909.

Since that time significant changes in technology have affected the operation of the copyright law. Motion pictures and sound
recordings had just made their appearance in 1909, and radio and television were still in the early stages of their
development. During the past half century a wide range of new techniques for capturing and communicating printed matter,
visual images, and recorded sounds have come into use, and the increasing use of information storage and retrieval devices,
communications satellites, and laser technology promises even greater changes in the near future. The technical advances
have generated new industries and new methods for the reproduction and dissemination of copyrighted works, and the
business relations between authors and users have evolved new patterns.

Between 1924 and 1940 a number of copyright law revision measures were introduced. All these failed of enactment, partly
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H.R. REP. 94-1476, H.R. REP. 94-1476 (1976)



exploration than has so far been possible of the needs and problems of a number of different interests affected, and of the
various legal problems presented. Nothing in section 107 or elsewhere in the bill is intended to change or prejudge the law on
the point. On the other hand, the Committee is sensitive to the importance of the problem, and urges the representative of the
various interests, if possible under the leadership of the Register of Copyrights, to continue their discussions actively and in a
constructive spirit. If it would be helpful to a solution, the Committee is receptive to undertaking further consideration of the
problem in a future Congress.

The Committee appreciates and commends the efforts and the co-operative and reasonable spirit of the parties who achieved
the agreed guidelines on books and periodicals and on music. Representatives of the American Association of University
Professors and of the Association of American Law Schools have written to the Committee strongly criticizing the
guidelines, particularly with respect to multiple copying, as being too restrictive with respect to classroom situations at the
university and graduate level. However, the Committee notes that the **5686 Ad Hoc group did include representatives of
higher education, that the stated ‘purpose of the . . . guidelines is to state the minimum and not the maximum standards of
educational fair use‘ and that the agreement acknowledges ‘there may be instances in which copying which does not fall
within the guidelines . . . may nonetheless be permitted under the criteria of fair use.‘

The Committee believes the guidelines are a reasonable interpretation of the minimum standards of fair use. Teachers will
know that copying within the guidelines is fair use. Thus, the guidelines serve the purpose of fulfilling the need for greater
certainty and protection for teachers. The Committee expresses the hope that if there are areas where standards other than
these guidelines may be appropriate, the parties will continue their efforts to provide additional specific guidelines in the
same spirit of good will and give and take that has marked the discussion of this subject in recent months.


                                           Reproduction and uses for other purposes

The concentrated attention given the fair use provision in the context of classroom teaching activities should not obscure its
application in other areas. It must be emphasized again that the same general standards of fair use are applicable to all kinds
of uses of copyrighted material, although the relative weight to be given them will differ from case to case.

The fair use doctrine would be relevant to the use of excerpts from copyrighted works in educational broadcasting activities
not exempted under section 110(2) or 112, and not covered by the licensing provisions of section 118. In these cases the
factors to be weighed in applying the criteria of this section would include whether the performers, producers, directors, and
other responsible for the broadcast were paid, the size and nature of the audience, the size and number of excerpts taken and,
in the case of recordings made for broadcast, the number of copies reproduced and the extent of their reuse or exchange. The
availability of the fair use doctrine to educational broadcasters would be narrowly circumscribed in the case of motion
pictures and other audiovisual works, but under appropriate circumstances *73 it could apply to the nonsequential showing of
an individual still or slide, or to the performance of a short excerpt from a motion picture for criticism or comment.

Another special instance illustrating the application of the fair use doctrine pertains to the making of copies or phonorecords
of works in the special forms needed for the use of blind persons. These special forms, such as copies in Braille and
phonorecords of oral readings (talking books), are not usually made by the publishers for commercial distribution. For the
most part, such copies and phonorecords are made by the Library of Congress’ Division for the Blind and Physically
Handicapped with permission obtained from the copyright owners, and are circulated to blind persons through regional
libraries covering the nation. In addition, such copies and phonorecords are made locally by individual volunteers for the use
of blind persons in their communities, and the Library of Congress conducts a program for training such volunteers. While
the making of multiple copies or phonorecords of a work for general circulation **5687 requires the permission of the
copyright owner, a problem addressed in section 710 of the bill, the making of a single copy or phonorecord by an individual
as a free service for a blind persons would properly be considered a fair use under section 107.

A problem of particular urgency is that of preserving for posterity prints of motion pictures made before 1942. Aside from
the deplorable fact that in a great many cases the only existing copy of a film has been deliberately destroyed, those that
remain are in immediate danger of disintegration; they were printed on film stock with a nitrate base that will inevitably
decompose in time. The efforts of the Library of Congress, the American Film Institute, and other organizations to rescue and
preserve this irreplaceable contribution to our cultural life are to be applauded, and the making of duplicate copies for
purposes of archival preservation certainly falls within the scope of ‘fair use.‘
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                                                         ADD-071
4761.2460. INDEPENDENT TESTING ORGANIZATIONS;..., MN ADC 4761.2460
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  Minnesota Rules
   Department of Health [4600 to 4770]
      Chapter 4761. Residential Lead Abatement
        Training Courses; Examinations

                                                Minnesota Rules, part 4761.2460

                           4761.2460. INDEPENDENT TESTING ORGANIZATIONS; PERMITS.

                                                           Currentness


Subpart 1. Applicability. This part applies to a person who seeks a permit to administer examinations that are independent of
a training course as required under parts 4761.2260, subpart 3, item B; 4761.2280, subpart 2, item B; and 4761.2300, subpart
3, item B, and that are intended to qualify individuals to be licensed as lead supervisors, lead inspectors, or lead risk assessors.


Subp. 2. Application. A permit application must be submitted on a form provided by the commissioner. The application must:


     A. be submitted at least 60 days before a scheduled examination;


     B. include all of the questions that may be used on the examination with the correct answer indicated for each question
     and with possible answers for multiple-choice questions. The questions must address the topics listed in part 4761.2440,
     subpart 3, 4, or 5, as applicable. The application must indicate the proportion of questions that will address each topic;


     C. include documentation that the examination meets the validity standards for educational and psychological testing
     specified in American Psychological Association (APA), Standards for Educational and Psychological Testing (1999). This
     document is not required for an examination that was developed by or for the EPA. The APA standards are incorporated
     by reference, are not subject to frequent change, and are available through the Minitex interlibrary loan system through
     a local library;


     D. include an assurance that each examination will consist of at least 75 questions and that a passing score will be at least
     70 percent correct answers. An application must include documentation that the examination evaluates an individual's
     understanding of the topics in part 4761.2440, subpart 3, 4, or 5, as appropriate to each examination; and


     E. describe how the security of the examination questions and answers will be maintained.


Subp. 3. Expiration; transfer. A permit issued under this part is valid for two years and is not transferable.


Subp. 4. Renewal application. A renewal application form, provided by the commissioner, must be completed and submitted
to the commissioner.




                                                 ADD-072
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4761.2460. INDEPENDENT TESTING ORGANIZATIONS;..., MN ADC 4761.2460
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Subp. 5. Approval; rejection. The commissioner shall review and approve an application or notify the applicant of any
deficiencies. The commissioner shall reject a deficient application after 60 days unless the applicant corrects the application.


Credits
Statutory Authority: MS s 144.9508

History: 29 SR 531


Current with rules published in the Minnesota State Register Volume 47, Number 16, October 17, 2022.

Minn. R. 4761.2460, MN ADC 4761.2460

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                                                ADD-073
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                                   Cal ifornia
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                     L. WURSTER
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                                            and
         10
         10    Building Standards
               Building  Standardsr;ommission
                                   Commission
         111
         1                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

         12
         12                                                  OF SACRAMENTO
                                                      COUNTY OF SACRAMENTO
         13
         13                                                  CIVIL DIVISION

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         15
         15
               PUBLIC.RESOURCE.ORG, INC.,                            34-2021,-80003612
                                                                     34-2021-80003612
         16
         16
                                                        Petitioner, alE? if 881UI) •JUDGMENT
                                                                                    JUDGMENT
         17
         17
                              v.
         18
         18

         19
         19  CALIFORNIA OFFICE OF
             ADMINISTRATIVE LAW, and the
        20 CALIFORNIA BUILDING STANDARDS
        20
           · COMMISSION,
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        21
                                    Respondents.
                                    Respondents.
                                    ..                                            '.
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        23'
        23
                             reviewed the
                      Having reviewed  thepapers
                                          paperssubmitted
                                                 submittedby
                                                           bythe
                                                              theparties,
                                                                  parties,IT
                                                                           ITISISORDERED,
                                                                                 ORDERED,ADJUGED
                                                                                          ADJUGEDAND
                                                                                                  AND
        24
        24
                                                        II                                        -        .

         25    DECREED that Petitioner Public.Resrouce.Org,
                                       Public.Resrouce.Org, Inc.'s Verified Petition for Writ of Mandate
         25                                                                                  !,




                                   ' •.                                                                        '
         26
         26    regarding Respondent California Office of Administrative Law is denied and judgment is entered

         27
         27    in favor of Respondent California Office of Adminsitrative Law for the reasons set forth in the
         28
         28

               regarding Respondent Califomia Office of Administrative Law  is denied and judgment
                                                                         [Proposed] Judgment (34-202
                                                                                                      is entered
                                                                                                     I-80003612)
                                                                                             (34-2021-80003612)

                                                 ADD-074
               in favor of Respondent California Office of Adminsitrative Law for the reasons set forth in the
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     1 · the
         the Court's
             Court's Tentative Ruling
                               Ruling attached
                                      attached and
                                               and incorporated
                                                   incorporated for
                                                                for reference
                                                                    reference hereto
                                                                              hereto as
                                                                                     as Exhibit
                                                                                        Exhibit A.
                                                                                                A.
     2                JL
           Dated April \\ , 2022
           Dated
     3
     4                                                   IE WNORABLK STEVEN M. GEVERCER
                                                        JDGE OF THE SUPERIOR COURT
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                                                         2
                                                                                 Judgment (34-2021-80003612)
                                                                                 Judgment  (34-2021-80003612)
                                            ADD-075
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                                                                                c·   ,



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                        EXHIBIT A

                                    ADD-076
                                                           )
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                            SUPERIOR COURT OF
                                           OF CALIFORNIA
                                 COUNTY OF
                                        OF SACRAMENTO
                ..


 DATE/TIME: March 25, 2022 2:00 p.m.
 DATEITIME:                                                       27
                                                       DEP. NO.: 127
 JUDGE:     HON. STEVEN M. GEVERCER
            HON.                                       CLERK:     N. SMITH

  Public.Resource.Org., Inc.,                          Case No. 34-2021-80003612
        Petitioner,
,
i                •               • -       •
  v.
  V.

                                      Law, and
  California Office of Administrative Law, and
  the California Building Standards
                          Standards                                                 "




. Commission,
        Respondents.                                         ,/'
                                                             /

                                                                            ..

 Nature of Proceedings:             I Petition for Writ of Mandate
      I.   TENTATIVE RULING
                     RULING...

   The following shall constitute the Court's tentative ruling 6n
                                                                on the above maller,
                                                                             matter, set for
              Department
   hearing in Department   27,  on Friday, March 25, 2022,
                                                 25,  2022,  at 2:00 p.m. The tentative ruling
   shall become the  ruling of
                 the.ruling ofthe
                               the Court, unless a party desiring to be heard so advises the
   Clerk of Department 27 no later than 4:00 p.m. on the Court day preceding the hearing,
   and further advises the Clerk that such party has notified the other side of its intention to
   appear.

   The Court strongly encourages parties to appear remotely for the hearing on the
   tentative ruling through the Court's Zoom Application.
                                                Application. But any party wishing to appear in
   person may do so, so, provided that party notifies the Court by 4:00 the Court day before
   the hearing.                                                  .

   The parties may join the Zoom session for hearing on the tentative ruling by audio
   and/or video through the following link/telephone number: .

  I https://saccourt.zoom.us/my/dept27a
    https://saccourt.zoom.us/my/dept27a I| (888)
                                           (888) 475-449910:
                                                 475-4499 ID: 553-829-7195
                                                              553-829-7195
   Petitioner, Public.Resource.Org, Inc. has filed a petition for writ of mandate (Petition)
                                    Administrative Law (OAL) and the California Building
   against Respondents Office of Administrative
                             (BSC), directing Respondents tei
   Standards Commission (BSC),                                to comply with the Public
                        Code, §§ 6250 et
   Records Act (Gov. Code,              etseq.)  (PRA). As to Respondent OAL,
                                           seq.) (PRA).As                    OAL, the Petition
      denied. As to Respondent BSC,
   is denied.                      BSC, the Petition is stayed pending resolution of a final
   judgment from the District ofof Columbia District Court in American Society for Testing
        Materials, et al v. PublicResource.Org
   and Materials,           Public.Resource.Org (D.C.
                                                  (D.C. tir.
                                                        Cir. 2018) 896 F.3d 437, 441.
                                                                                  441.


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                                          ADD-077
           \.,-    -

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                  1~
                  1.   Background.

        On December 29,2020, Petitioner' sent a PRA request to OAL for Titles 1-5, 7-23, and



/




        On December
        or for provision
        25-28
                            in 2020,
                          29,  any format
                                             ''•
        25-28 of the California Code of Regulations (collectively, CCR).2 (Petition; 1113, Exh. C.)
        Petitioner requested that OAL provide the information "in all formats, in your
        possession, including (but not limited to) structured, machine-readable digital formats,
        such as XMF or PDF files," pursuant to Government Code section 3 6250, subdivision
        (a)(1). (Petition, Exh. C.) Petitioner also informed OAL that it must produ~e a copy of an
        electronic  record                 that has
                                     Petitioner^
                          to other Code
                ofthe California   agencies,
                                                    been
                                                  sent    usedrequest
                                                       a PRA    by it to to
                                              pursuant to(collectively,
                                         of Regulations
                                                                         create
                                                                            OALcopies
                                                           Section 6250,CCR).^
                                                                                         for 1-5,
                                                                                 for Titles
                                                                            subdivision
                                                                                             its own  use
                                                                                                  7-23,
                                                                                         (a)(2).1113,
                                                                                   (Petition,
                                                                                                          and
                                                                                                  (Ibid.)Exh. C.)
                                                                                                                              •,
        Petitioner requested that OAL provide the information "in all formats, in your
        OAL'responded,
        possession, includingstating (but
                                        that not
                                              it could   provide
                                                   limited         a paper copy
                                                            to) structured,        ofthe CCR to Petitioner,
                                                                                machine-readable                 and
                                                                                                      digital formats,
        offered  to  scan each      page   of  the   print version,  to  serve  as an  "electronic"
        such as XMF or PDF files," pursuant to Government Code section^ 6250, subdivision           copy.
        (Petition,  Exh. D.)Exh.
        (a)(1). (Petition,      OAL  C.)also  directed also
                                           Petitioner    Petitioner    to a OAL
                                                                informed     website
                                                                                 thatthat  contained
                                                                                       it must produce theamost
                                                                                                             copy"up
                                                                                                                   of an
        to date" version
        electronic    recordof in
                                theany
                                     CCR.    (Ibid.)
                                         format    thatOAL    alsp offered
                                                         has been    used bytoitprovide
                                                                                 to createa CD-ROM
                                                                                            copies forwith    pastuse
                                                                                                         its own
        versions   of the CCR,
        or for provision    to otherbutagencies,
                                          noted that pursuant
                                                        the contents     of the CD-ROM
                                                                    to Section             cannot be (a)(2).
                                                                                 6250, subdivision      copied (Ibid.)
                                                                                                                in
      , whole   or transferred    to  another      storage  device.     (Ibid.) Petitioner and
        OAL responded, stating that it could provide a paper copy ofthe CCR to Petitioner, and  OAL
        cor~esponded
        offered to scanfurther,
                           each page and Petitioner
                                           of the printcontended
                                                           version, tothat   OAL's
                                                                         serve  as anresponse  was copy.
                                                                                       "electronic"  insufficient,
        and  that the
        (Petition,  Exh.website
                          D.) OAL  to which     it directed
                                       also directed         Petitioner
                                                           Petitioner  to awas,not
                                                                             website"publicly available."
                                                                                      that contained   the most "up
        (Petition,  111114-19.)
        to date" version, ofthe CCR. (Ibid.) OAL also offered to provide a CD-ROM with past
        versions of the CCR, but noted that the contents of the CD-ROM cannot be copied in
        Also onorDecember
        whole         transferred29,   to 2020,
                                           another  Petitioner
                                                       storage also     made
                                                                   device.        a nearly
                                                                              (Ibid.)         identical,
                                                                                         Petitioner    andseparate
                                                                                                              OAL        PRA
        request
        corresponded for Title  24 of the
                              further,    andCCR       (Title contended
                                                Petitioner    24) to the Office       of Public
                                                                             that OAL's             Affairs,was
                                                                                              response         which   contains
                                                                                                                   insufficient,
        the
        andDepartment
               that the website of General
                                       to which  Services,    andPetitioner
                                                    it directed      BSC. (Petition,Exh.
                                                                                 was,not "publicly F.) Again,      Petitioner
                                                                                                           available."
        requestedimi4-19.)
        (Petition,       an electronic copy of Title 24, and sought Title 24 in all formats in BSC's I
        possession,
        Also    on December including29,"structured,       machine-readable
                                            2020, Petitioner        also made aformats."            (Ibid.) separate PRA
                                                                                      nearly identical,                        I
        request for Title 24 of the CCR (Title 24) to the Office of Public Affairs, which contains
        BSCDepartment
        the      also responded         that it could
                                 of General               not produce
                                                   Services,     and BSC.  the (Petition,
                                                                                 records. Exh.BSC F.) stated    that Petitioner
                                                                                                            Again,    a hard copy
        of  Title 24 was
         requested             available for
                          an electronic       copyinspection     at BSC's
                                                      of Title 24,            office,Title
                                                                     and sought         and24 noted
                                                                                                  in allthat  hard copies
                                                                                                          formats    in BSC'Sof ,
        possession,
        Title   24 were including
                             available for  "structured,
                                               public viewingmachine-readable
                                                                    and copying at formats."
                                                                                           state document(Ibid.) depository '
        libraries        at city of .county
         BSC alsoorresponded            that it building
                                                 could notorproduce
                                                                 planningthe departments.
                                                                                 records. BSC      (Petition,
                                                                                                      stated thatExh.aG.)  BSC
                                                                                                                        hard  copy
        of Titlethat
        stated      24 was
                         Titleavailable
                                24 may be    forviewed
                                                  inspection     at BSC'S
                                                            online   on the office,
                                                                              BSC's and       notedbut
                                                                                         website,      that   hard copies
                                                                                                            because     SSC of
                                                                                                                             did
        Title
        not have24 were      available
                      publishing           for public
                                      rights,   it couldviewing     and copying
                                                           not provide      copies to  at the
                                                                                           state  document
                                                                                               public.     (Ibid.)depository
                                                                                                                    SSC
         libraries orthat
        explained        at city
                              thisofiscounty
                                        because  building
                                                     Title 24or is
                                                                 planning
                                                                    based on departments.
                                                                                  and includes(Petition,
                                                                                                     model codes Exh. G.)  BSC
                                                                                                                        produced
        stated     that Title
        by standards            24 may be
                             developing          viewed online
                                              organizations          on the Intervenors
                                                                  (SDOs),      BSC'S website,         but because
                                                                                               National                 BSC did
                                                                                                             Fire Protection
         not have publishing
        Association        (NFPA), rights,      it couldCodes
                                        International       not provide
                                                                     Councilcopies
                                                                                (ICC),to and
                                                                                          the public.      (Ibid.) BSC
                                                                                                the International
        explained thatthis
        Association                 is because
                           of Plumbing               Title 24 is based
                                             and Mechanical                  on and
                                                                     Officials.         includes
                                                                                   (Ibid.)  SSC also model     codes produced
                                                                                                           responded     that
         by standards developing organizations (SDOs), Intervenors National Fire Protection
        Association (NFPA), International Codes Council (ICC), and the International
        Association
        1^ Petiiioner  is aofnon-profit
           Petitioner isa      Plumbing      and Mechariical
                                         organization                Officials.
                                                             the mission
                                                        with themission            (Ibid.)public
                                                                           of providing     BSCaccess
                                                                                                    also responded
                                                                                                            to governmentthat
                                                                                                                           records
        and legal materials. (Petition,
                             (Petition, 1\5.)
                                        US.) .                                        .

        2^ Respondent
           RespondentOAL
                      OALoversees
                          overseesthe
                                    thepublication
                                        publication  and
                                                   and   distribution
                                                       distribution    of Titles
                                                                    of Titles 1-5,1-5, 7-23,
                                                                                   7-23, andand 25-28
                                                                                             25-28     of the
                                                                                                   of the  CCRCCR.
        (Petition, ^S.) Respondent
        (Petition,1\6.) RespondentBSCBSC    administers
                                          administers    thethe adoption
                                                              adoption of, of,
                                                                           andand codifies
                                                                               codifies andand publishes
                                                                                            publishes the the California
                                                                                                          California
        Building Standards
        Building  StandardsCode
                            CodeasasTitle
                                     Title2424ofofthe
                                                    theCCR
                                                        CCR.(Petition,
                                                               (Petition,  y.)
                                                                        1\7.)

        3' Unless otherwise
                  othenwise specified,
                            specified, all
                                       all statutory references shall
                                                                shall be
                                                                      be to the Government Code.
                                                                                           Code.


                                                          Page-2-of
                                                          Page - 2 - of 12


                                                            ADD-078
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   individual parts
   individual  partsor
                     oraafull
                          fullset
                               setofTitle
                                   of Title24
                                            24may
                                              maybe
                                                  bepurchased
                                                     purchasedfrom
                                                                fromthese
                                                                      thesethree
                                                                             threepublishing
                                                                                   publishing
   entities. (Ibid.)
   entities.               .

    Petitioner then filed                         mandate, alleging that OAL and SSe
                     filed a petition for writ of mandate,                       BSC violated
   the PRA. On On August,
                   August, 27,
                             27, 2021, the Court granted NFPA's and ICC's motion for leave to
   intervene           proceeding..
    intervene in this proceeding                     i

     . 2. Discussion.                                                          '

                                OAL.
              a. Claims Against OAL.

   Petitioner argues that OAL has violated the PRA by refusing to produce the records and
                                      request, namely by failing to provide an
   insufficiently responding to its request,                                    an "electronic" copy
      the CCR in
   of theCCR     in a "structured,
                      "structured, machine-readable" format.
                                                          format. (Opening Brief,
                                                                               Brief, 9:4.)
   Respondent OAL responds thatthe  that the Legislature,
                                              Legislature, in
                                                           in enacting tlie
                                                                       the pertinent provisions of
   the Administrative Procedure Act (APA),  (APA), dictated hqw
                                                             how the CCR should be made publicly
               and that in
   available, and         iri any event it,
                                        it, has complied with the PRA in  in responding to
   Petitioner.                                                                         .

                      i. PRA
                         PRA Statutes;
                             Statutes.

              PRA, a public agency must make public records promptly available to 'any
   Under the PRA,                                                                        any
   person who submits a PRA request that "reasonably describes an identifiable record or
   records." (Gov.
   records." (Gov. Code,
                    Cpde, §6253,
                            § 6253, subd.
                                     subd. (b).) The PRA enables persons to seek "injunctive
   or declarative relief or writ of mandate" to enforce that person's right to inspect or
                             records. (Gov.
   receive copies of public records.   (Gov. Code,
                                              Code, §§
                                                     §§ 6258,
                                                        6258, 6259.)      .

   The PRA is construed broadly in  in favor of access.
                                                access. (Am.
                                                        (Arn. Civil Uberties
                                                                    Liberties Union Foundation
   V. Superior Court (2017).3
   v.                (20M) 3 Cai.5th
                                Cal.5th 1032,
                                         1032, 1040.) Exemptions from disclosure must be
            construed. (ld.)
   narrowly construed.   (Id.) The agency withholding the records bears the burden of
                an exception from disclosure applies.
   proving that an                              applies. (California First.
                                                                     First. Amend.
                                                                            Amend. Coal.
                                                                                    Coal. v.
                   (Califomia First) (1998) 67 Cal.App.4th 159,
   Superior Court (California                                159, 167.)

               iriiposes on
    The PRA imposes      on agencies anan affirmative obligation to make available to the public
    any public records inin their possession,
                                  possession, unless the agency can  can demonstrate
                                                                         demoristrate that a
    responsive record is otherwise
                           othenwise exempt from disclosure. (Gov. (Gov. Code,
                                                                          Code, §§ 6253, 6254,
                                                                                            6254',
  , 6255.) Public records may be exempted from disclosure if they fall within a particular
                                                   records. (Gov.
    specific statutory basis for exempting the records.      (Gov. Code,
                                                                    Code, § 6254).
                                                                             6254). Additionally,
    public records may also be exempt from disclosure if the agency can show that "on the
             the particular case the public interest served by not disclosing the record clearly
    facts of the
                            interest served by disclosl:Jre
    outweighs the public interestserved          disclosure of the record."
                                                                    record." (Gov.
                                                                             (Gov. Code,
                                                                                     Code, § 6255,
    su~d. (a).) If "the requester has alternative,
    subd.                               alternative, less intrusive means of obtaining the . '
    inforniation sought" the public interest in
    information                                in disclosure is minimal,
                                                                minimal, although the "existence
    of an alternative means does not wholly undermine 'the    the public interest in
                                                                                  in disclosure."
    (County of Santa Clara v.
    (C,ounty                   v. Superior Court (Santa Clara) (2009) 170 Cal.App.4th 1301,  1301,
     l


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                                            ADD-079
                                                         \
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                                              ,             ,
                             San Jose v.
        1325 [citing City of San      v. Superior Court (1999)
                                                        (^999) 74 Cal.App.4th 1008, 1020, .
        1025].)

        Section 6253.9 governs an agency's duty to produce electronic copies of records under
            PRA. It provides:
        the PRA

                         othenwise prohibited by law,
              a) Unless otherwise                  law, any agency that has infprmation
                                                                            information that'
                                                                                         that
                 constitutes an identifiable public record not exempt from disciosure.,.thatis
                                                                            disclosure...that is in
                 an electronic format shall make that information available in an electronic
                 format when requested by any person and;when
                                                          and, when applicable, shall comply
                 with the following:

                  (1) The agency shall make the information available in any electronic format
                      in which it holds the information.      .'

                  (2) Each agency shall provide a copy of an electronic record in the format
                      requested if the requested format is one that has been used used by the agency
                      to create copies for its own use or for provision to other agencies. The
                      cost of duplication shall be limited to the direct cost of producing a copy of
                        record in
                      a record  in an
                                   an e.lectronic
                                      electronic format.
                                                  format.

                   ...the
              (b) ...                                                       ofthe
                      the requester shall bear the cost of producing a copy of the record,
              including the cost to construct a record,
                                                 record, and the cost of programming and
              computer services necessary to produce a copy of the record when either of the
              following applies:                                     .

                     (1) In order to comply with the provisions of subdivision (a),
                                                                               (a), the public
                         agency would be required to produce a copy of an electronic record ,.^
                         and the record is one that is produced only at otherwise
                                                                        othen/vise regularly
                         scheduled iintervals.
                                      ntervals.'                                  .     ,

                             request would require data compilation,
                     (2) The requestwould               compilation, extraction,
                                                                     extraction, or
                         programming to produce the record.

              (c) Nothing in this section shall be construed to require the public agency to

                                   an electronic format.
              record available in an-electronic  format.
                                                                ' • ' . • ^"- •
              reconstruct a record in an electronic format if the agency no longer has the


              (d) If the request is for information in other than electronic format, and the
                                                                                            1

                                   in electronic format, the agency may inform the requester that
              information also is in
              the information is available in electronic format.

              (e) Nothing in this section shall be construed to permit an agency to make
                                                          format.
              information available only in an electronic format.


..
 ~




                                             Page-4-of
                                             Page - 4 - of 12 .


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      "     (f) Nothing in this section shall be construed to require the public agency to
            release an electronic record in the electronic form in which it is held by the
            agericy if its release would jeopardize or compromi,se
            agency                                      compromise the security or integrity of
          . the original record or of any proprietary software in which it is,maintained.
                                                                           iSimaintained.

                                                                                     records
           (g) Nothing in this section shall be construed to permit public access to records
                                                    othe~ise restricted by statute.
           held by any agency to which access is othenwise
           held

    (Gov. Code,
    (Gov.     Code, § 6253.9.) Thus,
                                   Thus, a govemment
                                             government agency is required by the PRA to produce
    non-exempt responsive computer records in the same manner as paper records,         records, and
    can be required to compile,
                             compile, redact or omit information from an electronic record.
                                                                                         record. (See
    Sander v.   v. Superior Court (2018) 26 CaLApp.5th
                                                 Cal.App.5th 651,669.)
                                                             651, 669.) Section 6253.9
    contemplates that public agencies can be required to gather ~nd        and segregate disclosable
                                                                                            disclbsable
    electronic data from nondisclosable exempt information and perform data compilation,
    extraction or computer programming if "necessary to produce a copy of           ofthe
                                                                                       the record." .
    (/b/d... [citing Gov.
    (lbid             Gov. C.ode,
                            Code, § 6253.9, subdivision (b)].) However, the PRA does not require .
  , an agency to create a new record:  record: an agency "cannot be required to create a new
    record by changing the substantive content  coptent of an existing record
                                                                        record or replacing existing
    data with new data." (Ibid.(Ibid, [citing Yeager
                                              Yeagerv.v. Drug Enforcement Admin. (D.C.
                                                                                     (D.C. Cir. 1982)
                   315, 323 and noting that "Segregating and extracting data is a far cry from
    678 F.2d 315,323
    requiring public agencies to undertake the extensive 'manipulation or restructuring of
    the substantive content of a r~cord."'].)
                                        record.'"].) Additionally, agencies need not draft summary
                         material, perform calqulations
    or explanatory material,                 calculations on data,
                                                             data, or create inventories of data in
    response to a records request. (National(National Lawyers Guild,
                                                                Guild, San Francisco Bay Area
    Chapter v.    v. City of HayWard
                             Hayward (2020) 9 CaL5th
                                                 Cal.5th 488,
                                                          488, 502;
                                                               502; Haynie
                                                                     IHaynie v.
                                                                             v. Superior Court (2001)
    26 CaL4th
        Cal.4th 1061,1061, 1075; see also Sander v.   v. Superior Court, supra;
                                                                         supra, 26 CaLApp.5th,
                                                                                    Cal.App.5th, at p.
    669.)
    669.)                  .         ^                                                        .

                      ii. Pertinent Law Governing the Public Availability of CCR.

   The Administrative Procedure Act (APA) (see Gov. Code §§ 11340, et. seq.) among
         things, .establishes
   other things,  establishes the OAL and sets forth specific statutes governing rulemaking,
   or an agency's promulgation of regUlations,
                                    regulations, which comprise the CCR. Section 11344,
   requires OAL to make the CCR available online. Section 11344 provides:

   (OAL) shall do all of the followirig:
                             following:

           (a) Provide for the official compilation,
                                        compilation, printing,
                                                     printing, and publication of adoption,
               amendment, or repeal of regulations, which shall be known as the [CCR].[CCR]. On,On.
                              1, 1998, [OAL] shall make available on the Internet, free of
               and after July 1,
               charge, the full text-of
               charge,          text of the [eCR],
                                            [CCR], and may contract with another state agency
               or a private entity in order to provide this service.
                                                               ,
           (b) Make available on its Internet Web site a list of, and a link to the full text of,
               each regulation filed with the Secretary of State that is pending effectiveness
               pursuant to Section 11343.4.


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           (c) Provide
           (c) Provide for the
                           the compilation,
                               compilation, printing,
                                            printing, and
                                                      and publication of weekly updates of
                                                                                        ofthe
                                                                                           the
                                  Regulations....
               California Code of Regulations  ....



   (Gov. Code,
   (Gov.  Code, §§ 11344.)
                   11344.) OAL
                             OAL is is also required
                                             required to to supply aa complete set of
                                                                                   ofthe       and
                                                                                      the CCR and
   its Supplement toto any county clerk.
                                     clerk. (Id.,
                                              (Id., at
                                                    at §§ 11344.2.)
                                                          11344.2.) Additionally, the CCR "shall
                                                                                           "shall be
   sold at prices which will reimburse the state for all costs incurred for printing,
   sold                                                                                      .
   publication,
   publication, and  distribution."   (/d., at
                                      (Id., §  § 11344.4.)                       '

                            The Petition
                       iii. The Petition is
                                         is Denied as
                                                   as to OAL.
                                                         OAL.

   Petitioner argues that OAL violated the PRA by not providing the CCR to Petitioner in in a
   "structured, machine-readable" format.
   "structured,                    format. Underpinning Petitioner's argument is its belief
                                                                                      beliief '
   that OAL possesses a "Master Database" through its contract with Thomson
   Reuters/West Publishing,
   ReuterslWest   Publishing, and has the ability to access the Master
                                                                 Master Database and
                                            in a "structured,
   provide Petitioner the CCR to Petitioner in    "structured, machine-readabJe"
                                                               machine-readabje" format.
                                                                                 format.

   OAL contends that Petitioner is demanding OAL provide the CCR in     in a format
                                                                             fomnat that it
   does not possess,
            possess, and
                      and that it is really trying to compel OAL to create an
                                                                           an entirely new
   record, which the PRA does not require,
   record,                            require.

   Petitioner has not shown that OAL violated the PRA. OAL neither possesses the
   Master Database, nor do the PRA or pertinent statutes impose any duty upon OAL to
   provide the CCR in the ""structured,
                          ""structured, machine-readable" format sought by Petitioner.

       •   OAL Does Not Possess the Master Database.
           OAL

   Petitioner argues that OAL constructively possesses the Master Database. OAL
   disagrees and claims that it does,
                                does, not
                                      not possess
                                          possess the
                                                  the Master
                                                      Master Database,
                                                              Database, or
                                                                        or the
                                                                           the data
                                                                               data (the
                                                                                    (the
   updated versions of regulations comprising the CCR) in it.

   OAL has the better argument.

    OAL declares that the Master Database exists in proprietary software of Thomson
    Reuters/West   Publishing. (Declaration of Kevin Hull (Hull Decl.), 1|5;
    ReutersiWestPublishing.                                               ~5; Declaration of
    Andrew Martens (Martens Decl.),
                               Decl.),
                                 .
                                        ^6.) The language of the contract with Thomson
                                        116.)                                        ,       ..
    ReutersA/Vest Publishing provides for
    ReuterslWest                         for-aa "useable electronic data base" in a "portable                      /'
    and easily processed or converted format" upon completion or termination
                                                                       termination of the .
                                     4
    contract. (Administrative Record
                              Record"*,, Exh.
                                         Exh. B [000009]
                                                  [000009) and Exh.
                                                                Exh, J [000052-53].)
                                                                       [000052-53).) The above
    contractual term ensures that OAL can obtain all the data (the regulations comprising
    the CCR) if needed to provide it to a new contractor. As the contract is not completed
    or terminated,
                 .
                   OAL has not invoked
                                   -
                                           this contractual term..
                                                            term. Thus,, Thomson                I

  . Reuters/West
    ReuterslWest Publishing has never given OAL the Master Database or the data in it.·     it.'

   ^4 Petitioner has furnished a collection of exhibits that it denotes as an·
                                                                           an "administrative record."
                                                                                              record,"

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         Decl., 113;
   (Hull Decl., 1|3; Martens Decl.,
                             Decl., 115.)
                                    115.) The data has never been extracted and formatted in
   the manner requested by Petitioner. ,'

                          OAL, in fact,
   Petitioner argues that OAL,     fact, constructively possesses the Master Database
   because it has the right to control it.
                                       it. First,
                                           First, this is belied by the OAL's agreement with
   Thomson ReuterslWest
              ReutersA/Vest Publishing.
                             Publishing. Second,
                                           Second, Petitioner's argument that it is entitled to
   data from this Master Database (the CCR) in a particular format conflates OAL's right to
   dataJrom
   the data within the Master Database with the Master Database itself, which is not a
   "record," and which OAL does not possess.                                        ^

   Thus, OAL does not possess the data in a structured-machine readable format
   Thus,
   requested by Petitioner. OAL has not violated the PRA for this reason.

       •       PRA Imposes No Duty Upon OAL
           The PRA                      OAL To Produce
                                               Produce the CCR in
                                                               in the Format
           Requested by Petitioner.

   Additionally, the PRA itself imposes no duty upon OAL to produce "electronic" records in
       "structured, machine-readable format" requested by Petitioner.
   the "structured,                                       Petitioner.

   In determining whether OAL violated the PRA, the Court must harmonize two sets of
   pertinent statutes: the PRA, and the APA
                                          APA. (City of Chula Vista v.
                                                                     v. Drager
                                                                        Drager(2020)
                                                                                (2020) 49
                539, 560 ["If, after an examination of the statutes in context,
   Cal.App.5th 539,                                                    coritext, they 'conflict
   on a central element, we strive to harmonize them so as to give effect to each.
                                                                                 each. The
                                                            construction.'"].)
   Court is guided by the following principles of statutory construction."').)     .

   "A court's overriding purpose in construing a statute is to ascertain legislative intent. ...
   [Citation.] In interpreting a statute to determine legislative intent,a
   [Citation.)ln                                                   intent, a court looks first to the
   words of the statute and gives them their usual and ordinary meaning.
                                                                      meaning. [Citation.)
                                                                                 [Citation.]
   Statutes must be given a fair and reasonable interpretation, with due regard to the
   language used and the purpose sought to be accomplished.' (Sander v.
   langoage                                                                     v. Superior Court,
                                                                                              Court,
   supra, 26 CaI.App.5th,
   supra,      Cal.App.5th, at 653-654 [internal quotations andarid citations omitted).)
                                                                              omitted].)

            cases, the California Constitution requires that '[a)
   In PRA cases,                                                  '[a] statute, court rule,
                                                                                      rule, or other
                                                                           subdivision, shall be
   authority, including those in effect on the effective date of this subdivision,
   broadly construed if it furthers the people's right of access, and narrowly construed ifit     if it
   limits the right of access.' (Sander v.  v. Superior Court,
                                                         Court, supra,
                                                                supra, 26 CaI.App.5th,
                                                                            Cal.App.5th, at 653-654.
           Cal. Const., art I,I, § 3,
   [citing Cal.                    3, subd.
                                      subd. (b);
                                            (b); City of San Jose v:v: Superior Court (2017)
                                                                                        (20M) 2
   Cal.5th  608, 617).)
   Cal.5th608,    617].)                .

    Additionally, a specific statutory provision prevails over a general statute. (See Rose v.
                              713, 723-724.) Ifstatutory
  , State (1942) 19 Cal.2d 713,                If statutory provisions conflipt,
                                                                       conflict, statutes that are
             later in time control.
    passed later           control. (City of Chula Vista v.
                                                          v. Drager, supra;
                                                                     supra; 49 CaI.App.5th,
                                                                                 Cal.App.5th, at p.
                 Collection Bureau of San
    560 [citing Col/ection              San Jose v.v. Rumsey (200) 24 Cal.4th 301].)
                                                                                  301).)

   The text of Section 6253.9 imposes no duty upon OAL to makerecords
                                                             make records available ina
                                                                                      in a
   particular format. It requires an agency to produce an "electronic" copy of records,
                                                                               records, and

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                      an agency may need
    contemplates that an                need to
                                             to engage in  in "data compilation,
                                                                    compilation, extraction,
                                                                                 extraction, or
    programming" to
    programming"  to produce aa record.
                                  record. Thus,
                                          Thus, the
                                                the Court cannot
                                                             cannot find
                                                                     find that OAL
                                                                               OAL violated
                                                                                   violated
                       failing to produce
    Section 6253.9 by failing     produce records in
                                                   in aa "structured,
                                                         "structured, machine-readable
                                                                       machine-readable format."
                                                                                          format."

    The Court is
    The          is mindful
                    mindful that the California Constitution requires
                                                                requires that statutes,
                                                                              statutes, such
                                                                                         such as
    Section 6253.9 be  be "broadly construed"
                                    construed" if it furthers the
                                                              the people's right of access.
                                                                                     access. But the
                                     here. ItIt must
    Court's inquiry does not stop here.         must also consider more specific,
                                                                           specific, later-enacted
                                                                                      later-enacted .
              in the
    statutes in  the APA,
                     APA, and
                            and give those statutes a "fair and
                                                              and reasonable"
                                                                   reasonable" interpretation.
                                                                                 interpretation.
                                       <                                     '

            above, the Legislature has enacted more
  As noted above,                                    more specific statutes,
                                                                      statutes, governing OAL's
       to make the CCR available.
  duty to                  available. Pertinent here,
                                                   here, Section 11344,
                                                                    11344, provides that OAL
 .,
  must make
         .     the CCR publicly available on on its website by.posting
                                                             by posting
                                                                  .                      full text of,
                                                                           a link to the full      of,
        regulation. (Gov.
  each regulation.  (Gov. Code,
                            Code, § 11344.) Notably,
                                               Notably, it imposes
                                                           iriiposes no duty uponupon OAL to make
  the CCR available inin any electron'ic
                             electronic format requested bya  by a member of the public.
                                                                                       public. Thus,
                                                                                                Thus,
  the Court finds that this specific statute directed only to OAL prevails over the more
  general PRA provisions governing all  all agencies.
                                            agencies.

                          11344, which was added
    Moreover, Section 11344,                  added in
                                                     in 1983,
                                                        1983, has been amended many times,
                                                                                         times,
    most recently in in 2012.
                        2012. (Stats.
                              (Stats. 2012,
                                      2012, c.
                                            c. 295 (S.B.
                                                   (S.B. 1099),
                                                          1099), §3.) In
                                                                      In contrast,
                                                                         contrast. Section 6253.9.'
                                                                                           6253.9
    was added in in 2000,
                    2000, and
                           and has not been
                                         been updated.
                                               updated^ (Gov.
                                                         (Gov. Code,
                                                               Code, § 6253.9 [Added
                                                                                 [Added by Stats.
                                                                                            Stats.
    2000, c.
    2000,  c. 982,
              982, (A.B.
                    (A.B. 2799) § 2.) Thus,    because'^Section 11344 is a later-~mended
                                       Thus, because'Section                later-amended'
    statute, the Court presumes that the Legislature was aware of the PRA and Section
    6253.9, when amending it.           •

    Accordingly, the OAL has complied with Section 11344 and has not violated the PRA by
                                    "structured, machine-readable" format.
    failing to produce records in a "structured,

       • Petitioner's Other Arguments Show no
       .'                                  no Violation of the PRA.

    Petitioner claims thatthe
                      that the website that OAL directed it to is not "publicly available"
    because it is subject to technological and legal restrictions to prevent users from text~
                                                                                          text-
    searching, copying and pasting,
    searching,                pasting, or distributing portions of the CCR. (Opening Brief,
                                                                                        Brief, p.
    6.) Nothing in the PRA requires that discloseable records be searchable or adaptable
    for copying and pasting.
                     pasting. Additionally, for the same reasons articulated above,
                                                                                above, OAL has
    not violated the PRA in this regard.

    Petitioner also argues that OAL is trying to circumvent its duties to disclose records by
    outsourcing the publication of to a third party in violation of Section 6720. This statute,
    enacted in 1995, provides in pertinent part that "no state or local agency shall sell,
    exchange, furnish,
                furnish, or othenwise
                            otherwise provide a public record subject to disclosure pursuant to
    this chapter
         chaptElr to a private entity in a manner that prevents a state or local agency from
    providing the record directly pursuant to this chapter." (Gov. Code, § 6270 [Added
    by Stats.1995, c. 108 (A.B.141), § 1.).)
                                           1.].)                            .

    However, the Court must presume that this
                                            the Legislature, in enacting and amending
    statutes regarding OAL's duty to publish the CCR, is aware of OAL's arrangement with

                                           ',   Page-8-of
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   )

              Reuters/West. Again,
   Thomson ReuterslWest.     Again, the Court notes that Section 11344, was amended
                                                6270, and was most recently amended in
   several times after the enactment of Section 6270,
         Thus, OAL has not violated the PRA on this ground.
   2012. Thus,

                b. Claims Against Respondent
                b.'               Respondent BSC.

    Petitioner argues that BSC has violated the PRA by not disclosing an ari electronic copy of
          24. SSC
    Title 24. BSC responds that Section 6254,
                                          6254, subdivision (k),
                                                             (k), exempts Title 24 from'
                                                                                   from
                      contairis model codes drafted by Intervenors NPFA and ICC,
    disclosure, as it contains                                                  ICC, which are
                  federal copyright law. SSC
  v protected by federal'copyright       BSC alternatively argues that Section 6255,
                                                                                 6255, the
                exemption, exempts Title 24 from disclosure, as the public interest in .'
    "catch-all" exemption,
    nondisclosure clearly outweighs the public interest in disclosure. Intervenors NFPA and
    ICC, which are aligned with BSC,
                                  BSC, note the pendency of two federal actions in which the
    similar copyright issues are addressed.
                                  addressed. Intervenors argue that the records are exempt
    from disclosure, but also argue that this proceeding should be stayed,
                                                                     stayed, pending
    resolution of the federal cases.

                         i. Legal Standard.

   The PRA contains a lengthy list of statutory exemptions from disclosure. (Gov.   (Gov. Code, §
                        here, an item is statutorily exempt from .disclosure
    6254.) Pertinent here,                                        disclosure if they are
   "exempted
    "exempted or prohibited pursuant to federal or state law." (ld.,
                                                                   (Id., § 6254, subd.
                                                                                  subd. (k).) BSC
    and Intervenors claim that Title 24 is protected by federal copyright law, as it
    incorporates by reference model codes drafted by Intervenors and other SDOs,   SDOs, and
    thus. Title 24 is statutorily exempt from disclosure.
    thus,

                                                        involving the same parties and the
   "When an action is brought in a court of this state in)lolving
   same subject matter as an action already pending in a court of another jurisdiction, a
   stay of the California proceedings is not a matter of right,
                                                          right, but within the sound discretion
   of the trial court." (Farmland Irrigation Co.
                                             Co. v.
                                                 v. Dopplmaier (1957)
                                                                (^ 957) 48
                                                                        48 Cal.
                                                                            Cal. 2d
                                                                                 2d 208,
                                                                                    208, 215.)
                                                                                         215.)

          black letter law that,
   "It is black                 that, when
                                      when a federal     action has
                                                federal action    has been
                                                                         been filed
                                                                                  filed covering
                                                                                         coveringthethesamesame
   subject matter
   subject   matter as as isis involved
                                involvedina in aCalifornia
                                                 Californiaaction,
                                                              action, thethe   California
                                                                            'California      court
                                                                                           court hashas thethe  discretion
                                                                                                             discretion
   but not the obligation
   blJt           obligation totostaystaythe
                                           thestate
                                                statecourt
                                                       courtaction."
                                                              action."(Caia'a
                                                                          (CaiafaProf.Prof.Law
                                                                                            LawCorp.
                                                                                                  Corp.v.v.State
                                                                                                               State
   Farm Fire
   Farm    Fire & Cas.
                   Cas. Co.
                          Co. (Caia'a)
                                  (Caiafa) (1993)
                                             (1993) 1515 Cal.App.4th
                                                          Cal.App.4th800,   800,804.)
                                                                                    804.)Caia'a
                                                                                           Caiafaenumerated·
                                                                                                     enumerated
   various factors
   various    factorsthat
                        thatcourts
                               courtsshould
                                        shouldapply
                                                  applywhen
                                                         whendeciding
                                                                 decidingwhether
                                                                               whethertotostaystaya amatter
                                                                                                       matterpending
                                                                                                                 pending
   in a California
   in    California court
                       courtbecause
                                 becauseofofpending
                                                pendingfederallitigatiori.
                                                           federal litigatiori.It provided
                                                                                     It provided   that
                                                                                                that      courts
                                                                                                       courts       "should
                                                                                                                "should
   consider the
   consider     the importance
                     importanceofofdiscouraging
                                          discouragingmultiple
                                                            multiple   litigation
                                                                   litigation         designed
                                                                                  designed       solely
                                                                                              solely       to harass
                                                                                                       to harass     an an
   adverse party, and of avoiding unseemly conflicts with the courts of other jurisdictions. It It
   adverse     party,  and    of   avoiding   unseemly     conflicts    with   the    courts of other    jurisdictions.
   should also
   should    also consider
                   consider whether
                                  whetherthethe rights
                                                 rightsof
                                                        ofthe
                                                            the parties
                                                                partiescan  can best
                                                                                   bestbebedetermined
                                                                                             determinedby     bythe
                                                                                                                  the
   court of
   court   ofthe   other jurisdiction
              the other   jurisdiction because
                                           becauseofofthe      natureofofthe
                                                         the nature                 subjectmatter,
                                                                            the subject       matter,the the  availability
                                                                                                            availability
       witnesses, or
   of witnesses,      orthe
                         thestagestagetotowhich
                                            whichthetheproceedings
                                                        proceedingsin in    thetheother
                                                                                     other  court
                                                                                          court   have
                                                                                                have        already
                                                                                                         already
   advanced." (ld.)
   advanced."      (Id.)Courts
                          Courtsshould
                                     shouldalsoalsoconsider
                                                     considerwhether
                                                                whether    thethefederal
                                                                                    federalaction
                                                                                             actionis is  pending
                                                                                                       pending     in in
   California. (ld.)
   California.    (Id.)




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    Of additional importance is the Court's inherent authority to control its docket. Courts
    routinely stay matters where circumstances warrant. (Frieberg v City of Mission Viejo
                                                                     the inherent power to
    (1995) 33 Cal.App.4th 1484, 1489 ["Trial courts generally have ,the
    stay proceedings in the interests of justice and to promote judicial efficiency.").)
                                                                         efficiency."].) ,

                                             Stayed as
                         ii. The Petition is Stayed                      Respondent esc.
                                                    as to Claims against Respondent BSC.
                                                                              .        .J
                            BSC violated the PRA by not disclosing Title 24,
     Petitioner argues that SSC                                            24, because it
     actually possesses it; the online version cited by OAL and SSC
    'actually                                                      BSC is not "pu~licly
                                                                              "publicly
                                                    restrictions; and no exemption from'
     available," as the user is subject to end-user restrictions;                    from
                                              6254, subdivision (k).
     disclosure applies, particularly Section 6254,

    Petitioner contends that although Title 24 contains model codes drafted by Intervenors
                              reference, the model codes in Tiile24
    that are incorporated by reference,                      Title 24 have now become "the
)   law," and
    law," and lost their copyright protection.
                                   protection. Thus,
                                               Thus, Petitioner argues,Section
                                                                argues, Section 6254,
                                                                                6254,
    subdivision(k)~
    subdivision (k), does not apply.

    BSC responds that Title 24 is exempt under section 6254,
    SSC,                                                  6254, subdivision (k),
                                                                            (k), or
    alternatively. Section 62,55,
    alternatively,         6255, and that it complied with the PRA by making records
              electronically.
    available electroni«ally.                                             '

                                                          of pending federal litigation.
    Intervenors argue that a stay is appropriate in light of                 litigation.^5 The
    Court agrees.

    The issue
    The    issue of
                  ofwhether
                     whethermodel
                               modelcodes codesthat
                                                  thathave
                                                        havebeen
                                                               beenincorporated
                                                                      incorporated    byby  reference
                                                                                         reference       into
                                                                                                      into  lawlaw
                                                                                                                 is is
    currently being
    currently    beinglitigated
                        litigatedininfederal
                                      federalcourt.
                                               court.InInAmerican
                                                           AmericanSociety
                                                                        Societyforfor Testing
                                                                                       TestingandandMaterials,
                                                                                                       Materials,
    etalv.
    et        Public.Resource.Org (ASTM)
        a/v. Public.Resource.Org          (ASTM) (O.C,
                                                     (D.C. Cir.
                                                            Cir. 2018)   896 F.3d
                                                                 2018) 896    F.3d 437,.441,
                                                                                      437, 441. Intervenor
                                                                                                   Intervener
    NFPA and
    NFPA      andtwo
                   twoother
                       otherSOOs
                               SDOssued  suedPetitioner
                                               Petitionerforforcopyright
                                                                 copyrightand
                                                                            and     trademark
                                                                                 trademark        infringement,
                                                                                               infringement,
            Petitioner purchased
    after Petitioner   purchasedcopies  copiesofofincorporated
                                                    incorporated     standards,
                                                                   standards,        scanned
                                                                                 scanned        them
                                                                                             them   intointo  digital
                                                                                                          digital
    files, appended
    files,  appended coversheets
                         coversheetsexplaining
                                           explainingPetitioner's
                                                          Petitioner's  mission
                                                                     mission   andand thethe  source
                                                                                           source        ofthe
                                                                                                    of the
    standards, and
    standards,      andposted
                         postedthe
                                 thedocuments
                                        documentsto to     a public
                                                        a public      website^
                                                                   website,       (/d.,
                                                                              (ld.,  at at
                                                                                        p. p. p. 444.)In In
                                                                                              444.)       somesome
    cases, Petitioner modified files so that the text of the standard could be more easily
    cases,    Petitioner  modified   files  so that   the text  of the standard    could   be  more   easily
    enlarged, searched,
    enlarged,     searched,and andread
                                     readwithwith  text-to-speech
                                                text-to-speech         software.
                                                                    software.       (Ibid.)
                                                                                (Ibid.)

            case. Peti~ioner
    In that case, Petitioner made,
                             made, and is making,
                                          making, the same arguments raised here:
                                                                                here: that
                          SDOs lose the benefit of copyright protection for mO,del
    NFPA and the other SOOs                                                 model standards
                                                                      reference. In ASTME,
    they authored once those model standards are incorporated by reference.
    Petitioner and NFPA and the other plaintiffs filed competing motions for summary
                                                        arid the SOOs'
    judgment. (Ibid.) The district court granted NFPA artd       SDOs' motion,
                                                                        motion, rejecting
                 arguments. The district court found that NFPA and the SDOs held
    Petitioner's argiJments.
    copyrights in the model standards                    reference, and that Petitioner
                             sta'ndards incorporated by referehce,
         ,"

    5^ Petitioner faults Intervenors for raising this issue in
                                                            in the briefs,
                                                                   briefs, rather than bringing a separate motion for
    a stay under Code of Civil Procedure,
                               Procedure, section 11005.
                                                    005, This point is well-taken,
                                                                       well-taken. However, because        '
                                                    responcf'to Intervenors'
    Petitioner has been afforded the opportunity to responcl'to Interveners' request for a stay, the
                                                                                                 the Court will
              it., .
    consider it.

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   improperlyreproduced
   improperly   reproducedthem,and
                            them, andthat
                                        thatPetitioner
                                             Petitioner  failed
                                                       failed toto  create
                                                                 create    a triable
                                                                         a triable    issue
                                                                                    issue ofof fact
                                                                                            fact
   that its
        its reproduction
            reproductionqualified
                         qualifiedas
                                   as"fair
                                      "fairuse"---a
                                            use"—adefense
                                                     defensetotocopyrfght
                                                                   copyrightinfringement.
                                                                              infringement.(Ibid.)
                                                                                              (Ibid.)

    PRO appealed that decision to the D.C. Circuit. The D.C. Circuit vacated the district
            decision. In doing so,
    court's decision.             so, it found that the district court should have considered
    Petitioner's affirmative defense of fair use.
    Petitioner's                                use. (ASTM
                                                     (ASTM,, supra,
                                                               supra, 896 F.3d 437,
                                                                                437, 440-441.)
    Accordingly, the D.C. Circuit has remanded the matter to the district court to consider
    Petitioner's affirmative defense to the motion for summary judgment         brought by NFPA
                                                                      judgment.brought
   'and the other SDOs.
   rand             SDOs. (ld,
                             (Id, at p. 458.) In
                                              In briefing related to that motion,
                                                                          motion. Petitioner does
    not dispute that it advances the same argument that it advances here:    here: that codes that
    governments have expressly incorporated into law, lose copyright protection and that
    standards incorporated by reference are "government edicts" under Georgia v.          v. Public
    Resource.Org, Inc.
    Resource.Org,     Inc. (Georgia) (2020) 140 S.  S. Ct 1498.            ..

                 Intervener ICC is involved in pending litigation in
   Additionally, Intervenor                                        in the Southern District of
        York, where the accused infringer (a company named UpCodes) has raised similar
   New York,
   defenses, based
   defenses.  based on
                     on incorporation
                         incorporation by.
                                       by reference,
                                           reference, that
                                                      that Petitioner
                                                           Petitioner raises
                                                                       raises in
                                                                               in ASTM
                                                                                  ASTM and
                                                                                         and this
                                                                                             this
   case. (International Code Council,
   case.                       Council, Inc.
                                         Inc. v.
                                              v. Up
                                                 UpCodes,   Inc. (S.D.N.Y. May 27,2020,
                                                    Codes, Inc.                    27, 2020, No.
   17-CV-6261.)
   17-cv-6261.)

                                                                       BSC. At issue is
   The Court exercises its discretion to stay the proceedings against SSC.
   whether the model codes drafted by Intervenors and incorporated into Title 24 are
                                   law. The federal proceedings in ASTM are addressing
   protected by federal copyright law.
             issue~ and as to the same parties:
   this very issue,                      parties: Intervenor
                                                  Intervener NFPA and
                                                                  and Petitioner.       .
   Additionally, another federal court is addressing these similar issues as to another
   organization and Intervenor
                      Intervener ICC.

   First;
   First, the nature of the subject matter-federal
                                     matter—federal copyright law-is
                                                                   law—is the exclusive province
   of federal court. (Sears Roebuck & Co.  Co. v.
                                                v. Stieffel Co.
                                                             Co. (1964) 376 U.S, 255,
                                                                                   255, 231, fn.7;
                                                                                             fn.7;
   Topolos v. V. Caldewey (9th Cir. 1983) 698 F.2d 991, 993-994.) Petitioner cites to Santa
           supra, 170 Cal.App.4th 1301, for the proposition that "California law" addresses
    Clara, supra,
   Clara,
   when the work of California agencies may be subject to copyright protection.
                                                                             protection. This
                  unavailing. Santa Clara addressed copyright issues that arose after an
   argument is unavailing.
                                                           authored. That is not the case here.
   agency claimed copyright protection in a work it authored.
                           copyright law
   The issue is whether copyrightlaw      protects    /ntervenors'works,
                                                      Intervenors'         which is currently under
                                                                   works, which
                              courts. The Court also rejects Petitioner's argument that the
   consideration in federal courts.
   nature ofthe
            of the subject matter in this case differs,
                                                differs, because the Court is concerned with the the
   applicability of the PRA. This is true,
                                       true, but,
                                             but, if federal copyright law applies arid protects
                                                      regulations, then this necessarily resolves
   model codes incorporated by reference into regulations;
   whether SSCBSC has violated the PRA. Thus,
                                            Thus, staying the proceedings also promotes
   judicial efficiency.                       .                      ".i  .      ,

   Second, a stay avoids the potential for "unseemly" conflicts with federal copyright issues
   raised by Petitioner, such as whether the "government edicts" doctrine, as articulated by
   the Supreme Court in  in Georgia,
                            Georgia, prevents Intervenors from asserting a copyright interest
   in the portions of Title 24 that incorporates their model codes by reference.
                                                                      reference.

                                           Page-11-of
                                           Page - 11 - of 12


                                             ADD-087
                             )
USCA Case #22-7063               Document #1984604                 Filed: 02/03/2023        Page 169 of 174




        Third, the ASTM case is significantly advanced in
        Third,                                              in the proceedings, weighing in favor of
          stay. As noted above,
        a stay.              above, the ASTM is onon remand
                                                     remand from
                                                              from the Court of Appeal where the
        district court will again consider the motions for summary judgment, including
                             govemrinent edicts'
        application of the government    edicts'doctrine.
                                                 .doctrine.              j

        These factors all support the Court's decision to stay the proceedings as to BSC.
                                                                                     BSC .

                               reply, that BSC may not rely on
  . Petitioner argues upon reply,                             on any statutory exemption in
              6254, because BSC has disclosed some copies of Title 24,
    Section 6254,                                                          24, and thus,
                                                                                     thus, waived
                                                                                           waived its
    right to
    right  toassert
              assert this
                      thisexemption
                           exemption under
                                       under Section
                                              Section6254.5
                                                      6254.5... Petitioner
                                                                Petitioneropposed
                                                                           opposed SSC's
                                                                                      BSC'S
    nondisclosure based on   on'Section        on the merits,
                                'Section 6254 on      merits, and
                                                               and did not at all
                                                                              all raise this "waiver"
                                                                                             "waiver"
    argument in in its Opening Brief.
                                 Brief. Thus,
                                        Thus, Intervenors and
                                                          and BSC had  had no opportunity to
    respond to it.it. Accordingly, the Court does not consider it.                          ..

            3. Disposition.

                                                OAL. The Petition is stiiyed
        The Petition is denied as to Respondent OAL.                 stayed as to Respondent
        BSC in light of the ASTM matter.
        SSC
        '   ' •                   ..   •                 .•         •    [I
        Counsel
        Counsel for
                 for Respondent
                      Respondent OAL OAL shall
                                            shall prepare
                                                  prepare aa formal
                                                             formal order
                                                                      order and
                                                                              and aa separate
                                                                                     separate judgment,
                                                                                              judgment,
        incorporating
        incorporating this ruling as an exhibit to each, submit them to opposing counsel
                        this ruling as  an exhibit  to each, submit    them   to opposing          for
                                                                                           counsel for
        approval  as  to form,   and thereafter   submit  them   to the  Court  for signature and
        approval as to form, and thereafter submit them to the Court for signature and entry of   entry of
        judgment in
        judgment   in accordance
                      accordance withwith California,
                                           California, Rules
                                                       Rules of
                                                              of Court,
                                                                  Court, rule
                                                                          rule 3.1312.
                                                                               3.1312.
                                                                                                       )
   :.




                                           I




                                                     -12 - of12
                                                Page ·12   of 12


                                                   ADD-088
USCA Case #22-7063                 Document #1984604                            Filed: 02/03/2023                 Page 170 of 174


    From:               0"Hollaren. Ryan
                        O"Haliaren  Rvan TT.
    To:                 ILaura  RandlesUttle:
                          a!J[a Randles!        Caplan. Matt;
                                         jttle; Caplan  Matt: Mamin
                                                              Mornin. Joe
                                                                      Joe
    Cc:                 Keith Wurster
                        Keith
    Subject:            BE:  Case No.
                         RE: Case     34~2021~80003612~CU~WM-GDS (Public.Resource.Org,
                                  No. 34-2021-80003612-CU-WM-GDS (Public.Resource.Org, Inc. v.  OAL, et
                                                                                            v. GAL,  et al)~
                                                                                                        al)- Proposed order and
                        jugment                                                                         .        .
     Date:              Monday, April 4,
                        Monday,        4,2022 9:34:31 AM
                                         20229:34:31  AM                               .       '


               ...
     EXTERNAL EMAIL: This message was
                                'was
                                   .
                                      sent from outside DOJ.
                                                        DOJ. Please do not dick
                                                                           click links or open attachments.
                                                                                               attachments that
                                                                                                             .
     appear sus·piclous.·
     appea~ suspicious.     .                             .        .'..^    ,   '   , - ' .   >'•             .   •'     :
    Good morning ..- We propose adding a simple sentence capturing the
                                                                   the point you just put your finger
    on: "This proposed Judgment does not apply to Respondent BSC."
                                                              BSC." Such
                                                                    Such a statement avoids
    confusion, since it accurately captures the
                                            the posture of the case.
                                                               case. •



    Ryan O'Hollaren
    Cooley LLP
    w415.693.2288·   m 415.385.2879
    w 415.693.2288 • m
    roho!!areo@coo!eycom
    rohollarenCScooley.com




                RandlesUttle <Laura.RandlesLittle@doj.ca.gov>
    From: Laura RandlesLittle <Laura.RandlesLittle@doj.ca.gov>
           Monday, April 4,
     Sent: !y1onday,      4, 2022 8:08
                                   8:08 AM
                                        AM
     To: O'Hollaren, Ryan
                      Ryan T.
                           T. <rohollaren@cooley.com>; Caplan,
                                                       Caplan, Matt <mcaplan@cooley.com>;
                                                                    <mcaplan(5)cooley.com>; Mornin,
     Joe <jmornin@cooley.com>
    Joe  <jmornin@cooley.conn>                                 ',                           -         v
     Cc: Keith Wurster <Keith.Wurster@doj.ca.gov>
     Cc:                <Keith.Wurster@doj.ca.gov>
     Subject: RE:
               RE: Case
                   Case No.
                        No. 34-2021-80003612-CU-WM-GOS
                            34-2021-80003612-CU-WM-GDS (Public.Resource.Org,
                                                           (Public.Resource.Org, Inc.
                                                                                 Inc. v.
                                                                                      v. OAL,
                                                                                         OAL, et al)-
     Proposed order and jugment
     Proposed'Qrder

    [External)
    [External]

    Good morning,
    Good                                                                                  •            ' ^(
    Wiiile we would be
    While             be happy to consider alternate language you thinkthink.might
                                                                             might meet your objective, it  is
                                                                                                         itis
    our position'that additional language that goes beyond how.1he
                                                                howjthe judgment applies to Respondent
    OAL
    OAL will cause confus,ion.
                    confusjon. However, please let us   us know this morning if you have different language
    you would like us
                    us to
                       to consider. Please note,
                                              note, if we cannot agree that.our
                                                                         thatpur draft is
                                                                                       is amenable, per the
                                                                                                        the
        ,
    California Rules of Court,
                          ,    I will also transmit your  concerns to the
                                                    your.concerns     the court when wewe submit the
    Proposed Judgment.
    Thank you,
           you,
    Laura                                                                                                  ^

    Laura Randles-Little
    Deputy Attorney General
                      General . ^(
    Government Law Section I| California Department
    Government                             Department of Justice
    1300 I Street, 17th Floor I| Sacramento, CA
    13QO                                     CA 95814
                                                95814
    tel. (916) 210-6504
               210-6504

    I.
                                                                                    - _ . _ - - _.._------_._.-


                                         !
                                                              ADD-089
    USCA Case #22-7063              Document #1984604                     Filed: 02/03/2023            Page 171 of 174


        From: O'Holiaren,
        From:  O'Hollaren, Ryan
                            Ryan T.
                                  T. <rohollaien@cooley
                                     <rohollaren(acooley.com>
                                                         com>         ,                     j
        Sent: Friday,
        Sent: Friday, April
                       Aprill,  2022 4:31
                            1, 2022  4:31 PM
                                           PM
        To: Laura
        To: Laura RandlesLittle
                   RandlesUttle <I<Laura.RandlesLittle(adoj.ca.gov>: Caplan, Matt
                                    aura Randlesl ittle@doj ca goy>; Caplan, Matt <mcaplan@cooley
                                                                                  <mcaplanOcooley.com>:
                                                                                                      com>;
        Mornin. Joe
        Mo(nin,   Joe <jmorojn@cQQley
                      <jmornin(acooley.com>
                                          com>
                            J
        Cc: Keith
        Cc: Keith Wurster <Keith
                            <Keith.Wurster(adoj.ca.gov>
                                   W"rster@doj ca goy>
        Subject:
        Subject: RE:
                  RE: Case
                       CaseNo.
                            No.34-2021-80003612-CU-WM-GDS
                                 34-2021-8p003612-CU-WM-GDS (Public.Resource.Org,
                                                                  (Public.Resource.Org,Inc.
                                                                                        Inc.v.v.OAL, etal)~
                                                                                                OAL,et  al)-
        Proposed order and
        Proposed          and jugment
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         appear suspicious.         / ••       •                 ' ' -i             • .                       ^         ,

        Hi.Laura,
        HiJaura,

        We understand that the judgment onlY,applies
        We                                 only,applies to
                                                         to OAL;
                                                            OAL; we
                                                                 we simply want to clarify that
                                                                                           tliat that fact so
                                                                                                           so as
                                                                                                              as
                 any potential confusion on
        to avoid any                        the point. If our proposed language i~
                                         pn the                                     npt agr~eable,
                                                                                 is not agreeable, we're
                     .                                       •                       1
                         an alternative approach.
        happy to review an

                       the change to refer . to
        We agree with the                    to the
                                                the Tentative as an
                                                           . as  an Exhibit. And
                                                                             And as
                                                                                 as to the
                                                                                       the signature,
                                                                                           signature, we
                the line because we
        removed the              we don't interpret thethe local rules to require our signature on
                                                                                                on the'
                                                                                                   the '
        document. .

\       thanks,
        Thanks,

             O'Hollaren
        Ryan O'HoIlaren
        Cooley LLP
        Cooley LLP
        w 415.693.2288 •mm415.385.2879
        w415.693.2288·      415.385.2879
        rohollarenCScooley.com
        mhol!areo@CQQ1eycorn




                        RandlesUttle <I
          From: Laura RandlesLittle     <Laura.RandlesLittle(a)doj.ca.gov>.
                                          alJ[aRandlesl ittle@doj ca gov>
                              1, 20223:50
          Sent: Friday, April 1,  2022 3:50 PM'
                                              PM
                           Ryan T.
         To: O'Hollaren, Ryan     T. <roholiaren@cooleycom>;
                                     <rohollaren(5)cooley.com>; Caplan,
                                                                 Caplan, Matt <mcaplan@cooley
                                                                              <mcaplan(5)cQoley.com>:
                                                                                                com>; Mornin,
          Joe <jmocojo@coQley
              <jmorninOcooley.com> com>
        . Cc: Keith
              keith Wurster <Keith
                              <Keith.WursterOdoj.ca.gov>
                                       Wurster@doi ca gOY>
          Subject: RE:
                    RE: Case No. 34-2021-80003612-GU-WM-GDS
                                   34-2021-80003612-0:U-WM-GDS (Public.Resource.Org, Inc. v. v. OAL,
                                                                                                OAL, et al)-
                                                                                                        al)-
          Proposed order and jugment
                                 jugment                                               ,
                                     I
        [External]
        [External)

        Good afternoon.
             afternoon,               '.                                         .
        Thank you for your comments. We    We believe the judgment
                                                           judgment only applies to Respondent OAL and do not
        agree it is appropriate to add language referencing
                                                  referenCing a party to whom the judgment does not apply.
                                                                                                     apply ..
        Additionally, to avoid confusion now and in the future as to the judgement's potential application to
        Respondent BSC,     the language
                      8SC, the   language should
                                          should be
                                                 be limited
                                                     limited to
                                                              to Respondent
                                                                 Respondent OAL.
                                                                            OAL. Thus,
                                                                                  Thus, we
                                                                                        we have
                                                                                           have not
                                                                                                not




                                                        ADD-090
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    incorporated your recommended edit at this time. Please let us know if you continue to disagree
    with this approach.
    withthis  approach. Pursuant to the Rule'
                                        Rule 3.1312 of
                                                    ofthe
                                                       the California Rules of Court we plan on filing the
    proposed Order and Judgment on Monday. ,


    Also, please note, we made one minor edit to the Order to consistently reference the Tentative
    Ruling as
           as an
              an Exhibit. I understand from your email you do not have concerns with the Order. Can
    you clarify that this means you will n,ot
                                         not be signing the order as
                                                                  as "Approved to Form"?                        - ^

      Thank you,
      Laura
    ,'Laura


    Lau,ra
    Laura Randles-Little
    Deputy Attorney General
    Government Law Section I| California Department of of Justice
                                                          Justice
    1300            17th Floor I| Sacramento, CA 95814
    1300 I Street, 17th                          95814
    tel. (916) 210-6504



    - - - - - - '- - - - - - . _ - ' - _ .•. _-----.- ,- --'-'
    From: O'Holiaren,
           O'Hollaren, Ryan
                        Ryan T.
                              T. <rohollaren@coolevcom>
                                 <rohollaren(5)cooley.cQm>
    Sent: Thursday, March 31, 2022 2:40 PM
    To: Laura Randleslittle
              RandlesUttle <lallra Randlesl ittie@doi ca goy>; Caplan,
                            <Laura.RandlesLittleOdoj.ca.gov>:  Caplan, Matt <mcaplan@cooley   com>;
                                                                            <mcaplan(S)cooley.com>:
    Mornin,
    Mornin. Joe.<jmocojQ@coQlevcom>
            Joe.<imornin(acoQley.com>
    Cc:
    Cc: Keith Wurster <Keith Wllrster@doi ca goy>
                      <Keith.Wurster(adoj.ca.gov>
    Subject: RE:
             RE: Case No.
                      No. 34-2021-80003612-CU-WM-GDS (Public.Resource.Org, Inc. v.
                                                                                v. GAL,
                                                                                   OAL, etal)-
                                                                                        et al)-
    Proposed order and jugment            "                         );

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      'ppear suspicious.
     appear  suspicious.                                              .   '   -            '      .

    Good afternoon,
         afternoon,

    Attached is the proposed judgment with our edits.
                                               edits. We have no edits on the proposed order.

    Thanks,
    Thanks,

    Ryan O'Hollaren                                          '                    ,
    Cooley
    Cooley LLP
           LLP
    w 415.693.2288. m 415.385.2879
    w415.693.2288'm   415.385.2879
    mhollacen@coQ!eycom
    rohollarentacooley.com                                       il




                RandlesUttle <Laura
    From: Laura RandlesLittle <Laura.RandlesLittle(adoj.ca.gov>
                                     RandlesLittle@doi ca goy>                    ,   .„
    Sent: Wednesday, March 30,
                           30, 2022 1O:57,AM
                                    10:57 AM
        Caplan, Matt <mcaplan@cooley
    To: Caplan,      <mcaplanOcooley.com>:
                                     com>; Mornin, Joe <imornin@moley
                                                       <jmornin(acooley.com>:             Ryan T.
                                                                        com>; O'Hollaren, Ryan
                                                                                                               "


                                                     ADD-091
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    <rnhnllarpnOcoolev.com>
    «ohollaren@cooley  com>
    Cc:
    Cc: Keith WursteC<Kejth
              Wurster <Keith.Wurster(S)doj.ca.gov>
                             Wllrster@doj ca goy>                                                  , ,
    Subject: Case
             CaseNo.
                   No.34-2021-80003612-CU-WM-GDS
                       34-2021-80003612-CU-WM-GDS    (Public.Resource.Org,
                                                   (Public.Resource.Org, Inc. Inc. v. OAL,
                                                                               v. OAL,      et al)-
                                                                                       et al)-
    Proposed  order and jugment
    Proposed order and jugment                .'
                                             ' ;•.

    [External]
    [External]

          morning.
    Good morning,
    Attached please find a draft proposed judgment and a draft proposed order as   as directed by the
                                   let us know if you have any comments qr
    Court. Please review this and let                                      or concerns.
                                                                              concerns. If you do
                                                                                               do not
                                                                                                   not have
        concerns, we would appreciat~
    any concerns,            appreciate it if you could please sign
                                                               sign these as
                                                                          as to
                                                                             to form and return the signed
               to us.
    documents to
    Thank you,
    Laura



    Laura Randles-Little                       ..                          ~

    Deputy Attorney General                    //
    Government LawLaw Section | California Department of Justice
                                                         Justice
    1300 II Street, 17th Floor I| Sacramento, CA 95814
    tel. (916)
         (916) 210-6504


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                                                            ofthe
    legally privileged information. It is solely forthe use of               recipient(s). Unauthorized
                                                                the intended recipient(s). Unauthorized
                                            is prohibited and
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                                                    are not the intended recipient, please contactthe
    Electronic Communications Privacy Act. If you ar'e                                     contact the
    sender and destroy all copies of the communication.
                                         communication.



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    email and destrOy   all copies of
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               to access, review and disclosure by
    is subject to                                                              System Adminislr~tor
                                                     by the sender's Email Syslem       Administrator,                                               . ^




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    Electronic Co·mmunications Privacy Act. If you are not the intended recipient, please contact the
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    interception, review, use or disclosure is prohibited and may violate applicable laws including the
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         email message    is
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    unauthorized review.   use, disclosure or or distribution is prohibited. If you are
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    is subject to access,                       by the sender's Email System Administrator.
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USCA Case #22-7063                      Document #1984604                                   Filed: 02/03/2023                     Page 174 of 174


                    NOTICE: This
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                                                                             recipient(s). Unauthorized .
    legally privileged information. It is solely for the use of the intended recipient(s).
    interception, review, use or disclosure is is prohibited and may violate applicable laws including the
                                      Act. If you are not the intended recipient, please contact the
    Electronic Communications Privacy Act.
                                         communication.
    sender and destroy all copies of the communication.



    This email
    This email message is is for the,
                                 the sale
                                      sole use
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                                                      intended recipienl(s)
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    unauthorized review,   use, disclosure or distribution is prohibited.
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    email and destroy all
                      all copies of ofthe           message. IfIfyou
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                                                                                                                advised that the content of this message
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                                                                      System Administrator
                                                                             Administrator.




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